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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

KYLE MCHUGH and LARRY MEEK,                    )
                                               )
              Plaintiffs,                      )
                                               )   Civil Action
       v.                                      )
                                               )   File No.
OLLIN SYKES; SCOTTY SYKES;                     )
SYKES & COMPANY, P.A.; ERNEST                  )
NESMITH; MARCUS ROGERS;                        )
NESMITH ROGERS, FINANCIAL                      )
CONSULTING GROUP, LLC; ROBERT                  )
D. KELLER; JOSEPH SKALSKI;                     )
ATLANTIC COAST CONSERVANCY,                    )        JURY DEMAND
INC.; NANCY ZAK; LISA CANTRELL,                )
JOSH STANLEY; FOREVER FORESTS,                 )
LLC; GREEN EARTH RESERVE, LLC;                 )
TERRY HEATH; FIELDSTONE SOUTH,                 )
LLC; DENNIS W. BENSON; BENSON                  )
APPRAISAL SERVICES; DOUGLAS                    )
ROSS KENNY; RICK A. KENNY;                     )
KENNY & ASSOCIATES, INC.; DOLPH                )
WINDERS; FISHERBROYLES LEGAL                   )
COUNSEL; FISHERBROYLES, LLC;                   )
SKALSKI LAW FIRM, LLC; KIMBERLY                )
A. SKALSKI; SKALSKI CPAS, LLC;                 )
LAMB & BRASWELL, LLC; ARTHUR J.                )
GOOLSBY, JR.; and BLAIR K.                     )
CLEVELAND;                                     )
                                               )
              Defendants.                      )
                                               )


                                   COMPLAINT



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       COME NOW the Plaintiffs Kyle McHugh and Larry Meek, by and through

undersigned counsel, hereby files this Complaint against Defendants Ollin

Sykes, Scotty Sykes, Sykes & Company, P.A., Ernest Nesmith, Marcus Rogers,

Nesmith Rogers, Financial Consulting Group, LLC, Robert D. Keller, Joseph

Skalski, Atlantic Coast Conservancy, Inc., Nancy Zak, Lisa Cantrell, Josh

Stanley, Forever Forests, LLC, Green Earth Reserve, LLC, Terry Heath,

Fieldstone South, LLC, Dennis W. Benson, Benson Appraisal Services,

Douglas Ross Kenny, Rick A. Kenny, Kenny & Associates, Inc., Dolph Winders,

FisherBroyles Legal Counsel, FisherBroyles, LLC, Skalski Law Firm, LLC,

Kimberly A. Skalski, Skalski CPAs, LLC, Lamb & Braswell, LLC, Arthur J.

Goolsby, Jr., and Blair K. Cleveland and states as follows:

                                 INTRODUCTION

       1.     For years, unscrupulous professionals have promoted Syndicated

Conservation Easement Transactions (“SCE Scams”) as a way for their

unwitting victims to preserve and protect the environment in exchange for

purportedly legitimate tax deductions. The above-named Plaintiffs were

unwitting victims of such scams.

       2.     Victims were told that the United States Government and the

Internal Revenue Services (“IRS”) wanted to incentivize and further the noble

goal of environmental conservation by providing taxpayers significant tax

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credits for permanently preserving vulnerable land with conservation

easements.

       3.     Victims were targeted and aggressively solicited to “invest” in SCE

Scams by their own retained accountants, the scam promoters, and other

professionals including attorneys, financial consultants, certified public

accountants (“CPAs”), appraisers, administrative staff, landowners, land

trusts, and others (the “Enterprise” or the “RICO Enterprise”).

       4.     The Enterprise assured its unwitting victims that the SCE Scams

were completely legal and done in strict compliance with all federal tax laws.

       5.     The Enterprise strategically utilized its many licensed CPAs, who

are experts in tax and accounting matters, to lull victims, who are not such

experts, into a false sense of security about the SCE Scams.

       6.     The Enterprise intentionally and strategically targeted victims who

did not know that the SCE Scams could not possibly deliver the tax and

environmental benefits they were promised. The Enterprise, and its many

ostensibly credible professionals, however, were well aware of the fraudulent

nature of their SCE Scams but relentlessly promoted them anyway.

       7.     The Enterprise specifically sought to invoke the reliance of its victims

through its many lawyers, financial consultants, and CPAs.



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       8.     The Enterprise sought to induce its victims to rely on its statements

about the propriety of the SCE Scams, because doing so was fabulously

profitable. Various Enterprise members personally pocketed hundreds of

thousands of dollars per scam.

       9.     The victims did not know that the CPAs, financial consultants, and

attorneys who aggressively solicited their “investment” in the SCE Scams

personally owned the very entities that controlled the transactions.

       10. The precise and complex mechanics of the SCE Scams are described

in detail herein. Put simply, SCE Scams involve soliciting unwitting victims to

“invest” in a limited liability company that donates an outrageously overvalued

conservation easement (“CE”) to a land trust. The donor then claims a

charitable tax deduction that far exceeds the fair market value of the CE, then

passes those improper deductions on to the victims.

       11. The promoters and professionals of the Enterprise solicit unwitting

victims to purchase membership interests (also referred to as “shares”) in a

Capital Company (“CapCo”) that is formed to purchase shares in a Property

Company (“PropCo”), whose only asset is the land to be encumbered by the CE.

Post donation, the victims are entitled to a pro rata portion of the tax deduction

claimed by the PropCo (the “Syndicate”).



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       12. The value of the shares purchased by victims were inflated from the

start and could not possibly yield the returns that were repeatedly advertised

and promised.

       13. SCE Scams are both incredibly complex and incredibly simple. The

crux of the fraud lies with the appraisals. The charitable deduction cannot

legally exceed the fair market value (“FMV”) of the donated CE, which can in

some instances be determined by a calculation of the difference between of the

land before it is encumbered with a CE and the value after the land is

encumbered with a CE. The Enterprise hand picks feckless appraisers that it

knows will consistently abuse the relevant appraisal standards to arrive at a

grossly inflated value of the land before the encumbrance.

       14. The appraisers will arrive at these fraudulent FMVs by fabricating a

“highest and best use of the land” that is not feasible or possible. While the

highest and best use (“HBU”) standard can legitimately be considered in some

appraisals, the Enterprise abuses it by ignoring the tremendous risk, time, and

resources the hypothetical development would require, and the fact that the

location of the land is not realistic for such development.

       15. To illustrate, an Enterprise member will purchase a parcel of

undeveloped swamp land, knowing it will be encumbered with a CE and

donated to generate significant and improper tax deductions. The land will

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have characteristics that make it undesirable to the market, and thus cheap to

purchase. The Enterprise will purchase such a parcel for $1,000,000. The

Enterprise’s hand-picked appraisers will then claim that this parcel could

hypothetically be developed into a fabulously profitable residential housing

development with a HBU of $12,000,000 before being encumbered by a CE

which would forbid the land’s development.

       16. The Enterprise’s appraisers then subtract the land’s value “after”

encumbering it with a CE from the fabricated “before” value ($12,000,000). The

“after” amount is typically close to the purchase price, or true FMV, of the land

($1,000,000). The Enterprise will then claim a $11,000,000 tax deduction

($12,000,000 minus $1,000,000), which it divides between the investor-victims

based on their percentage ownership in CapCo.

       17. These appraisals are totally bogus. The Enterprise will knowingly

rely on its hand-picked appraisers to provide sufficient paperwork to

substantiate its significant tax deductions in hopes of surviving the IRS’s audit

lottery.

       18. Indeed, the IRS found that the Enterprise’s appraisals are sloppily

cut and paste from other unrelated appraisals, as they were never intended to

be legitimate appraisals.



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       19. Ridiculous as this may sound, there are countless ostensibly

respectable CPAs that for years have aggressively solicited their clients and

others to “invest” in such schemes, even though these CPAs knew this

structure was illegal and cannot possibly deliver the promised tax or

environmental benefits.

       20. Indeed, Plaintiffs’ former accountants at Sykes & Company are such

ostensibly reputable and successful CPAs that pitched their clients what they

knew to be fraud.

       21. Ollin and Scotty Sykes assured Plaintiffs that such transactions,

claiming these significant tax deductions in this way, were completely proper.

       22. Plaintiffs’ former CPA, Scotty Sykes, wrote to Plaintiff Kyle McHugh

in November 2016 and told him a $210,000 SCE Scam “investment will

correlate to an approximate charitable contribution deduction of $840,000,” a

four-to-one return on investment.

       23. Scotty Sykes made this representation to McHugh because Sykes

knew he was a member of a RICO Enterprise that was designed and deployed

to consistently yield a minimum 4:1 return on investment by abusing the tax

laws and appraisal rules.




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       24. In reliance on their CPAs’ emphatic advice at Sykes & Company,

Plaintiffs, none of whom are tax or accounting professionals, “invested” into

the SCE Scams, not knowing them to be completely fraudulent.

       25. There are various cells of SCE Scam promoters operating across the

country, such as the RICO Enterprise described in this lawsuit. This

Enterprise has defrauded the United States and the public out of billions of

dollars.

       26. Plaintiffs were aggressively targeted by the Enterprise and

unfortunately fell victim to three of the Enterprise’s SCE Scams; (1) the

Muskogee Scam in 2016, (2) the Walnut Creek Scam in 2017; and (3) the Little

Ocmulgee/Ancient Oaks Scam in 2018.

       27. The IRS has audited both the Muskogee Scam and Walnut Creek

Scam and disallowed the Enterprise’s charitable tax deductions in their

entirety for several independent reasons, as outlined in Revenue Agents

Reports that exceed one-hundred pages.

       28. Relevant here, the IRS found that the Muskogee and Walnut Creek

Scams’ purported “donations” were not made “exclusively for conservation

purposes,” as required, and that they used grossly inflated appraisals that

were produced in exchange for fifteen times the market rate for comparable

appraisal services.

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       29. Plaintiffs’ independent investigations have confirmed that these

Scam donations had nothing to do with charity or environmental protection,

but instead had everything to do with unlawfully enriching the Enterprise.

       30. In the Muskogee and Walnut Creek Scams, the Enterprise used

hand-picked Appraiser Dennis Benson to opine that undeveloped swamp land

in Georgia purchased for roughly one million dollars could be donated for a

roughly twelve-million-dollar charitable contribution tax deduction.

       31. In the Little Ocmulgee/Ancient Oaks Scam, the Enterprise used

hand-picked Appraisers Douglas Ross Kenny and Rick Kenny to claim that a

roughly one-to-two-million-dollar parcel of undeveloped swamp land could be

donated for a one hundred-and-twelve-million-dollar charitable tax deduction.

       32. The Little Ocmulgee/Ancient Oaks Scam is currently under audit

and its claimed tax deduction is certain to be disallowed in its entirety for the

same reasons that the IRS completely disallowed the deductions claimed by

the Muskogee and Walnut Creek Scams.

       33. It is beyond dispute that these cells of professionals and promoters

are fraudulent enterprises and not merely independent professionals who are

innocently and unknowingly pursuing their own interests.




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       34. The Enterprise is made possible by a network of longtime friends and

associates, each filling crucial roles that could not be trusted to legitimate and

intendent professionals.

                          JURISDICTION AND VENUE

       35. This Court has subject matter jurisdiction pursuant to 28 U.S.C.

§1332(a) because the Plaintiffs are from a different State than all of the

Defendants, and the matter in controversy exceeds the sum or value of $75,000,

exclusive of interest and costs.

       36. This Court also has jurisdiction pursuant to 28 U.S.C. §1331, because

the matter in controversy poses a federal question arising under the

Constitution and Laws of the United States, including but not limited to

Section 10(b) of the Exchange Act and Rule 10(b)-5(1), (2), and (3) promulgated

thereunder.

       37. Personal jurisdiction comports with due process under the United

States Constitution, the long-arm statute of Georgia, and the provisions of 18

U.S.C. §1965(b) and (d).

       38. Without limiting the generality of the foregoing, each Defendant

(directly or indirectly) has:

           a.   Transacted business in Georgia;

           b.   Contracted to supply or obtain services in Georgia;

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           c.   Availed themselves intentionally of the benefits of doing business

                in Georgia;

           d.   Produced, promoted, sold, marketed, and/or distributed their

                products or services in Georgia and, thereby, have purposefully

                profited from their access to markets in Georgia;

           e.   Caused tortious damage by act or omission in Georgia;

           f.   Caused tortious damage in Georgia by acts or omissions committed

                outside such jurisdiction while (i) regularly doing business or

                soliciting business in such jurisdiction, and/or (ii) engaging in

                other persistent courses of conduct within such jurisdiction, and/or

                (iii) deriving substantial revenue from goods used or consumed, or

                services rendered, in such jurisdiction;

           g.   Committed acts and omissions that the Defendants knew or could

                reasonably foresee would cause damage (and, in fact, did cause

                damage) in Georgia to Plaintiffs while (i) regularly doing or

                soliciting business in such jurisdiction, and/or (ii) engaging in

                other persistent courses of conduct within such jurisdiction, and/or

                (iii) deriving substantial revenue from goods used or consumed or

                services rendered in such jurisdiction;



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           h.   Engaged in a conspiracy with others doing business in Georgia

                that caused tortious damage in Georgia; and/or

           i.   Otherwise had the requisite minimum contacts with Georgia such

                that, under the circumstances, it is fair and reasonable to require

                the Defendants to come to this Court to defend this action.

       39. Thus, this Court has personal jurisdiction over each Defendant

pursuant to the U.S. Constitution and the laws of the United States and the

State of Georgia. At all relevant times and as described herein, these

Defendants have done and are doing business in the state of Georgia, have

contracted with Georgia residents, and were to perform contracts in whole or

in part in Georgia. Additionally, these Defendants have committed torts, in

whole or in part, in Georgia. These Defendants have purposefully availed

themselves of the benefits and protections of the laws of the State of Georgia

and could reasonably anticipate being subject to the jurisdiction of Georgia

courts. This suit will not offend traditional notions of fair play and substantial

justice and is consistent with due process of law.

       40. Venue is proper under 28 U.S.C. §1391(b)(2)-(3), because, inter alia,

a substantial part of the events or acts giving rise to the causes of action alleged

in this Complaint arose in, among other places, this District, and the harmful



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effects of the Defendants’ fraud and wrongful conspiracy were felt in, among

other places, this District.

       41. Venue in this Division is proper under LR 3.1 because at least one

Defendant resides in this Division. Indeed, most of the Defendants reside in

this Division.

                                     PARTIES

       42. Plaintiff Kyle McHugh is an individual and a citizen of Lexington

County, South Carolina. This Plaintiff lives in Swansea, South Carolina.

       43. Plaintiff Larry Meek is an individual and a citizen of York County,

South Carolina. This Plaintiff lives in Rock Hill, South Carolina.

       44. The Sykes Defendants: Ollin Sykes, Scotty Sykes, and Sykes &

Company, P.A. are herein referred to as the “Sykes Defendants”.

           a.   Defendant Ollin Sykes is an individual and a citizen of Chowan

                County, North Carolina. This Defendant lives in Edenton, North

                Carolina.

           b.   Defendant Scotty Sykes is an individual and a citizen of Chowan

                County, North Carolina. This Defendant lives in Edenton, North

                Carolina.

           c.   Defendant Sykes & Company, P.A. (“Sykes & Co.”) is a North

                Carolina professional corporation with its principal place of

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                business at 401 East Church Street, 3rd Floor, P.O. Box 1050,

                Edenton, NC 27932. This Defendant may be served with process

                through its registered agent, Ollin Sykes, at 214 W Eden Street,

                Edenton, NC 27932.

       45. The Nesmith Rogers Defendants: Ernest Nesmith, Marcus Rogers,

and Nesmith Rogers Financial Consulting Group, LLC are herein referred to

as the “Nesmith Rogers Defendants”.

           a.   Defendant Ernest Nesmith is an individual and a citizen of Palm

                Beach County, Florida. This Defendant lives in West Palm Beach,

                Florida.

           b.   Defendant Marcus Rogers is an individual and a citizen of Indian

                River County, Florida. This Defendant lives in Vero Beach,

                Florida.

           c.   Defendant Nesmith Rogers Financial Consulting Group, LLC

                (“Nesmith Rogers” or “Nesmith Rogers Financial Consulting”) is a

                Florida limited liability company with its principal place of

                business at 2046 Treasure Coast Plaza, Suite A 349, Vero Beach,

                FL 32960. This Defendant may be served with process through its

                registered agent, Marcus Rogers, at 2046 Treasure Coast Plaza,

                Suite A 349, Vero Beach, FL 32960.

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       46. The ACC Defendants: Robert D. Keller, Joseph Skalski, and Atlantic

Coast Conservancy, Inc. are herein referred to as the “ACC Defendants.”

           a.   Defendant Robert D. Keller is an individual and a citizen of

                Pickens County, Georgia. This Defendant lives in Jasper, Georgia.

           b.   Defendant Joseph Skalski is an individual and a citizen of Dekalb

                County, Georgia. This Defendant lives in Atlanta, Georgia. Joseph

                Skalski is a member of the ACC Defendants, but also played

                tortious roles in the RICO enterprise outside of his role with ACC

                as well.

           c.   Defendant Atlantic Coast Conservancy, Inc. (“ACC”) is a domestic

                nonprofit corporation with its principal place of business at 80 S.

                Main Street, Jasper, GA 30143. This Defendant may be served

                through its registered agent, Robert D. Keller, at 72 S. Main St.,

                Jasper, GA 30143.

       47. The Zak Defendants: Nancy Zak, Lisa Cantrell, Josh Stanley,

Forever Forests, LLC, Green Earth Reserve, LLC, T.J. Heath, and Fieldstone

South, LLC are herein referred to as the “Zak Defendants.”

           a.   Defendant Nancy Zak is an individual and a citizen of Cherokee

                County, Georgia. This Defendant lives in Ball Ground, Georgia.



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           b.   Defendant Lisa Cantrell is an individual and a citizen of Pickens

                County, Georgia. This Defendant lives in Talking Rock, Georgia.

           c.   Defendant Josh Stanley is an individual and a citizen of Cherokee

                County, Georgia. This Defendant lives in Canton, Georgia.

           d.   Defendant Forever Forests, LLC (“Forever Forests”) is a domestic

                limited liability company with its principal place of business at

                1058 Dornell Rd., Ball Ground, GA 30107-4949. This Defendant

                may be served through its registered agent, Nancy Zak, at the

                same address.

           e.   Defendant Green Earth Reserve, LLC (“Green Earth Reserve”) is

                a Delaware limited liability company with its principal place of

                business at 8014 Cumming Hwy STE 403369, Canton, GA 30115.

                This Defendant may be served through its registered agent,

                Northwest Registered Agent Service, Inc., at 8 The Green, STE B,

                Dover, DE 19901, in Kent County, Delaware.

           f.   T.J. Heath is an individual and a citizen of Harnett County, North

                Carolina. This Defendant lives in Spring Lake, North Carolina.

           g.   Fieldstone South LLC (“Fieldstone South”) is a domestic limited

                liability company with its principal place of business at PO Box

                1779, Gray, GA 31032. This Defendant may be served through its

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                registered agent, Terry “T.J.” Heath, at 305 North Cross Road,

                Gray, GA, 31032.

       48. The Appraisers: Dennis W. Benson, Benson Appraisal Services,

Douglas Ross Kenny, Rick A. Kenny, and Kenny & Associates, Inc. are

hereinafter referred to as “the Appraisers” or “the Appraiser Defendants.”

           a.   Dennis W. Benson (“Benson” or “Dennis Benson”) is an individual

                and a citizen of Bibb County, Georgia. This Defendant lives in

                Macon, Georgia.

           b.   Benson Appraisal Services is a domestic unregistered company

                with its principal place of business at 2070 Ingleside Avenue,

                Macon, GA 31204. This Defendant may be served through its

                owner, 2070 Ingleside Avenue, Macon, GA 31204.

           c.   Douglas Ross Kenny is an individual and a citizen of Fulton

                County, Georgia. This Defendant lives in Duluth, Georgia.

           d.   Rick A. Kenny is an individual and a citizen of Hall County,

                Georgia. This Defendant lives in Gainesville, Georgia.

           e.   Kenny & Associates, Inc. is a domestic profit corporation with its

                principal place of business at 327 Dahlonega Street, Suite 104,

                Cumming, GA, 30040. It may be served through its registered



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                agent, James G. Coyle, at 555 North Point Center Dr., Alpharetta,

                GA 30022.

       49. The Legal Services Defendants: Defendants Dolph Winders,

FisherBroyles Legal Counsel, FisherBroyles LLC, Joseph Skalski, and Skalski

Law Firm, LLC are herein referred to as the “Legal Services Defendants”.

           a.   Dolph Winders is an individual and a citizen of Fulton County,

                Georgia. This Defendant lives in Atlanta, Georgia. He is a licensed

                attorney with the State Bar of Georgia.

           b.   FSB Legal Counsel, FisherBroyles LLC (“FisherBroyles”) is a

                domestic profit corporation with its principal place of business at

                327 Dahlonega Street, Suite 104, Cumming, GA 30040. This

                Defendant may be served through its registered agent, James G.

                Goyle, at 555 North Point Center Dr., Alpharetta, GA, 30022.

           c.   Defendant Joseph Skalski is an individual and a citizen of Dekalb

                County, Georgia. This Defendant lives in Atlanta, Georgia. Joseph

                Skalski is a member of the Legal Services Defendants, but also

                played tortious roles in the RICO enterprise outside of this role as

                well.

           d.   Defendant Skalski Law Firm, LLC, is a domestic limited liability

                company with its principal place of business at 1867 Independence

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                Square, Suite 103, Dunwoody, GA 30338. This Defendant may be

                served through its registered agent, Joseph Skalski, at the same

                address.

       50. The Accounting Services Defendants: Kimberly A. Skalski, Skalski

CPAs LLC, and Lamb & Braswell, LLC are herein referred to as the

“Accounting Services Defendants”.

           a.   Kimberly A. Skalski is an individual and a citizen of Dekalb

                County, Georgia. This Defendant lives in Atlanta, Georgia.

           b.   Skalski CPAs LLC (“Skalski CPAs”) is a domestic limited liability

                company with its principal place of business at PO Box 468627,

                Atlanta, GA 31146. This Defendant may be served through its

                registered agent, Kimberly A. Skalski, at 1867 Independence

                Square, Suite 103, Dunwoody, GA 30338.

           c.   Joseph Skalski is an individual and a citizen of Dekalb County,

                Georgia. This Defendant lives in Atlanta, Georgia.

           d.   Lamb & Braswell, LLC (“Lamb”) is a domestic limited liability

                company with a principal place of business at 4120 Arkwright Rd.,

                Macon, GA 31210-1707. This Defendant may be served through its

                registered agent, James F. Braswell, at 4120 Arkwright Rd.,

                Macon, GA 31210.

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       51. The Landowner Defendants:

           a.    T.J. Heath: T.J. Heath is an individual and a citizen of Harnett

                 County, North Carolina. This Defendant lives in Spring Lake,

                 North Carolina.

           b.    Arthur J. Goolsby, Jr.: Arthur, J. Goolsby, Jr., is an individual and

                 a citizen of Jones County, Georgia. This Defendant lives in Gray,

                 Georgia.

           c.    Blair K. Cleveland: Blair K. Cleveland is an individual and a

                 citizen of Bibb County, Georgia. This Defendant lives in Macon,

                 Georgia.

            GENERAL ALLEGATIONS AND FACTUAL BACKGROUND

I.     The Syndicated Conservation Easement Scam Explained

       A.       Conservation Easements

       52. A Conservation Easement is a legal agreement between a landowner

and another party, generally a land trust or government agency, that

permanently encumbers the landowner’s real property interests by restricting

the development and/or use of the land with the purpose of achieving certain

conservation or preservation goals.

       53. In the federal tax context, while a taxpayer may take a deduction for

any charitable contribution made during the taxable year (subject to certain

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limitations), a deduction is generally not allowed for a taxpayer’s contribution

of a partial interest in property. The Internal Revenue Code (“the Code”)

provides for certain exceptions where a deduction for the donation of a partial

interest in property is permitted, one of which is for the donation of a “Qualified

Conservation Contribution” (“QCC”).

       54. A QCC is defined as a contribution: of a Qualified Real Property

Interest; to a Qualified Organization; and made exclusively for conservation

purposes. Before a deduction can be claimed, however, the Code’s strict criteria

must be met.

       55. A Qualified Appraisal by a Qualified Appraiser following Generally

Accepted Appraisal Standards (“GAAS”) and other laws is also necessary for a

lawful, Code-compliant donation of a QCC for federal tax purposes.

       56. Defendants’ scheme hinges upon: utilizing entities taxed as

partnerships; and fabricating grossly inflated appraisals which misstate,

contort, disregard, and abuse the applicable laws, regulations, and GAAS.

                i.    Entities Taxed as Partnerships.

       57. The Enterprise’s SCE Scams hinge upon the use of an entity taxed

as a partnership under subchapter K of the Code. The Enterprise uses entities

organized as limited liability companies (“LLCs”) under state law. Each

conservation easement syndicate is an LLC that is taxed as a partnership, a

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pass-through entity, for federal tax purposes. Without the use of an entity

taxed as a partnership, the Enterprise would be unable to deliver the

advertised tax deductions to their prospective victims, the members of the

LLC.

       58. Defendants, who are highly credentialed professionals, including

licensed attorneys, CPAs, financial consultants, and appraisers, knew that an

entity taxed as a partnership is not liable for income tax; instead, its members

(also referred to herein as “partners”) are liable for income tax in their separate

or individual capacities based on the income, losses, deductions, or credits that

flow from the LLC (also referred to herein as a “partnership”). Because of the

structure in which partnerships “pass through” income and losses to their

partners, they are commonly referred to as “pass through” or “flow through”

entities.

       59. Each partner takes account of his or her distributive share of the

partnership’s income or loss and any “separately stated items” in computing

his or her income tax liability. “Separately stated items” are specific items of

income, gain, loss, deductions and/or credits that a partner must account for

separately; these items are not taken into account when computing the

partnership’s income or loss for a tax year. Charitable contributions (as defined

in the Code §170(c)) constitute a “separately stated item.”

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       60. Although partnerships do not pay federal income tax, they still have

tax filing requirements. Specifically, partnerships are required to file an

annual return, Form 1065 (U.S. Return of Partnership Income) that reports

the partnership’s income, deductions, gain, losses, etc. The partnership is also

required to furnish statements, or Schedules K-1, to its partners, and the IRS,

reporting each partner’s distributive share of partnership income or loss, and

separately stated items, among other things.

                 ii.   Grossly Inflated Appraisals.

       61. When valuing a CE for purposes of claiming a federal tax deduction,

an appraiser must determine the easement’s fair market value as of the date

of the contribution. “Fair market value” is defined as “the price at which the

property would change hands between a willing buyer and a willing seller,

neither being under any compulsion to buy or sell and both having reasonable

knowledge of relevant facts.” Treas. Reg. §1.170A-1(c)(2).

       62. The Treasury Regulations set forth additional guidance for

determining the fair market value of a perpetual conservation restriction on a

given property as of the date of the contribution:

           If there is a substantial record of sales of easements comparable to
           the donated easement (such as purchases pursuant to a
           governmental program), the fair market value of the donated
           easement is based on the sales price of such comparable
           easements. If no substantial record of market-place sales is

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           available to use as a meaningful or valid comparison, as a general
           rule (but not necessarily in all cases) the fair market value of a
           perpetual conservation restriction is equal to the difference
           between the fair market value of the property it encumbers before
           the granting of the restriction and the fair market value of the
           encumbered property after the granting of the restriction.

26 C.F.R. §1.170A-14(h)(3)(i) (emphasis added).

       63. Appraisers may take into account the HBU of the subject land when

appraising the FMV of a donated CE and, accordingly, the value of a QCC tax

deduction. The applicable regulations state that the HBU determination must

take into account whether the claimed HBU is physically possible, legally

permissible, and financially feasible.

       64. Even if a donor is able to meet all the requirements of a QCC under

§170 of the Code, the value of a QCC tax deduction may never exceed the FMV

of the property. Otherwise, one could obtain a greater tax deduction by

donating a QCC than by making a charitable cash contribution; something

Congress has made clear it did not intend.

       65. The promoters of the SCE Scam hire feckless appraisers who are

willing to ignore and contort the applicable regulations and practice standards

to grossly inflate the valuation of the subject land in order to grossly inflate

the value of the QCC tax deduction. The appraisers are aware their appraisals

are fraudulent and are being used to claim improper tax deductions. Yet, they


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willingly ignore this in exchange for substantially higher-than-market rate

fees.

        66. The SCE Scam promoters intentionally seek cheap, undeveloped

land, often in rural parts of the country, which often have characteristics or

defects that impair the development value of the land, such as substantial

parts of the land being inside a high hazard flood zone or below the water table.

        67. The SCE Scam promoters want to spend as little as possible on

acquiring the land, as this makes the Enterprise more profitable.

        68. The members of the SCE Scam, many of whom are licensed CPAs

and attorneys, ridiculously claim that the Code authorizes them to hire an

appraiser to fabricate the HBU of the undeveloped and undesirable land, which

is tens of millions of dollars higher than the price the promoters purchased the

land for, often only months before the date of the appraisal.

        69. Simply put, the Enterprise will hire a hand-picked appraiser who

they know will opine that the Enterprise’s undeveloped land could potentially

be developed into a fantastically profitable residential, commercial, or

industrial      development.   Accordingly,   the   appraiser   opines   that   the

Enterprise’s land, typically purchased for less than a million dollars, has an

HBU worth tens of millions to hundreds of millions of dollars. The appraiser

will erroneously conclude that the HBU is one and the same as the FMV of the

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land “before” being encumbered with a CE, even though this ignores the GAAS,

the Code, and basic economic reality.

       70. The appraiser will then subtract this grossly inflated “before” HBU

value from the value of the land “after” being encumbered with a CE.

Ironically, this “after” value is typically close to the true fair market value of

the land. This makes sense. The Enterprise intentionally seeks out

undeveloped land. It will claim this land could hypothetically be worth tens of

millions of dollars more than its purchase price because of its imagined HBU.

Encumbering the land with a CE means that the land cannot be developed.

Thus, the value of the land “after” being encumbered with a CE which forbids

development is very close to the price the Enterprise purchased the already

undeveloped land for.

       71. The Enterprise and its appraisers have an obvious incentive to

inflate the “before” value as much as possible. The “after” value of the land is

insignificant and thus the subtraction of the “after” value from the “before”

value results in an amount that is virtually the same as the grossly inflated

“before” value, which is one and the same with the wholly imagined HBU.

       72. The Enterprise will claim that the “before” and “after” subtraction is

the fair market value. But this is not the case when the Enterprise knowingly



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inflates the “before” value for the purposes of generating a significant QCC tax

deduction in this manner.

       73. The value of a QCC deduction is the actual FMV of the donated

easement, not a wholly-imagined HBU from a captured and feckless appraiser.

       74. The real mechanics of how the Enterprise valued the land was

generally kept secret from the victims. All the victims knew was that the

Enterprises’ many captured professionals emphatically vouched for its

fraudulent methodologies. Indeed, the Enterprise repeatedly assured Plaintiffs

that their SCE’s were properly appraised in an attempt to distinguish their

SCE’s from other SCE’s which had been successfully challenged by the IRS.

           B.   The Structure of the Syndicated Conservation Easement
                Scams

       76. The Enterprise’s SCE Scam is highly structured and typically

involves multiple entities. At the very least, the scheme involves one LLC (or

other state law entity) taxed as a partnership in which victims are induced to

“invest.” Defendants marketed (or assisted in marketing) these LLC

membership interests to the victims, including the Plaintiffs. Defendants’

scheme has evolved over the years and has been executed in different iterations

and permutations, but the general pattern of the SCE Scam is as follows:




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       77. The Enterprise creates an LLC (“CapCo”) with the express purpose

of acquiring membership interests in another LLC (“PropCo”) with funds

obtained through the solicitation of the SCE Scam to unwitting victims like the

Plaintiffs. The PropCo acquires title to the land that will become encumbered

by the donated CE.

       78. The Enterprise either forms a new PropCo or finds an existing LLC

that can be used for a conservation easement syndicate. At the time the PropCo

is formed or repurposed, the Landowner is the 100% owner, or near 100%

owner, of the PropCo. The Landowner then deeds the subject land into the

PropCo if the land is not already owned by the Propco. The real property is

transferred to the PropCo by the Landowner, in exchange for the LLC

membership interests, in a transaction that is considered a “nonrecognition”

transaction for federal income tax purposes. This means that the parties to the

transaction do not have to recognize the gain or loss on the transaction for

federal tax purposes.

       79. The Enterprise then solicits victims to purchase membership

interests (also referred to herein as “membership units” or “shares”) in the

CapCo, which was set up to purchase a near 100% interest in the PropCo,

whose only real asset is the land. The price of the shares of the CapCo are set

arbitrarily as the share price is irrelevant to the scheme. Instead, the

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Enterprise requires victims to “invest” a minimum amount to participate in

the SCE Scam, typically $25,000 to $50,000. This is because the Enterprise’s

only goal is raising as much money as possible from the victims to fund the

SCE Scam and give handsome payouts, commissions, and kickbacks to the

various licensed professionals who promote and facilitate these complex and

illicit transactions.

       80. Both the PropCos and CapCos each act through a manager or a

management company. In this case, both of the management companies were

owned and controlled by the Enterprise. The Enterprise controls all aspects of

the transactions necessary for the SCE Scam, but fraudulently dupes its

victims into believing the transactions are independent and arm’s length.

       81. The Enterprise handpicks a land trust known for accepting land

donations that reputable organizations would not dare touch. The land trust is

tasked with drafting the Baseline Documentation Report (“BDR”) that

documents the condition of the property at the time of donation, as required by

law. The land trust will also draft the deed of conservation easement and a

contemporaneous written acknowledgement of the so-called donation.

       82. The Enterprise likewise handpicks an appraiser to prepare an

“initial valuation” of the proposed CE. In creating the initial valuation, the

appraiser utilizes unrealistic assumptions, violates the standards governing

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appraisal practice, and otherwise prepares valuations that grossly overvalue

the CE’s value. This initial valuation is used to market and sell the CapCo

membership interests. The appraiser knows that the valuation will be used in

this manner. The appraiser will then sometimes be hired to create a final

appraisal, which is usually identical to the initial appraisal.

       83. The Enterprise engages a law firm to provide a tax opinion letter,

confidential offering summary or private placement memorandum, and other

transactional documents (subscription agreements for purchasing LLC

membership units, operating agreements of the LLCs, redemption agreements,

etc.) to be used in marketing and selling the LLC membership interests. The

marketing materials include the initial valuation and typically state that the

land trust has preliminarily accepted the draft deed of conservation easement.

       84. The CapCo’s membership interests are marketed and sold as

securities that are exempt from registration under Regulation D of the

Securities Act. The CapCo’s membership interests are generally marketed to

taxpayers who, without the deductions stemming from the membership

interests, would be in one of the highest federal income tax brackets. This

scam, in particular, targets pharmacists and owners of pharmacies.

       85. Prospective investors are given an offering package with the

marketing materials and transactional documents, including the confidential

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offering summary or private placement memorandum, tax opinion, operating

agreement(s), subscription agreement, and redemption agreement. Though, in

this case, the victims were often deprived of these documents after

participating in their first “project” or “easement.” This is done to conceal the

true nature and details from the scheme and to further induce reliance on the

so-called professionals who run the scam. The offering package includes the

anticipated value of the CE and the anticipated value of the corresponding tax

deduction (as determined by the preliminary appraisal), and states that a draft

deed of conservation easement has been approved by a land trust. Copies of the

preliminary appraisal and draft deed are not provided but are available for

review by prospective customers. The offering package includes an example of

the tax benefit or a “tax savings analysis” of a customer’s investment.

       86. Each customer who wants to purchase an interest in the CapCo must

fill out certain transactional documents, including a subscription agreement,

indicating the number of membership units to be purchased. The customer

must also certify that the customer is an “Accredited Investor” as defined by

securities law. No efforts are made to verify this by the Enterprise.

       87. After all the CapCo membership interests are subscribed and

accepted by the victims, the closing transaction is executed. Victims wire

money to the CapCo through a bank designated by the CapCo and proceeds are

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distributed as described in the offering documents. The CapCo uses the

proceeds to pay fees and expenses, redeem the membership interests of the

original CapCo members, and set up an operating account and an audit reserve

fund.

       88. “Kickbacks” and “commissions” are then paid to the various

promoters of the SCE Scam, for luring victims into the scam through false and

misleading representations, out of the funds raised from the victims.

       89. Shortly after closing, the PropCo or CapCo manager makes a

recommendation to the members regarding the use of the property. The

manager’s recommendation is inevitably to “donate” a CE and claim a QCC tax

deduction. The manager is often also the landowner who transferred the land

to the PropCo, who retains a membership interest in the PropCo, and who,

therefore, benefits from the QCC tax deduction while also recommending it to

the victims.

       90. Once victims have been successfully lured into the SCE Scam, they

become entitled to “vote” on whether the CapCo should: (1) keep the land

untouched in the hopes it appreciates; (2) develop the land after raising

significant additional funds; or (3) encumber the land with a CE that is

“donated” to a land trust for a substantial QCC tax deduction. The vote is a

charade. Over the Enterprise’s hundreds of scams, the vote is always to

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“donate” the CE. The Enterprise promotes SCE Scams as ostensible tax

savings devices. The vote is designed only to provide a veneer of legitimacy to

the Enterprise’s fraud.

       91. After the sham vote, the Capco then “donates” a CE to the land trust,

which falsely purports to be a qualified organization.

       92. A return preparer prepares the CapCo’s tax return, Form 1065 and

accompanying schedules reporting the CE as a charitable contribution. As part

of this process, the return preparer also prepares the Schedules K-1 for each

victim/LLC member on which the victim’s share of the CE deduction is

reported. As part of the Form 1065, the CapCo files a Form 8283 (appraisal

summary), which must be signed by the appraiser and the land trust. The

appraiser also prepares a supplemental statement to accompany the Form

8283 and submits a copy of the final appraisal to the CapCo with the knowledge

that it will be used to support a charitable contribution deduction reported on

the Form 1065 and ultimately claimed by the individual victims.

       93. Victims file their income tax returns, unwittingly reporting grossly

overvalued charitable contribution deductions in reliance of the advice of the

Enterprise’s accounting, legal, and tax professionals. The victims receive

copies of their Schedules K-1,           Forms 8283 (appraisal summaries),

supplemental statements, and appraisal reports from the CapCo, all of which

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are fraudulent, and submit them with their income tax returns as support for

the improper and overstated deductions claimed.

       94. Continually and repeatedly, the Appraisers overstate the value of the

CEs by tens of millions of dollars, which in turn results in the victims

unwittingly grossly overstating their tax deductions.

           C.   The IRS Repeatedly Warns the Defendants About Abusing
                Syndicated Conservation Easements.

       95. As early as 1984, the IRS warned professional advisors and

promoters of CEs that the overvaluation of charitable contributions was

improper and would not be tolerated (IRS News Release, IR-81-122). The

Senate Finance Committee was aware of, and concerned about, tax shelter

promoters exploiting opportunities to offset income through inflated valuations

of donated property. Congress recognized that tax shelter promoters knew it

was not possible for the IRS to detect most instances of excessive deductions.

Due to the subjective nature of the valuation, some tax shelter promoters never

get caught promoting and selling transactions that claim excessive charitable

deductions. They also rely on the “audit lottery” to conceal the inflated

charitable contribution deduction from the IRS. Because of these concerns, the

Senate Finance Committee made it clear to professional advisors that stronger




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substantiation and overvaluation provisions should be applicable to charitable

contributions of CEs.

       96. Congress took action to address the problem of overvaluing

charitable contributions in the Deficit Reduction Act of 1984 (“DEFRA”).

DEFRA which set forth specific provisions for the substantiation of charitable

contributions, including instructing the Secretary to prescribe regulations

under §170(a)(1) of the Code to require any individual, closely held corporation,

or personal service corporation claiming a deduction under §170 of the Code to

obtain a Qualified Appraisal for the property contributed and to attach an

Appraisal Summary (Form 8283) to the return on which the deduction is first

claimed for such contribution. This Qualified Appraisal was to specifically

disclose the cost basis, acquisition date of the contributed property, and such

additional information as the Secretary may prescribe in such regulations.

       97. The Secretary complied with Congress’ mandate by promulgating

regulations pursuant to DEFRA §155(a). The relevant regulations reiterate

that no deduction under Code §170 shall be allowed with respect to a charitable

contribution unless the substantiation requirements are met. These Treasury

Regulations require a fully completed Appraisal Summary (Form 8283) to be

attached to the return and provide a list of what the Form 8283 must include,

specifically including the identification of the cost basis of the property.

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       98. Professional advisors and promoters/sponsors of CEs, but not

laypersons, would have read these regulations to mean that the failure to

comply with the substantiation requirements would result in the disallowance

of the claimed deduction. The Treasury Regulations expressly provide that a

charitable deduction may only be allowed if the contribution is verified in the

manner specified by the Treasury Regulations, DEFRA, and the Code.

       99. In 2004, the IRS officially identified CEs as purportedly generated

deductions that the IRS would carefully scrutinize and eventually disallow if

certain circumstances were present, including inter alia, failure to

substantiate the FMV of the tax benefit and other valuation issues. See IRS

Notice 2004-41 (July 12, 2004). At that time, the IRS advised professional

advisors and promoters that it would aggressively pursue back-taxes and

enormous penalties from taxpayers who claim disallowed deductions from CEs.

       100. In 2006, the IRS officially put professional advisors and promoters of

CEs on notice of what constitutes a “Qualified Appraisal” and “Qualified

Appraiser,” including, for example, requiring a Qualified Appraisal to be

consistent with the substance and principles of the Uniform Standards of

Professional Appraisal Practice (USPAP) as developed by the Appraisal

Standards Board of The Appraisal Foundation.



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       101. Even in the face of these warnings, the Enterprise continued to

aggressively promote and heavily profit from CE scams. In fact, Defendants

eventually moved into syndicated CEs, which greatly expanded the “market”

for these Defendants by now making the scams available to individuals who

were not individually able to participate in a capital-heavy CE transaction.

       102. In 2016, the IRS once again advised professional advisors that it was

heavily scrutinizing these transactions and would disallow tax deductions if

certain circumstances existed, and that taxpayers who claimed disallowed

deductions would pay a heavy price. On December 23, 2016, the IRS issued

Notice 2017-10, which designated certain syndicated CEs (like the SCE Scams)

as listed transactions. Specifically, the Notice listed transactions where

members in pass-through entities receive promotional materials offering the

possibility of a charitable contribution deduction worth at least two and a half

times their contribution.

       103. A “listed transaction” is a reportable transaction that is the same as,

or substantially similar to, a transaction specifically identified by the Secretary

of the Treasury as a tax avoidance transaction. Once the transaction becomes

“listed,” certain reporting and disclosure requirements arise. The 2016 Notice

created reporting obligations for participants in CE syndications as well their



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material advisors, including appraisers, for transactions entered into on or

after January 1, 2010.

       104. By 2019, the IRS added syndicated CE transactions to its “Dirty

Dozen” list of tax scams to avoid. See https://www.irs.gov/newsroom/abusive-

tax-shelters-trusts-conservation-easementsmake-irs-2019-dirty-dozen-list-of-

tax-scams-to-avoid.

       105. Most recently, on June 25, 2020, the IRS stated in IR-2020-130 that

it “will continue to disallow the claimed tax benefits, asserting civil penalties

to the fullest extent, considering criminal sanctions in appropriate cases, and

continuing to pursue litigation of the cases that are not otherwise resolved

administratively.”

       106. The IRS has completely disallowed charitable deductions claimed

through the Enterprise’s SCE Scam. Yet, the Enterprise continues to operate

to this day.

           D.   The SCE Scam Players and their Essential Roles in the
                Enterprise.

       107. The Zak Defendants:

           a.   Nancy Zak is perhaps the nation’s most prolific tax fraudster. In

                2018, the United States Government filed a lawsuit against Zak

                for promoting dozens of fraudulent SCE scams that reported more


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                than $3 billion in improper tax deductions. Zak agreed to a civil

                injunction, promising to never promote or participate in another

                SCE scam again. Zak, her various entities, and her trusted

                associates owned, operated, controlled, managed, and profited

                from every aspect of the SCE scams. In this case, while Zak was

                essential to the Enterprise’s operations and profits, she could not

                have completed these complex transactions alone. Zak relied on a

                hand-picked team of various captured professionals whom Zak

                knew would disregard their respective professional standards in

                return for fabulous profits.

           b.   Green Earth Reserve and Forever Forests are two of the many

                LLCs owned and operated by Zak and used to facilitate the

                Enterprise’s affairs. Forever Forests and Green Earth Reserve,

                both controlled by Zak, handled both the buy and sell sides of the

                transactions. Green Earth Reserve controlled and managed the

                CapCo while Forever Forests controlled and managed the PropCo.

                These management companies were critical to facilitating the SCE

                Scam.

           c.   Lisa Cantrell and Josh Stanley are Zak’s right hands. They work

                interchangeably for Zak’s Green Earth Reserve and Zak’s Forever

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                Forests wherever needed. Cantrell and Stanley each hold

                numerous roles with each entity and were the buffer between Zak

                and her victims during the scams.

           d.   T.J. Heath is a trusted associate of Nancy Zak. Heath profited from

                the SCE Scams both by selling the subject land necessary for the

                SCE transactions and by participating in these very same

                transactions alongside Zak.

           e.   Firestone South is a shell corporation owned by Heath through

                which he conducted some of the Enterprise’s affairs.

       108. The CPA Promoters: The (“CPA Promoters”) are Ernest Nesmith,

Marcus Rogers, Nesmith Rogers Financial Consulting, Ollin Sykes, Scotty

Sykes, Sykes & Co., and others. The CPA Promoters are highly credentialed

and licensed professionals who worked with the Zak Defendants to identify and

refer their clients for participation in the SCE Scam. These CPA Promoters

leveraged their trusted status as licensed tax professionals to dupe victims into

“investing” in the SCE Scam. The victims would not have undertaken the SCE

Scam without the recommendation, blessing, and assurances of the CPA

Promoters. The CPA Promoters were handsomely compensated financially by

the Sponsors and other Defendants for referring unwitting victims into the

SCE Scam.

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           a.   Ernest Nesmith is a financial advisor and member of Nesmith

                Rogers Financial Consulting. Nesmith’s biography boasts: “Ernest

                brings over 15 years of financial services experience that include

                wealth management, insurance planning, and tax consulting. He

                has held the Series 7, 63, and 66 investment securities licenses and

                also holds his Life and Health Insurance License. Ernest leverages

                the experience gained working in the corporate divisions of three

                Fortune 100 companies that include Bank of America, Merrill

                Lynch, and TIAA-CREF as well as working independently as a

                financial   advisor.”   Nesmith    directly   solicited   Plaintiffs’

                participation in six different SCE Scams. Nesmith presented

                alongside the Sykes Defendants and Marcus Rogers to promote the

                SCE Scams at various professional conferences. Nesmith was also

                a conduit between the victims and the other Defendants. He

                enthusiastically encouraged participation in the SCE Scam, telling

                Kyle McHugh, “It’s a great strategy.” Nesmith drafted and

                collected documents necessary for the facilitation of the SCE Scam

                and communicated with McHugh to further the scam. Nesmith is

                also a minority owner of Nancy Zak’s Green Earth Reserve, which

                promoted and facilitated the very transactions he solicited

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                Plaintiffs to “invest” in. Nesmith himself is not a CPA but played

                a very similar role as the other CPA Promoters, with whom he is

                closely affiliated, and has thus been included in this nomenclature

                herein.

           b.   Marcus Rogers is Nesmith’s partner. His biography boasts:

                “Marcus is on a very short list of distinguished professionals to

                have      amassed all four professional designations of CPA, MBA,

                JD, and LLM. It is this wealth of knowledge that he offers his

                clients coupled with the practical professional experience of

                working with premier firms such as KPMG, Deloitte & Touché,

                and his governmental experience obtained while working for the

                Department of Revenue for the State of Arizona.” Rogers presented

                alongside the Sykes Defendants and Nesmith to promote the SCE

                Scam at various professional conferences. Rogers was also a

                conduit between the victims and the other Defendants. He

                provided both professional legal and accounting services to

                facilitate the SCE Scam. Rogers drafted and collected documents

                necessary for the facilitation of the SCE Scam and communicated

                with McHugh to further the scam. Rogers is also a minority owner

                of Nancy Zak’s Green Earth Reserve.

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           c.   Nesmith Rogers Financial Consulting purports to be a professional

                financial services company. Nesmith Rogers appears to be staffed

                exclusively by Nesmith and Rogers. The company’s website

                provides this blustering statement under a banner that reads,

                “KEEP WHAT BELONGS TO YOU”:

                Nesmith    Rogers    Financial   Consulting    specializes   in

                developing business and tax strategies for both small

                business owners and high net worth individuals. Our group

                demystifies the complexities associated with advance

                business and tax planning and explains to you and your CPA

                how to reap the rewards of proper planning. What could you

                do with an additional 75k in tax and business savings? Are

                you tired of overpaying your income taxes? Do you get a sick

                feeling every time you send your hard-earned money to the

                IRS? A better question might be, why don’t you do something

                about it and *Keep What Belongs To You* (emphasis in

                original). While the company holds itself out as providing

                sophisticated tax services, it appears to be little more than a

                conduit for SCE Scams and other abusive tax schemes.



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           d.   Ollin Sykes is a CPA, CITP, and CMA. His website biography

                boasts of the amazing accounting and tax services his firm can

                offer pharmacy owners like the Plaintiffs. Ollin Sykes is a

                managing member of Sykes & Co., and he uses his credibility as a

                successful CPA to obtain entrance into various professional

                conferences across the nation, such as the one Kyle McHugh

                attended. Sykes directed and recommended that McHugh “invest”

                in the Enterprise’s SCE Scams for Sykes’ own financial benefit.

           e.   Scotty Sykes is a CPA and CFP, the son of Ollin Sykes, and a

                member of Sykes & Co. His website biography boasts of his

                expertise in pharmacy accounting and how he is a “speaker on

                pharmacy accounting and complex tax matters.” Scotty Sykes

                played the same role as his father in the Enterprise’s SCE Scams.

           f.   Sykes & Co. is an accounting firm located in Edenton, North

                Carolina. The firm purports to assist clients with tax and

                accounting needs. While the business does appear to successfully

                provide legitimate accounting services, it is also a conduit for the

                SCE Scams in the “back of the house.” Ollin and Scotty Sykes

                leverage their status as licensed CPAs, along with their successful

                CPA firm, to lure unwitting victims into the SCE Scams. Sykes &

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                Co. recommended that McHugh “invest” in the SCE Scams while

                acting as his CPAs. McHugh invested in the SCE Scams on

                reliance of Ollin and Scotty Sykes, his then CPAs, upon Sykes &

                Co.’s tax advice.

       109. The Appraiser Defendants:

           a.   Dennis W. Benson and Benson Appraisal Services fraudulently

                held themselves out as “Qualified Appraisers” who created

                “Qualified Appraisals” under the Code. These Defendants

                appraised the lands in the Muskogee and Walnut Creek SCE

                Scams. The IRS found that Benson’s appraisals grossly misstated

                the valuation of the donated CEs by tens of millions of dollars and

                that Benson’s appraisals appeared to be sloppily cut and paste

                from other unrelated appraisals. The Enterprise paid Benson

                fifteen times what a legitimate appraiser was hired to do only

                months before.

           b.   Doug R. Kenny, Rick A. Kenny, and Kenny & Associates falsely

                and fraudulently held themselves out to be “Qualified Appraisers”

                who created a “Qualified Appraisal” under the Code. These

                Defendants appraised the land in the Ancient Oaks SCE Scam

                where they opined that a parcel of undeveloped swamp land, worth

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                approximately   $245,000,      could   potentially   be   worth   over

                $112,550,000, thus making the donated CE and federal tax

                deduction worth $112,305,000. This appraisal is currently under

                audit and the IRS will inevitably find that these Defendants

                grossly misstated the value of the land.

       110. The ACC Defendants:

           a.   Atlantic Coast Conservancy is a nonprofit organization that falsely

                purports to be a Qualified Organization for the purposes of a valid

                conservation easement. ACC accepted the donations in each of the

                three SCE Scams that injured the Plaintiffs, and prepared or

                coordinated preparation of various transactional documents

                necessary to substantiate the SCE Scams. Zak handpicked ACC to

                serve these roles as ACC is famous for accepting CE donations that

                reputable organizations wouldn’t touch with a twenty-foot pole.

           b.   Robert Keller is the CEO of ACC. He prepared the fraudulent

                deeds of conservation easements and 8283s, among other legal

                documents necessary to the Enterprise’s SCE Scams. Keller is a

                longtime associate of Zak. Keller attempted to apply ACC for

                membership in a legitimate CE organization but withdrew. Keller

                stated he withdrew ACC’s application because he knew ACC

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                wouldn’t be accepted, presumably to avoid the additional public

                disgrace.

           c.   Joseph Skalski is an attorney licensed to practice in the State of

                Georgia. Zak was not the Enterprise’s only mastermind. Attorney

                Skalski played more roles in the Enterprise than one can count on

                one hand. He and his wife made hundreds of thousands of dollars

                for each of the many Enterprise scams that they were

                instrumental in facilitating. Joseph Skalski also sat on the Board

                of Directors for ACC during each of the three SCE Scams described

                herein. Attorney Skalski even represented his victims before the

                IRS audits, for a stint, even though his fraud directly caused the

                scams and resulting audits.

       111. The Landowner Defendants:

           a.   Arthur Goolsby, Jr., Blair Cleveland, and T.J. Heath made the

                SCE Scams possible by purchasing the land to be encumbered.

                They purchased the necessary lands with full knowledge that such

                lands would be used for a fraudulent SCE Scam. They also served

                other roles in the Enterprise and were longtime friends and

                associates of fraudsters Nancy Zak, Robert Keller, and Joseph

                Skalski.

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       112. The Legal Services Defendants:

           a.   Dolph Winders and FisherBroyles played critical roles in the SCE

                Scams. Winders is an attorney licensed to practice in the State of

                Georgia and a partner at FisherBroyles. Winders provided the

                Enterprise essential legal services sorely needed by the multi-

                tiered, nine-figure tax transactions. Winders repeatedly hired

                Douglas Benson to provide the singularly important Qualified

                Appraisal. Winders holds himself out as a SCE expert yet kept

                hiring Benson even though it would have been facially obvious to

                any such an expert that Benson’s reports were grossly inflated by

                tens of millions of dollars and appeared to be sloppily cut and

                pasted from unrelated appraisals. Of course, Attorney Winders

                was well aware Benson’s appraisals were fraudulent; this was

                precisely why he repeatedly hired Benson to appraise the

                Enterprise’s land.

           b.   Joseph Skalski and Skalski Law Firm played many roles in the

                Enterprise which Skalski masterminded alongside Zak. Skalski

                unconscionably used his law firm to conduct Enterprise affairs at

                the expense of his victims.

       113. The Accounting Services Defendants:

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           a.   Kimberly A. Skalski and Skalski CPAs were hired by the

                Enterprise, specifically her husband Joseph Skalski, to perform

                crucial accounting services. Kimberly Skalski was more intimately

                involved in the Enterprise than one would expect from an ordinary

                accountant. As the wife of Joseph Skalski, she was familiar with

                nearly all of the Enterprise’s affairs. Skalski knew her husband

                was engaged in fraud yet provided victims with K-1’s reflecting

                significant tax deductions she knew were improper and knew

                would be provided to the IRS. Skalski may have performed some

                or all of her services for the Enterprise under her previous

                company, Kimberly A. Skalski CPA, PLLC, which was recently

                dissolved on September 30, 2021. Although, her website biography

                states that she “opened Skalski CPAs, LLC in 2015.”

           b.   Lamb & Braswell similarly assisted in furthering the Enterprise’s

                many crucial accounting needs. Specifically, it prepared the

                accounting records for the various Enterprise members and

                prepared the fraudulent Form 8283s and 8886s. Like Kimberly

                Skalski, Lamb knew that the Enterprise’s SCE Scams were

                fraudulent, but managed and operated the Enterprise’s affairs for



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                fabulous fees and kickbacks that it could not have otherwise

                generated.

II.        Defendants Jointly Develop, Promote, Sell, and Implement the
           SCE Scams for their Own Personal Financial Benefit at the
           Unconscionable Detriment of Their Victims Who Trusted Them.

           A.   The Enterprise Intentionally Targets Plaintiffs for its SCE
                Scams.

       114. Plaintiff Kyle McHugh is a pharmacist and the owner and founder of

McHugh Pharmacy Group, which manages eleven different pharmacies across

the south-east region of the United States.

       115. Plaintiff Larry Meek is a pharmacist and a longtime business partner

of Plaintiff Kyle McHugh.

       116. A sixteen-year-old Kyle McHugh met a twenty-year old Larry Meek

when McHugh was working as a stock-boy at a local pharmacy Meek interned

for. After working their way up through the pharmacy industry, McHugh and

Meek now own and operate a string of successful pharmacies across the

southeast. Together they own Lake Wylie Pharmacy Health Investors.

       117. McHugh manages their pharmacy business at large while Meek

manages the actual pharmacies.

       118. As early as March 18, 2015, Ernest Nesmith began aggressively

soliciting individuals in the pharmaceutical services industry for SCE Scams.


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Meek received such a solicitation from Nesmith via email on this date which

stated: “are you aware that most tax accountants and CPAs commonly use 15-

20 [tax saving] strategies when preparing a client’s tax return? Yet that is not

even a fraction of what is available to you in the Tax Code. There are more

than 400 legal tax deductions available to you when properly implemented and

documented . . . Want to know more tax strategies that will save you up to six

figures . . . At the 2015 PDS Conference, Ernest Nesmith with Tax Savings

Professionals wowed the crowd with winning tax strategies that would save

owners big on their taxes . . . After his presentation, you will be able to ask

Ernest the questions you weren’t able to ask at the PDS Conference! Take

advantage of this opportunity to talk to a tax expert free of charge.” Here, one

can see how the Enterprise lured unsuspecting victims into investing in SCE

Scams Nesmith knew to be fraudulent and improper. The Enterprise, through

its CPA Promoters and supposed tax experts, disparage the work of legitimate

CPAs to induce victims into “investing” into SCE Scams which are offered by

entities owned by the very promoters.

       119. On or about February 2016 McHugh attended a conference hosted by

Pharmacy Development Services. There, Olin Sykes and Scotty Sykes of Sykes

& Company and Ernest Nesmith and Marcus Rogers of Nesmith Rogers



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Financial Consulting (“the CPA Promoters”) 1 presented on syndicated

conservation easements and their purported tax benefits to the conference

attendees.

       120. On or about October 2016 McHugh attended another conference

hosted by National Community Pharmacists Association where the CPA

Promoters again presented about SCE’s and the purported tax benefits

pharmacists and pharmacy owners like McHugh could take advantage of.

       121. Olin Sykes is a licensed Certified Public Accountant (“CPA”) and the

owner and founder of Sykes & Company, P.A., a large and successful

accounting firm that focuses on the pharmaceutical services industry. His

website biography boasts that he is “intricately involved in all aspects of the

[accounting] business with a concentration in tax, business advisory services,

and technology consulting for independent pharmacies.”

       122. Scotty Sykes is the son of Olin Sykes and is likewise a CPA employed

by Sykes & Company, P.A. His biography boasts “he is actively involved in all

areas of pharmacy accounting and tax with an emphasis on high-level advisory



1Note, Olin Sykes, Scotty Sykes, and Marcus Rogers are all licensed CPA’s
who run and are employed by businesses that offer professional tax and
accounting services. Ernest Nesmith is not a CPA, but nevertheless holds
himself out as a “tax consultant” and “financial advisor,” as is described as such
herein.
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for pharmacy clients. Scotty Sykes is heavily involved in the community

pharmacy industry and is a frequent speaker on pharmacy accounting and

complex tax matters. He is also an avid writer providing a progressive

approach to operating a successful pharmacy.” 2

       123. Ernest Nesmith holds himself out as a financial and tax advisor. His

biography on Nesmith Rogers Financial Consulting’s website boasts he has

“over 15 years of financial services experience that include wealth

management, insurance planning, and tax consulting. He has held the Series

7, 63, and 66 investment securities licenses and also holds his Life and Health

Insurance License. Ernest leverages the experiences gained working in the

corporate divisions of three Fortune 100 companies that include Bank of

America, Merrill Lynch, and TIAA-CREF as well as working independently as

a financial advisor.” 3

       124. Marcus Rogers boasts that he is “on a very short list of distinguished

professionals to have amassed all four professional designations of CPA, MBA,

JD, and LLM. It is this wealth of knowledge that he offers his clients coupled

with the practical professional experience of working with premier

[accounting] firms such as KPMG, Deloitte & Touché.”


2   https://www.sykes-cpa.com/about-us/your-team/scotty-sykes/
3   http://www.rognesconsulting.com/whoarewe
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       125. As licensed accounting and tax professionals representing a large

and successful accounting business, the CPA Promoters hold themselves out

as experts in accounting and tax matters.

       126. Plaintiffs Kyle McHugh and Larry Meek are entrepreneurs and

pharmacists. Respecting tax and accounting issues they are at best a lay

person without any specialized knowledge or skills in these fields.

       127. The CPA Promoters knew that Plaintiffs, and the other conference

attendees, had at best a lay person’s understanding of tax and accounting

issues. Indeed, this imbalance of professional knowledge and power was the

very reason the CPA Promoters attended these various conferences. The CPA

Promoters ostensibly attended to help inform those in the pharmaceutical

services industry about tax and accounting issues outside of their areas of

expertise. Unconscionably, rather than properly inform the conference

attendees, the CPA Promoters elected to mislead the conference attendees for

the CPA Promoters illicit financial gain.

       128. The CPA Promoters abused their position as licensed professionals

by leveraging their vastly superior knowledge of tax and accounting issues to

lure unsuspecting business owners into “investing” in the SCE scam.

       129. The CPA Promoters presented SCEs as a completely legitimate

means for business owners to save on taxes while protecting the environment.

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During the presentation, the CPA Promoters falsely held out the purportedly

large tax savings benefits from SCEs as an incentive created and blessed by

the IRS and Federal Government for people to advance the noble goal of

environmental protection.

       131. The CPA Promoters and Enterprise knowingly invoked the noble

goal of environmental protection to disguise their despicable fraud.

       132. After the presentation, the CPA Promoters solicited private

questions and comments from the audience. Curious about the purported tax

benefits provided by syndicated conservation easements, as falsely described

by the CPA Promoters, Kyle McHugh approached Ernest Nesmith with

questions about the propriety and practicality of participating in a SCE

syndication, something Nesmith encouraged conference attendees to do.

       133. Nesmith assured McHugh that SCEs were a remarkable tax savings

strategy that were both legal and even safe investments. Nesmith told McHugh

that the SCE’s offered by the CPA Promoters consistently carried 4:1 return

on investment or higher – meaning that for every dollar an “investor” gave to

the CPA Promoters, the “investor” could expect $4+ in tax savings. Nesmith

told McHugh these large returns were perfectly acceptable and legal when

“done in the right way.”



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       134. Nesmith was able to comfortably make these statements because he

knew the SCE Scams he and the CPA Promoters were pitching had a network

of captured professionals who understood they were to abuse their positions of

trust to create inflated appraisal values for the land in question. For example,

Nesmith knew that Dennis W. Benson of Benson Appraisal Services had

delivered overvalued and unsustainable appraisals for SCE scams in the past

and knew that Benson could be relied on to deliver an equally fraudulent

appraisal in the future.

       135. The CPA Promoters’ presentation at the NCPA conference proved to

be so convincing that McHugh and several other pharmacists in attendance

promptly began investing in the SCE scams offered by the CPA Promoters.

       136. The Nesmith Rogers Defendants never disclosed, however, that the

SCE Scams they would solicit to McHugh were owned and operated by Green

Earth Reserve, an entity they owned with the prolific fraud Nancy Zak.

       137. The Nesmith Rogers Defendants also failed to disclose they co-owned

Green Earth Reserve with the prolific fraud Nancy Zak.

       138. Following the conference, McHugh asked Olin and Scotty Sykes how

he and his business could take advantage of the significant tax savings gained

through participation in the SCE scam as falsely and fraudulently descried by

the CPA Promoters.

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       139. On November 4, 2016, Scotty Sykes emailed Kyle McHugh an email

titled “Conservation Easements.” This email contained a contact card for

Ernest Nesmith of Nesmith Rogers Financial Consulting. Scotty Sykes sent

the email knowing that McHugh intended on “investing” in a CPA scam due to

his and his father’s fraudulent presentation. Scotty Sykes also knew that he

and his father would be financially compensated for referring a fresh victim to

the SCE scam.

       140. McHugh would eventually become victim to three SCE Scams, the

Muskogee Scam, the Walnut Creek Scam, and the Little Ocmulgee/Ancient

Oaks Scam, each of which is addressed in turn below.

       141. Based on the advice from Plaintiff’s then accountants at Sykes &

Company advice, Larry Meek, McHugh’s longtime business partner, began to

“invest” in the SCE Scams Sykes recommended McHugh invest in. Of course,

Meek did not know that Sykes referred Plaintiffs to SCE Scams owned and

controlled by Olin Sykes longtime friend the prolific fraud Nancy Zak.

       142. Larry Meek became a victim on two SCE Scams, the Walnut Creek

Scam and the Little Ocmulgee/Ancient Oaks Scam.

           B.   The Muskogee Scam.

       143. Muskogee Partners, LLC was registered as a domestic LLC on

August 31, 2016, and is the CapCo in the Muskogee SCE Scam (the “Muskogee

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CapCo”). Before shares in the Muskogee CapCo were sold to the victims, the

Muskogee CapCo was owned 100% by Green Earth Reserve, which was

managed by Nancy Zak. Green Earth Reserve was owned by Nancy Zak,

Ernest Nesmith, and Marcus Rogers.

       144. Shares in the Muskogee CapCo were solicited to victims at an

arbitrary price of $245 per share with a minimum investment price of $25,000.

The Muskogee CapCo was organized for the express purpose of raising money

from victims to purchase shares in Muskogee OWV LLC, a domestic LLC

registered on September 11, 2015 (the “Muskogee PropCo”). The primary

and/or only asset of the Muskogee PropCo was approximately 398.78 acres of

land in Pulaski County, Georgia (the “Muskogee Land”). Upon the successful

“sale” of shares in the Muskogee PropCo to the Muskogee CapCo, Green Earth

Reserve, and therefore Zak, would select a manager and Tax Matters Partner

(“TMP”) for the project. Zak selected herself to serve both roles.

       145. The Muskogee PropCo had 10,000 total shares. The Muskogee CapCo

planned to raise $2.45 million from victims, of which $1,506,000 would be used

to purchase 9,700 shares of the Muskogee PropCo and the remaining almost

million dollars would be used to pay off the various promoters and

“professionals” who facilitated the scam. Specifically:

           a.   $365,000 was to be paid to Nancy Zak’s Green Earth Reserve, LLC;

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           b.   $60,000 was to go to Nancy Zak’s Forever Forests, LLC;

           c.   $55,000 was to go to undefined legal fees, Dolph Winders,

                FisherBroyles, and possibly others;

           d.   $56,935.31 was to go to Atlantic Coast Conservancy;

           e.   $15,000 was to be paid to Dennis Benson of Benson Appraisal

                Services;

           f.   $25,000 was to be for “accounting” presumably Kimberly Skalski;

           g.   $250,000 was to be kept as an “operating reserve”; and

           h.   The remaining money would be used to compensate the various

                promoters who referred unwitting victims to the scheme, such as

                the CPA Promoters, Nancy Zak, and others.

       146. The Muskogee PropCo was previously owned by Blair K. Cleveland

(5%) and Arthur James Goolsby, Jr. (95%). The plan was for both Goolsby and

Cleveland to collectively retain 300 shares or 3% of the outstanding shares not

offered to victims. These men would later sell all but 1% of their shares. Joseph

Skalski stated to the IRS that this was done because of “greed” on behalf of

Goolsby and Cleveland.

       147. The Muskogee Land was comprised of two parcels of land. The

southern portion of the land was sold to Muskogee PropCo on October 23, 2015,

for $435,000. The northern portion was previously purchased by Pine Land

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Property, LLC, owned by Arthur J. Goolsby Jr, on July 15, 2015, for $351,716;

then was conveyed to the Muskogee PropCo on May 10, 2016, in exchange for

shares in the PropCo.

       148. Accordingly, the entirety of the Muskogee Land was purchased for

$786,716.

       149. Benson’s own appraisal states that the Pulaski County tax

commissioner’s office appraised the Muskogee Land for only $449,223 in 2015.

       150. Yet, the Muskogee CapCo, run by Zak and the Zak Defendants,

sought to raise $1,506,000 to buy 97% of the Muskogee PropCo, whose only

hard asset was the Muskogee Land.

       151. On November 18, 2016, Ernest Nesmith solicited Plaintiff Kyle

McHugh to buy 756 shares in the Muskogee CapCo for a total price of $185,220.

Nesmith’s email contained the following documents: (1) an investor

questionnaire; (2) a private placement memorandum; (3) a subscription and

suitability agreement (“subscription agreement”); and (4) wiring instructions.

       152. Nesmith instructed McHugh and other victims to complete and sign

the subscription agreement and questionnaire and send the executed

documents to FisherBroyles with attention to Attorney Dolph Winders.

Victims were also instructed to wire funds to First Landmark Bank, with

attention to Vivian Battershill-Diaz, to participate in the Muskogee Scam.

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       153. On December 12, 2016, Muskogee CapCo purchased 99%, as opposed

to the solicited 97%, of Goolsby and Cleveland’s interest in the Muskogee

PropCo for $1,506,000. The entirety of the Muskogee Land was purchased by

the Muskogee PropCo, however, for only $786,716, just months earlier,

between October 23, 2015, and May 10, 2016.

       154. The Muskogee Land was acquired in transactions between willing

buyers and sellers for a total amount of $786,716, meaning the FMV of the

Muskogee land was around $786,716. Yet, the Muskogee CapCo invested in

this very same land, by purchasing shares in the Muskogee PropCo, for

$1,506,000 only months later, on December 12, 2016.

       155. The Zak Defendants, Muskogee CapCo, Muskogee PropCo, Benson,

Dolph Winders, and others knowingly and intentionally overstated the base

value of the $786,716 Muskogee Land by $719,284 or nearly 100%. This initial

overvaluation of the Muskogee Land unjustly enriched these Defendants by

$719,284. These Defendants then used these fraudulently obtained funds to

line their own pockets and provide a slush fund to pay the corrupt and captured

professionals facilitating the scam “under the table.”

       156. In other words, these Defendants initially inflated the value of the

Muskogee Land to dupe unwitting investors and the IRS into believing that

they had purchased a more expensive parcel of land than they actually did.

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This served to help provide a more plausible basis for Benson’s fraudulent

appraisal and the resulting QCC tax deduction.

       157. The Muskogee Land would then be grossly overvalued once again,

this time by appraiser Dennis Benson and his company Benson Appraisal

Services. Benson would go on to claim that this $786,716 piece of land was

worth a staggering $12,000,000, for the purposes of a federal tax deduction,

because he opined the HBU of the undeveloped swamp land was worth

$12,000,000.

       158. Benson knew that all but 40 acres of the roughly 400-acre Muskogee

Land were in a high-risk flood zone. Yet, Benson’s appraisal falsely and

fraudulently states that only half of the acreage was in a flood zone. Benson

knowingly made this fraudulent representation because he believed that

honestly representing the true flood zone acreage would cast substantial doubt

on his fraudulent and grossly inflated appraisal and, therefore, the amount of

the QCC tax deduction the Enterprise hired him to fabricate.

       159. Upon information and belief, Dolph Winders, who commissioned

Benson’s Muskogee appraisal and other SCE appraisals from Benson,

instructed Benson to make such fraudulent representations so as to increase

the value of the SCE tax deduction.



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       160. Benson knew that the Muskogee Land was not worth even a fraction

of this value, yet he used his position of trust, as a licensed appraiser, to grossly

inflate the Muskogee Land’s value to assist Nancy Zak and the other RICO

Defendants’ tax fraud scheme, as discussed more below.

       161. The Muskogee CapCo’s Private Placement Memorandum noted that

the CapCo “investigated” two possible uses for the subject land: (1) the CapCo

could continue to hold the Muskogee Land for investment, which could involve

developing it; or (2) the CapCo could grant a CE on the property “or a portion

of the property to achieve certain business and tax objectives.”

       162. Before the completion of the scam transaction, the Muskogee PropCo

was managed by T.J. Heath. As such, he was given broad authority to manage

the Muskogee PropCo and was responsible for making a proposal to the

member-victims of Muskogee CapCo respecting which of these two options the

victims should choose.

       163. T.J. Heath recommended that the victims vote for the conservation

easement option. Heath did this because he knew that this would result in he

and his wife being personally compensated to the tune of hundreds of

thousands of dollars; even though Heath knew that the value of the deduction

he and his co-conspirators fabricated was wildly fraudulent.



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       164. The Muskogee Capco’s Private Placement Memorandum also stated

that the choice of which option to pursue would be up to a vote of the 38

member-victims of the Muskogee CapCo. Member-victims of the Muskogee

CapCo, like McHugh, were given ballots and instructed to cast a vote for which

option they wanted to choose. On December 16, 2016, Kyle McHugh cast his

vote for the conservation option as recommended by T.J. Heath.

       165. Yet, the member-victims of Muskogee PropCo’s votes were a complete

façade as, on December 15, 2016, Goolsby sent a letter to the two other

members of the Muskogee PropCo: Cleveland and the Muskogee CapCo. The

vote appears to have in reality been decided by a majority vote of the three

members of the Muskogee PropCo, not the thirty-eight members of the

Muskogee CapCo, as advertised. Moreover, the PropCo’s choice was made

before the members of the Muskogee CapCo cast their votes, which

unbeknownst to them were completely meaningless.

       166. Goolsby and Cleveland knew that their land was being used for a

fraudulent SCE Scam. They also served other roles in the Enterprise, and were

longtime friends and associates of fraudsters Nancy Zak, Robert Keller, and

Joseph Skalski.

       167. Joseph Skalski, acting as the authorized Power of Attorney (“POA”)

for the Muskogee PropCo before the IRS, stated that “he did not know if any

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vote took place among the members of [Muskogee PropCo] or [Muskogee

CapCo].” This is shocking and a lie, as the so-called vote is part of what the

promoters of the SCE Scam claim helps increase the Scam’s legitimacy.

       168. The vote was a façade in another respect as the Muskogee CapCo’s

Private Placement Memorandum reveals that no one in the Enterprise had any

intention of developing the Muskogee Land. Indeed, this document repeatedly

discourages members from voting for the development option and encourages

members to vote for the conservation option. The memorandum states that the

development option would involve a very high degree of risk and would require

an undetermined and substantial amount of additional funds that the CapCo

did not have and did not intend on raising.

       169. In other words, victims were told that their “initial investment” was

enough only to pursue the conservation option. Should the victims wish to

pursue the development option, this would require another round of funding

and enormous risk (if development was even possible), something the

Enterprise expressly had no interest in pursuing.

       170. The Enterprise was responsible for a mindbogglingly large number

of these transactions, all of which pursued the “conservation option” over the

costly and risky “development option.”



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       171. By deed of easement dated December 28, 2016, the Muskogee PropCo

granted ACC a conservation easement on the Muskogee Land. The Deed of

Conservation Easement was recorded in Pulaski County, Georgia that same

day.

       172. Muskogee PropCo claimed a $11,400,000 deduction on its December

31, 2016 tax return based on Benson’s and Winders’ false and fraudulent

appraisal.

           C.   Plaintiffs Become Victims of the Muskogee Scam.

       173. The individuals and entities listed below were part of the RICO

Enterprise that promoted, devised, solicited, sold, marketed, operated,

managed, controlled, and facilitated the Muskogee Scam:

                i.    The CPA Promoters.

       174. On November 18, 2016, Kyle McHugh emailed Ollin and Scotty Sykes

and Kathy Blanchard of Sykes & Co. stating that McHugh intended to

purchase 756 shares, totaling $185,220, into the Muskogee Project

recommended by the CPA Promoters. In this email, McHugh asked his then

accountants whether he should “invest” via one of his corporations or

personally.




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       175. Within minutes, Scotty Sykes replied “Kyle, you will want to do it

personally. You may draw the money from the corporation, but it should be

done personally. Thanks for the update.”

       176. In this email, Scotty Sykes, acting as a licensed CPA and employee

of Sykes & Co., encouraged and blessed McHugh’s participation in the

Muskogee Scam, knowing it was a fraud.

       177. Without giving any reason, Scotty Sykes insisted that McHugh make

the investment personally, meaning McHugh would ultimately be personally

liable for the so-called investment.

       178. Scott Sykes made this recommendation, not for the benefit of his

firm’s then client, Kyle McHugh, but for his and his father, Ollin Sykes’, illicit

financial gain.

       179. Later that same day (on November 18, 2016), Nesmith sent McHugh

a series of documents for participation in the Muskogee Project, including an

investor questionnaire and a subscription agreement.

       180. Also, later that day, McHugh emailed Nesmith his signed

“Subscription and Suitability Agreement” for participation in the Muskogee

Scam as requested by Nesmith.

       181. This form asked the signer to indicate how many shares of Muskogee

CapCo they wanted to purchase at the arbitrary rate of $245.00 per share.

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McHugh wrote that he wished to buy 756 shares in reliance of his then CPA’s

advice for a total price of $185,220.

       182. The form also asked the victim to “Provide the name, address and

professional affiliation of your investor representative, if any.” Here, McHugh

wrote “Olin Sykes, 401 E Church St. 3rd Floor Edenton, NC 27932.” McHugh

wrote Ollin Sykes’ name here because Sykes referred McHugh to the Muskogee

Scam in his capacity as McHugh’s retained CPA. Indeed, McHugh paid Sykes

& Co. $25,000 for the privilege of being defrauded by his own accountants.

       183. This section of the Subscription and Suitability Agreement was to

inform the Promoters of the scam of those who they would give a commission

to for the referrals.

       184. Both the Muskogee CapCo and PropCo were managed and controlled

by the prolific fraud Nancy Zak through her various entities. It is no

coincidence the Sykes Defendants recommended his then client McHugh invest

in a SCE Scam controlled by Nancy Zak because Ollin Sykes is a longtime

friend of Nancy Zak.

       185. The CPA Promoters received financial compensation for referring

McHugh to the Muskogee Scam.

       186. On November 21, 2016, McHugh emailed Ernest Nesmith and

Marcus Rogers, inquiring about the funding timetable for the Muskogee

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project. Within minutes, Nesmith responded that McHugh should fund the

investment “as soon as you can,” adding “most people fund within 1 to 2

business days of the docs being received.” Here, the CPA Promoters sought to

create a false sense of urgency to maximize their chances of successfully taking

their unwitting victim’s money; a tactic they used at every possible

opportunity.

       187. On November 21, 2016, Scotty Sykes emailed McHugh on behalf of

Sykes & Co., sending him a preliminary tax plan, as discussed more below. Of

note here, the Sykes & Co.’s plan included a $210,000 conservation easement

“investment” which CPA Sykes told McHugh “will correlate to an approximate

charitable contribution deduction of $840,000.”

       188. By November 21, 2016, the member-victims had not even completed

the so-called vote about whether to donate a CE on the Muskogee Land or keep

it as an investment. Yet, Scott Sykes told McHugh that the project “will” yield

a four times tax deduction for every dollar invested.

       189. Scotty Sykes knew that there was no way he could guarantee any

legitimate SCE project would yield a 4:1 return. Sykes made this

representation to McHugh, however, because he knew he was a member of an

Enterprise that consistently hired the Appraiser Defendants to make



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fraudulent appraisals, which would consistently and exponentially overstate

the value of any given conservation easement.

       190. The Sykes Defendants made the “investments” in the fraudulent

SCE Scam a central part of their financial and accounting advice to McHugh

and his businesses. The Sykes duo treated a 4:1 minimum return as a given

because they were aware of the mechanics of the tax fraud scheme they were

promoting.

       191. On November 21, 2016, McHugh wired Nesmith $185,220 to

participate in the Muskogee Scam.

       192. On November 23, 2016, McHugh emailed Nesmith, asking if he had

received the funds. Later that day, Nesmith responded that he did.

       193. On January 4, 2017, McHugh wrote the Sykes Defendants, “we are

also grateful for your putting us in contact with the conservation easement

folks [Nesmith Rogers and Nancy Zak.]” At this time, McHugh was still under

the false impression that these successful licensed professionals were not

acting solely for their own illicit financial benefit.

       194. It was this reliance on the advice of Sykes & Company that caused

McHugh’s business partner Larry Meek to invest in the subsequent Walnut

Creek and Little Ocmulgee/Ancient Oaks Scams.



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       195. The CPA Promoters were keystone figures in the fraudulent SCE

scheme. The weight and seeming legitimacy of their status as CPAs running a

successful accounting firm was essential to luring and lulling unsuspecting

victims into participating in the SCE Scam.

       196. Kyle McHugh paid Sykes & Co. $25,000 for accounting and tax

planning services. McHugh, like any reasonable person, assumed that his CPA

was not a fraudster seeking to exploit him for illicit profit.

       197. But for the Sykes Defendants’ ostensible credibility as prominent

CPAs, neither McHugh nor Meek would never have followed their advice to

invest in the SCE Scams they promoted.

       198. But for the Nesmith Rogers Defendants’ ostensible credibility as

prominent CPAs and financial consultants, McHugh would never have

followed their advice to invest in the SCE Scams they promoted.

       199. McHugh unwittingly invested into these scams in reliance of the tax

and financial advice provided to him by his former CPAs, the Sykes

Defendants, and the Nesmith Rogers Defendants.

                ii.   Dennis Benson and Benson Appraisal Services.

       200. Dennis Benson and his company, Benson Appraisal Services, falsely

and fraudulently held themselves out to be Qualified Appraisers who created

Qualified Appraisals as required under the Code.

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       201. Benson is a complete and utter fraud who abused his position of trust

as a licensed appraiser to scam innocent victims like the Plaintiffs for fabulous

profit.

       202. IRS Revenue Agent Athena O’Connor reviewed Benson’s so-called

Qualified Appraisal and found it failed to satisfy even the most basic

requirements of a Qualified Appraisal under the Code.

       203. Benson’s appraisal determined that the FMV of the worthless flood

hazard Muskogee Land, before being encumbered by a CE, was a preposterous

$12,000,000. The IRS determined Benson’s appraisal “is unreliable in that is

incomplete, based on unsupportable assumptions, flawed in its methodology,

and bearing no correspondence to the amount paid for the 99% property

interests just days before the easement was donated. . . The taxpayer has

offered no credible evidence of value for the conservation Easement and

therefore has failed to establish a greater value [for the CE] than $0.” Plaintiffs’

independent investigation has confirmed this.

       204. Benson’s Muskogee Appraisal was an absolute farce. Benson’s

appraisal repeatedly contradicts itself about basic issues of fact, such as which

city the Muskogee Land is located in, as the appraisal repeatedly claims that

the land is both inside and outside the city limits of Hawkinsville, Georgia.



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       205. Indeed, the IRS noted that Benson’s Muskogee appraisal “appears to

have been developed for another property, with names changed where

necessary. However, some details have been missed,” such as a location of the

property. The IRS also noted that “Mr. Bensons [sic] appraisal suggests that it

was prepared for a different entity and facts changed to fit the current

taxpayer. Information he used to prepare the appraisal was irrelevant (from

another county) or incorrect (city limits.)”

       206. Benson’s Appraisal falsely and fraudulently states that only half of

the Muskogee Land’s acreage is in a flood zone. In fact, all but 40 acres of the

roughly 400-acre Muskogee Land is located in a Zone A flood zone, as Benson

knew.

       207. Zone A flood zones are considered very high risk, and landowners in

such zones are required to carry flood insurance by federal law.

       208. As noted by the IRS, Benson’s appraisal does not take this basic yet

crucial detail into account and does not establish such basic facts as what the

100-year flood level is or how this necessary flood insurance would affect the

appraisal.

       209. On December 12, 2016, Goolsby and Cleveland sold 99% of their

100% interest in the Muskogee PropCo to the Muskogee CapCo for $1,506,000.

On December 28, 2016, Muskogee PropCo donated a CE to ACC, claiming an

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$11,400,000 deduction based on Benson’s appraisal. Contrary to Benson’s

fraudulent appraisal, the IRS determined the true FMV of the Muskogee Land

to be at most $1,090,672. Indeed, the true value of the land is closer to $800,000

for the reasons discussed above.

       210. Under §170 of the Code, a QCC tax deduction may not exceed the

FMV of the contributed CE on the date of the contribution. See Treas. Reg.

§1.170A-1(c)(1), (h)(1) and (2). The FMV is the price at which the contributed

property would change hands between a willing buyer and a willing seller,

neither being under any compulsion to buy or sell, and each having reasonable

knowledge of relevant facts, per Treas. Reg. §1.170A-1(c)(2) and Treas. Reg.

§1.170A-14(h)(3) and (4).

       211. No reasonable willing buyer, with knowledge of all facts, would

believe that a property worth at most $1,090,672 could appreciate to

$12,000,000 in just sixteen days – the amount of time between the sale of the

Muskogee PropCo’s shares to the Muskogee CapCo and the date of the

“donation.”

       212. The IRS concluded that “the [Muskogee PropCo] grossly overstated

the pre-easement fair market value of the subject property. In doing so it

disregarded the obvious fact that the total amount paid to purchase the

property was only $1,090,672 and performed no good faith investigation to

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reconcile its claimed [12 million dollar] value and the investment amount.” The

IRS concluded, therefore “the taxpayer overstated its deduction for the

conservation easement by at least $10,907,328.”

       213. Accordingly,    the   IRS   determined   that   the   gross   valuation

misstatement penalty under I.R.C. §6662(h) is applicable.

       214. The IRS also determined that a penalty for a reportable transaction

understatement under I.R.C. §6662A applies as well.

       215. The cost of these penalties will be borne by Benson’s victims, like the

Plaintiffs.

       216. Benson’s Appraisal also failed in other material respects. It appears

Benson failed to visit the property as required by the federal regulations, a

conclusion also reached by the IRS.

       217. Further, Benson failed to use any comparable commercial or

residential land sales within Pulaski County. Instead, Benson looked to

properties outside Pulaski County, all of which were located in more urban

areas. Benson did this knowing that using improper comparisons would help

to inflate his already-inflated valuation.

       218. Benson was previously professionally cited for doing just this by his

governing appraisal licensing board.



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       219. Benson also failed to deduct the value of the enhancement to Arthur

Goolsby’s other land by the conservation easement, which was located only feet

away from the Muskogee Land, as discussed in greater detail herein.

       220. Were Benson an independent appraiser, he would have offset the

increased value provided to Goolsby’s personal land by the neighboring

Muskogee Land being forever encumbered with a CE.

       221. This provides further evidence that Benson, Goolsby, Zak, Winders,

and the other Defendants were in a coordinated RICO enterprise. There is no

reason Benson would have neglected to take this deduction into consideration

unless he was instructed to by his co-conspirators, the RICO defendants.

                iii.   The Zak Defendants.

       222. In 2018, the United States Government filed a lawsuit against Zak

for promoting dozens of SCE scams that reported more than $3 billion in tax

deductions. U.S v. Zak, 18-cv-5774, U.S. District Court, Northern District of

Georgia (Atlanta).

       223. Zak and her companies could have gained well over a half million

dollars per transaction.

       224. On March 25, 2021, Zak entered into a permanent injunction barring

her from ever organizing, promoting, or selling any plan or arrangement that

involves a deduction for a qualified conservation contribution; making or

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furnishing a statement about the allowance of any federal tax benefit as a

result of participating in a conservation easement syndicate; or representing

any individual before the IRS with respect to any donation that is intended to

qualify as a qualified contribution easement. Id.

       225. Yet, as recent as January 31, 2022, Nancy Zak emailed her victims,

acting as Manager of both Green Earth Reserve and the Muskogee CapCo.

Nancy Zak informed her victims that she has engaged her fellow co-

conspirator, Joseph Skalski, to represent them before the IRS during the audit

caused by Skalski’s and Zak’s own fraud.

       226. Zak is currently violating her sweeping civil injunction by sending

such emails.

       227. Prior to entering into this injunction, Zak caused severe financial

harm to her countless victims, such as the Plaintiffs.

       228. On January 27, 2017, Kyle McHugh received an email from Nancy

Zak, who served as the “Managing Principal” and “Tax Matters Partner” for

the Muskogee Project, and Lisa Cantrell, who served as a “Manager of Investor

Relations,” writing on behalf of Green Earth Reserve, an entity controlled by

Zak. The email thanked McHugh for his participation in the project and

informed him that a majority of the victims voted to “donate” a CE on the



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Muskogee Land. She also informed McHugh that the CE was donated on

December 30, 2016.

       229. The Zak Defendants knew that the vote was fraudulent, as it was

actually decided by the biased Landowner Defendants, Goolsby and Cleveland,

who comprised a majority of the three members of the Muskogee PropCo; the

choice was not made by a vote of the 38 members of the Muskogee CapCo as

advertised.

       230. The vote was also completely illusory. There was no possible outcome

of the “vote” other than to “donate” a CE on the land, as the Zak Defendants,

the CPA Promoters, and all other Defendants all knew from their dozens of

identical SCE transactions.

       231. By this time, the Muskogee CapCo had raised sufficient funds to

purchase 99% of the shares in the Muskogee PropCo, whose only hard asset

was the Muskogee Land.

       232. The Muskogee CE was then “donated” to ACC on December 28, 2016.

On that same day, ACC’s CEO, Robert D. Keller, wrote a contemporaneous

written acknowledgement of the Muskogee “donation.”

       233. Nancy Zak’s involvement in SCE Scams across the country is prolific

and cannot be understated. Nevertheless, she could not do this work alone. To

further her scheme, Zak formed, owned, managed, directed, and otherwise

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controlled several legal entities, such as Green Earth Reserve and Forever

Forests. Green Earth Reserve managed and controlled the CapCos, and

Forever Forests controlled the PropCos.

       234. Zak also managed, directed, supervised, and otherwise oversaw

several employees, including the other Zak Defendants. Zak’s trusted

associates, such as Josh Stanley and Lisa Cantrell, played interchangeable

roles in all of Zak’s organizations depending on the Enterprise’s then needs.

Here, the Zak Defendants all acted in concert to effectuate the SCE Scams as

quickly and profitably as possible, without regard to the legality of the

transactions. The Zak Defendants were crucial in effectuating the Muskogee

Scam that resulted in the personal enrichment of all involved.

       235. On June 15, 2017, Lisa Cantrell sent the victims an email on behalf

of Forever Forests, informing investors that they had to file a Form 8886 with

their tax returns. Cantrell told the victims that the PropCo (also referred to

herein as the “syndicate”) had drafted a Form 8886 which “will contain

carefully chosen suggested language answering the complex questions

contained in Form 8886. You may use this language as it stands or amend it

to your satisfaction. Hopefully this will greatly diminish the time and research

your tax professional will have to utilize to complete this newly required



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disclosure.” Cantrell informed victims that they could expect to receive the

Enterprise-drafted Form 8886s shortly.

       236. On June 30, 2017, Josh Stanley, this time acting as Project Manager

for Forever Forests, sent victims the Enterprise-drafted Form 8886. Stanley

told victims that the Enterprise hoped lobbying efforts would be successful in

eliminating IRS Notice 2017-10, even though the Enterprise knew this was all

but impossible. Nevertheless, Stanley told victims that “if these [lobbying]

efforts are successful, it may be unnecessary to file these informational forms.

Consequently we are recommending that you delay your filing until closer to

the deadline.” Stanley also wrote that the Enterprise-drafted forms had

“suggested language . . . customized to reflect your project’s specifics.”

       237. Stanley devoted the entirety of his email to attempting to downplay

the seriousness and significance of the victims’ need to file the required Form

8886 i.e. a “Please Audit Me Form.” Stanley’s email included an email from

Frank Schuler, President of the Partnership for Conservation (“P4C”), a group

of SCE promoters who lobby against the regulation of the multi-billion-dollar

SCE industry. The email concluded with Stanley encouraging victims to

provide financial support for the group’s lobbying efforts.

       238. Stanley’s email served to further several aspects of the SCE scheme.

First, it again served to lull victims into a false sense of security about the

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legitimacy of their investments while downplaying the very serious risk posed

by the IRS’s notice. Stanley stated that P4C, an unnamed former IRS attorney,

and unnamed “DC lobbying firm,” were making a successful lobbying effort

that may relieve the victims of any need to comply with IRS Notice 2017-10 at

all. Stanley made this representation knowing that these lobbying efforts were

virtually certain to fail to persuade the IRS to reverse course on Notice

2017-10.

       239. Stanley implied the likelihood of success of these lobbying efforts is

so high that investors can safely delay filing the required Form 8886,

something he explicitly recommended the victims do. Stanley made this

representation knowing that a delay in the victim’s 8886 did not serve to

benefit the victims whatsoever. Stanley also knew that advising investors to

delay filing the mandatory 8886 would help to lull the victims into a false sense

of security about the dire situation caused by the Defendants. Finally, Stanley

begs the victims to contribute to P4C’s lobbying efforts. Stanley did this

knowing full well that the lobbying efforts would serve mostly to protect

promoters of SCEs, such as himself and the Enterprise.

       240. Suddenly, on September 28, 2017, Stanley again emailed the victims,

acting as Project Manager for Forever Forests. Stanley informed victims that

the Form 8886s he and Cantrell sent months ago, which they encouraged

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victims to file with the IRS as is, were patently incomplete. Stanley sent an

amended Form 8886 with substantial revisions, though these revisions still

included false and fraudulent statements and omissions, as discussed later

herein. Stanley told victims in bolded font, “the Donor forms must be modified

for your use. Do not use them as-is,” instructing victims to consult with their

own tax professionals to complete the Forms.

       241. Stanley also informed victims, again in bold, that “most legal and tax

professions are strongly recommending that your Form 8886 be submitted no

later than the original deadline of October 2. This next Monday.” Of course,

Stanley knew that the Enterprise did not want victims consulting with their

own tax professionals. This is why Stanley gave victims months to file the

Enterprises’ admittedly insufficient Form 8886 in June but gave them only a

single business day to consult with their tax professionals concerning the

amended Form 8886, and file it with the IRS. Stanley knew this was

impossible, as the Enterprise wanted the victims to file this document as-is

while enjoying the imagined legal protections that would accompany such a

disclaimer.

       242. On August 14, 2017, Lisa Cantrell of Forever Forests sent McHugh

the Reportable Transaction numbers for the Muskogee Project, ostensibly in



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compliance with the IRS Instructions to Form 8918. The 8918s provided to

McHugh were for Green Earth Reserve, listing Nancy Zak as a contact person.

       243. Here, the Zak Defendants conspired to commit, and did commit, mail

and wire fraud by knowingly producing false, fraudulent, and incomplete Form

8886s to the taxpayer victims and the IRS.

       244. First, the language drafted in response to Form 8886 Line 7b falsely

states that “[t]he amount of the federal tax deduction was determined in

accordance with an appraisal report that is represented by the appraiser to

constitute a qualified appraisal prepared by a qualified appraiser as required

under Code Section 170.” The Zak Defendants knew that Dennis Benson was

not a qualified appraiser issuing a qualified appraisal, as he used improper

methodologies to arrive at a grossly and fraudulently inflated value of the

property. Likewise, the Zak defendants knew that the Muskogee syndicate

hired Benson precisely because he would not follow the regular IRS rules in

preparing his appraisal, as he had done in the past and continued to do in the

future.

       245. The amended 8886 also falsely states that “[t]he donation was made

to a qualified charitable organization as required in Section 170(h)(3) of the

Code.” The Zak Defendants knew that ACC was not a qualified charitable

organization, as they knew that ACC was notorious for accepting CE

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“donations” that other reputable organizations wouldn’t dare touch, as

discussed more herein. These Defendants also knew that ACC was a part of

their fraudulent conspiracy, as Joseph Skalski, husband of Kimberly Skalski,

sat on ACC’s board, and the Skalski duo financially benefited from each SCE

Scam accepted by ACC. The 8886 also falsely states that “[t]his charitable

action was structured to qualify for federal tax deductions under Section

170(h), the cash value of which was substantially less than the potential profit

anticipated from the other alternatives, as estimated in the associated

qualified appraisal.” Of course, the Zak Defendants knew that the scheme was

set up to generate a federal tax deduction through grossly inflated appraisals.

Not a single Defendant contemplated going through the extremely costly and

risky (and likely infeasible and impossible) process of developing this

undeveloped swamp land.

       246. Josh Stanley and Lisa Cantrell were Zak’s right hands. They were

hand selected by Zak to run her numerous fraudulent enterprises as Zak knew

they had a demonstrated track record of turning a blind eye to her fraud for

illicit financial gain.

       247. Lisa Cantrell served multiple roles in the Enterprise. She served as

the “Manager of Investor Relations” for Green Earth Reserve, which formed

and managed the Muskogee CapCo. In this capacity, Cantrell knowingly

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served as a conduit between Zak and the investor victims. Lisa Cantrell would

co-sign many of the Enterprise’s most important email correspondences

alongside Zak. For example, Lisa Cantrell co-signed the Muskogee scam’s

acceptance of McHugh’s money, even though Cantrell knew the Muskogee

project was a fraud. This email from Zak and Cantrell instructed McHugh to

file the syndicate’s fraudulent K-1’s with the IRS. Zak also instructed victims

to contact Cantrell with any questions as she knew she could trust Cantrell to

keep the fraud going.

       248. Similarly, Cantrell co-signed an email informing the victims about

IRS Notice 2017-10, making the Muskogee Scam a listed transaction, sent on

March 28, 2017.

       249. Green Earth Reserve was paid $365,000 over the table for its role in

the Muskogee Scam. The Zak Defendants were all paid handsomely for their

participation in the Muskogee Scam.

       250. Upon information and belief, Lisa Cantrell and Josh Stanley were

also paid handsome kickbacks by Zak under the table for serving as her highly

trusted confederates.

       251. The Muskogee Syndicate’s own 8886 states that Forever Forests,

owned by Zak, was a “Project Manager” for the Muskogee PropCo. Green Earth

Reserve, also owned by Zak, managed the Muskogee CapCo. In sum, the Zak

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Defendants managed and controlled both the CapCo and PropCo, even though

this was a massive and improper conflict of interests.

       252. Lisa Cantrell, Josh Stanley, Zak, Green Earth Reserve, and Forever

Forests all served to hand pick, manage, and control the various professionals

who were needed to effectuate the scheme. The Zak Defendants were tasked

with conspiring with the various professional Defendants to ensure that the

professionals played their illicit part in exchange for large payments of money.

                iv.   The ACC Defendants.

       253. The ACC Defendants falsely and fraudulently held ACC out to be a

qualified organization such that it could accept a qualified contribution of an

interest in land for the purposes of a QCC under the Code to Plaintiff McHugh,

the other victims, and the IRS.

       254. In a legitimate CE donation, a qualified organization accepts a

donation of a CE with the intention of preserving the land in its donated state

in perpetuity.

       255. The Code places onerous rules and costly responsibilities on such

qualified organizations to avoid abuse and to ensure that the donated CE does

indeed preserve land in perpetuity.

       256. Of course, the qualified organization is crucial to the Enterprise’s

fraud. The Enterprise, accordingly, could not select any land trust to serve as

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its qualified organization. This is because a legitimate organization would

refuse to accept the Enterprise’s donations and may alert the relevant

authorities to the Enterprise’s fraud.

       257. Joseph Skalski is a leader in the Enterprise and a keystone figure in

it. Joseph Skalski is also a longtime friend, partner, and associate of the prolific

fraud Nancy Zak.

       258. IRS Agent Chris Young determined that Joseph Skalski lied to her

about his longtime relationship with Nancy Zak. Joseph Skalski made this lie

in furtherance of the Enterprise and to avoid detection of it, in violation of

several federal laws.

       259. Joseph Skalski provided legal, tax, and accounting services to the

Enterprise and the PropCos. Joseph Skalski’s wife, Kimberly Skalski, provided

tax and accounting services to the CapCos. Once again, one can see how the

Enterprise secretly controlled all aspects of the transaction, a fact the

Enterprise kept secret from its victims.

       260. Joseph Skalski also sat on the Board of ACC from at least 2016 to

2018, including during the Muskogee Scam, Walnut Creek Scam, and Ancient

Oaks Scam.




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       261. ACC also served as the “qualified organization” in dozens of other

SCE Scam transactions. See Hoover v. Strategic Capital Partners, 1:21-cv-

01299-SDG.

       262. Accordingly, Joseph and Kimberly Skalski provided crucial legal, tax,

and accounting services for the very same SCE transactions that were donated

to Joseph Skalski’s own land trust.

       263. The Skalskis profited fabulously from all their many roles in the

Enterprise.

       264. Lisa Cantrell is one of Nancy Zak’s most trusted associates, as

described above. Mandy W. Cantrell served as an office administrator for ACC.

Upon information and belief, Mandy Cantrell is related to Lisa Cantrell.

       265. Robert D. Keller is the CEO of ACC and was ultimately responsible

for determining which “donations” ACC would accept or not.

       266. Keller has been labeled by one national publication as the “[m]ost

prominent among the renegade land-trust leaders,” as well as someone known

to accept easements that other groups had refused due to excessive

valuations. 4 That same publication indicates that “ACC oversees 80,000 acres


4See “The Billion-Dollar Loophole” (December 20, 2017) at
https://www.propublica.org/article/conservation-easements-the-billion-
dollarloophole/ amp (written in collaboration with Fortune) (“Billion Dollar
Loophole”).
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of conserved land in 11 states” and that “a sampling of deal documents suggests

it took easements and land donations responsible for as much as $1 billion in

write-offs in 2017.” The Billion-Dollar Loophole. 5

          267. ACC applied to become an accredited member of the Land Trust

Alliance, a Washington DC-based association of old-guard land trusts who are

critical of syndicated transactions but withdrew its application. In the words

of Keller himself, he withdrew the application because “it was clear ‘they were

not going to let us through,’” due to disagreements about ACC’s failures to

question appraisers about excessive valuations being done in a short period of

time on easements ACC had been accepting. 6

          268. Keller has known and been associated with Nancy Zak and Joseph

Skalski for years.

          269. Robert Keller holds himself out to be an expert in CEs to the public

and to the IRS. The SCE Scams could not have happened without ACC and

Keller’s guidance and leadership.




5   Id.
6   See Id.


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       270. ACC was hand selected by the Enterprise because of its connections

to Zak and Skalski, and its reputation for its willingness to accept donations

legitimate organizations wouldn’t touch.

       271. The ACC Defendants provided the following services to each scam

syndicate:

           a.   Worked with the various professional Defendants and Zak

                Defendants to prepare the fraudulent Conservation Easement

                Deeds;

           b.   Prepared preliminary studies and inspections that fraudulently

                represented that each respective property would satisfy one or

                more of the “conservation purposes” defined under §170 of the

                Code;

           c.   Worked with the various professionals and Zak Defendants to

                prepare the fraudulent baseline documentation reports, which

                were filed with each syndicate’s appraisal summaries (Form 8283)

                and tax returns;

           d.   Provided a letter to each syndicate confirming the donation and

                representing that the syndicate would receive a full tax deduction

                for the value of the conservation easement donated; and



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           e.   Countersigned the fraudulent Appraisal Summaries (Form 8283),

                verifying that the charitable contribution deduction complied with

                §170(h) of the Code.

       272. It is clear that ACC is not an innocent third party or independent

land trust.

       273. One cannot have a CE without qualified land, and one cannot have a

QCC tax deduction without donating a CE on said qualified land to a qualified

organization. Accordingly, it was crucial that the Enterprise work with a land

trust that would accept a CE that legitimate organizations wouldn’t touch.

       274. It was not just the Enterprise’s appraisals that were fatally flawed.

The IRS also found that the Enterprise’s CE donations failed to meet the basic

requirements of a CE.

       275. For example, it is beyond settled that a CE subject to a non-

subordinated mortgage cannot meet the Code’s perpetuity requirements, as

discussed more herein. Any reasonable, independent, or legitimate land trust

would know this and would thus refuse to accept a purported CE donation if it

was subject to a non-subordinated mortgage.

       276. In the Muskogee Scam, ACC accepted a CE donation on the

Muskogee Land even though it was subject to three non-subordinated

mortgages.

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       277. A reasonable land trust outside of the Enterprise would not have

accepted a CE donation on the Muskogee Land for this reason. But ACC did

because the Scam required this and the Enterprise did not care if the CE

actually protected the land.

       278. A reasonable land trust outside the Enterprise would also not accept

the Enterprise’s donation knowing that the Enterprise would then claim a $12

million-dollar QCC tax deduction for the donation of a CE on undevelopable

swamp land.

       279. A reasonable land trust would indeed know that the donor is claiming

a grossly improper tax deduction, as the donor and donee work very closely

together and have a relationship that span years, such is here.

       280. Keller can’t honestly disclaim knowledge that the donations were

being used to generate hundreds of millions of dollars in improper tax

deductions, as Joseph Skalski serves on the ACC Board. Importantly, Attorney

and CPA Skalski prepared the Enterprise’s taxes along with his CPA wife, so

they claimed these improper tax deductions for the Enterprise.

       281. Arguably the most important responsibility of the qualified

origination before a donation is to prepare a baseline documentation report

(“BDR”). This required document is meant to establish the condition of the

property at the time the easement is transferred and is the entire basis of

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future conservation monitoring and enforcement. The BDR is also sent to the

investor-victims and must be attached to their federal tax returns.

       282. Legitimate land trusts go to great pains to ensure their BDRs are

compliant with the many regulations they are subject to.

       283. Robert Keller, on behalf of ACC, prepared the Muskogee Syndicate’s

and Walnut Creek Syndicate’s BDRs.

       284. The IRS found that the Muskogee Syndicate’s and Walnut Creek’s

BDRs were fatally flawed for several elementary reasons, as discussed more

herein.

       285. Like the appraisals, Keller’s BDRs were mere formalities designed to

only look like Code-compliant documentation and were never designed to

actually meet the Code’s requirements.

       286. Generally, a qualified organization for SCE purposes is a public

charity described in section 501(c)(3) or a government unit described in section

170(b)(1)(A)(v) and (vi).

       287. 26 U.S.C. §501(c)(3) states that a valid tax exempt 501(c)(3)

organization is one which is “organized and operated exclusively for . . .

charitable . . . purposes, adding “no part of the net earnings of which insures

to the benefit of any private shareholder or individual.”



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       288. ACC falsely held itself out and acted as a “qualified organization” to

Plaintiffs and the IRS, fraudulently claiming that it operated exclusively for

charitable purposes. ACC did not operate exclusively for charitable purposes,

because it served to facilitate many of the Enterprise’s SCE Scams for the

fraudulent financial gain of the Enterprise. Further, ACC served to materially

and personally benefit Robert Keller, Kimberly Skalski, Joseph Skalski, and

the other RICO Defendants.

       289. Robert Keller knew that by falsely holding ACC out as a “qualified

organization” to the Plaintiffs and IRS for tax purposes, then at least one of its

board members would personally benefit from the SCE Scam transactions in

several different ways.

       290. First, Joseph Skalski was paid a handsome sum to serve on ACC’s

board. ACC was kept alive and lucrative by facilitating the Enterprise’s many

SCE Scams which generated over a billion dollars in deductions. Second,

Joseph Skalski financially benefited personally from the SCE Scams laundered

through ACC through his fees and commissions. Third, Joseph Skalski’s wife,

Kimberly Skalski, financially benefitted personally from each additional SCE

Scam that she made possible through her accounting services. Fourth, Joseph

Skalski financially benefitted personally from providing legal and accounting

services for the SCE Scams. Fifth, Joseph Skalski was paid to serve as the POA

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for the Muskogee PropCo, representing victims of his own fraudulent

enterprise. Sixth, upon information and belief, both Kimberly and Joseph

Skalski were paid additional sums by Zak and the other promoters from the

secret slush funds fraudulently raised from victims.

                v.    The Disastrous Result of the IRS’s Audit of the
                      Muskogee PropCo.

       291. The Enterprise’s many highly credentialed accounting, tax, financial,

and legal professionals all repeatedly represented that they were SCE experts

performing Code-complaint SCE transactions to the Plaintiffs and the public.

       292. Yet, the IRS determined that the Muskogee Scam’s CE donation

failed to meet the basic requirements of IRC §170 for several reasons and

disallowed the charitable deduction that the various Defendants sold to victims

like McHugh.

       293. Specifically, the IRS found that the Muskogee CE failed to meet the

basic conservation and perpetuity requirements of a QCC.

       294. Section 170(h)(1)(C) states that a QCC must be exclusively for

conservation purposes. Section 170(h)(5)(A) provides that a contribution is not

treated as exclusively for conservation purposes (and is therefore not a

qualified conservation contribution) unless the conservation purposes is

protected in perpetuity. Treas. Reg. §1.170A-14(g) further states that no


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deduction will be permitted for an interest in property which is subject to a

mortgage unless the mortgagee subordinates its rights in the property to the

right of the qualified organization, to enforce the conservation purposes of the

gift in perpetuity.

       295. The U.S. Court of Appeals for the Tenth Circuit has held that

“because a conservation easement subject to a prior mortgage obligation is at

risk of extinguishment upon foreclosure, requiring subordination at the time

of the donation is consistent with the Code’s requirement that the conservation

purpose be protected in perpetuity.” Mitchell v. Commissioner, 775 F.3d 1243,

1251 (10th Cir. 2015.)

       296. The Muskogee Land was subject to three mortgages, none of which

were subordinated by the lenders to ACC.

       297. Accordingly, the Muskogee Land’s perpetual CE could potentially be

extinguished at any time by any of these three lenders. In other words, the

permanent environmental protections required by the Code for a QCC could

potentially be revoked by one of the three lenders.

       298. Accordingly, the IRS determined that the Muskogee CE failed to

meet the perpetuity requirement under the Code and disallowed the deduction

in its entirety.



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       299. It is only a matter of time before the IRS disallows McHugh’s

personal QCC tax deduction in its entirety as well.

       300. Further, the CE failed the Code’s perpetuity requirements because

the Deed of Conservation Easement allows one to construct buildings

anywhere on the property. Accordingly, the Deed of Conservation Easement

never protected the land. It is axiomatic that an unfettered ability to build

homes or other structures is in direct conflict with a perpetual easement that

is intended to protect land for environmental purposes.

       301. Of course, the Zak Defendants, Appraiser Defendants, Legal Services

Defendants, Landowner Defendants, and ACC Defendants had at this point

facilitated dozens of SCE transactions. Indeed, these Defendants held

themselves out to be experts respecting CEs. As such, these Defendants knew

that these obvious flaws were fatal to establishing a proper QCC under the

Code.

       302. This did not deter the Defendants, however, because the SCE Scams

were not about protecting the environment. Rather, they were about personally

enriching the RICO Enterprise run by the Defendants.

       303. The CPA Promoters knew that the CEs they were soliciting victim’s

involvement in failed as a basic matter of law. Yet they consciously disregarded

this to further the Enterprise’s tax fraud scheme and to enrich themselves.

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       304. Dolph Winders and FisherBroyles knew that the CEs he was

facilitating, promoting, and soliciting to victims failed as a basic matter of law.

Yet, Winders continued to facilitate these transactions for fabulous profit.

       305. Furthermore, Winders knew that Doug Benson was a hack and fraud

who would give any valuation to any piece of land if he was being paid enough.

As an attorney, Winders knew that Benson’s appraisal failed to meet even the

most basic requirements of law. The IRS simply does not allow one to claim a

10:1 tax deduction simply because one pays a feckless appraiser enough money

to say so. Yet, Winders continued to hire Benson for appraisals, at an

exorbitant rate, because Winders too is a fraudster, and it was his intention to

participate in the fraud for the financial gain of himself and his law firm,

FisherBroyles.

       306. Green Earth Reserve and Forever Forests likewise knew that

Benson’s appraisals failed as a basic matter of law and that the CEs failed even

the most basic Code requirements for these reasons. Yet, these organizations

continued to promote doomed CEs anyway, for the sake of furthering the RICO

Enterprise’s fraud scheme.

       307. The IRS audit further determined that the BDR prepared by Robert

Keller of ACC was incomplete and contained unsubstantiated claims about the

protected wildlife supposedly living on the land.

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       308. The IRS audit also found that Benson failed to deduct the increase in

value brought to Goolsby’s personally owned land, which sat only feet away

from the Muskogee Land. As outlined above, Goolsby held a minority interest

in the Muskogee PropCo at the time the CE was donated.

       309. This is significant because the Code provides there is an

“enhancement rule” that applies to any contiguous or noncontiguous property

owned by a relative party to the donation. Benson’s report noted that there are

“homes located within 1,500 feet” of the Muskogee Land, yet Benson curiously

neglects to mention one of these homes is owned by Goolsby, who also owned

the Muskogee Land prior to the fraudulent QCC donation.

       310. Benson’s letter to Attorney Dolph Winders stated that Benson

searched nearby properties and found no contiguously owned properties by the

subject owners or family members. Yet, Goolsby owns a house just 1,200 feet

south of the Muskogee Land.

       311. There is no reason why Benson, a licensed and experienced

appraiser, would have omitted this crucial information were this a regular

arm’s length transaction.

       312. Were this a regular, legitimate, arm’s length transaction, Benson

would have no reason to risk his professional license, and risk an IRS



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disallowance of the QCC tax deduction he appraised, for the sole benefit of

Arthur J. Goolsby, Jr.

       313. Yet, Benson did just this because he was instructed to. Benson knew

this was not a legitimate arm’s length transaction and that the “enhancement

rule” would only serve to reduce the value of his appraisal and, accordingly,

the value of the QCC.

       314. Indeed, Benson’s many “errors” all served to increase the value of the

QCC and enable a quick and profitable QCC tax deduction for the Syndicate

and RICO Enterprise.

       315. The IRS determined that Muskogee Partners failed to obtain a

qualified appraisal within 60 days before the date of the contribution in

accordance with Treas. Reg. §1.170A-13(c)(3)(i).

       316. The IRS noted that Dennis Benson’s Muskogee Appraisal appeared

to have been created for a different project and simply had the names and

details randomly switched out for the Muskogee project. Indeed, Benson’s

appraisal repeatedly contradicts itself about basic facts, such as the city the

easement is located in.

       317. Finally, the IRS found that the $12,000,000 QCC tax deduction could

not at all be supported given the above and the true fair market value of the

property.

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       318. Accordingly, the IRS disallowed the QCC in its entirety.

           D.   The Walnut Creek Scam.

       319. The Walnut Creek SCE Scam operated in a similar way to the

Muskogee Scam. Victims like McHugh were solicited to purchase membership

interests in Walnut Creek Land Partners, LLC, a domestic LLC registered on

July 27, 2017 (the “Walnut Creek CapCo”), at an arbitrary price of $2,460 per

share and with a minimum investment requirement of 13 shares per victim or

$31,980. Blair Cleveland has served as the registered agent for the Walnut

Creek CapCo since its formation. Cleveland also owned a 5% interest in the

Muskogee PropCo, which owned the Muskogee Land.

       320. Walnut Creek CapCo was formed with the express purpose of

obtaining funds from victims to acquire a 99% interest in Walnut Creek Land

Holdings LLC, a domestic LLC registered on October 24, 2016 (the “Walnut

Creek PropCo”), whose sole hard asset is 461.59 acres of land in Jones County,

Georgia (the “Walnut Creek Land”).

       321. Like the Muskogee Land, the Walnut Creek Land was not selected

for environmental or conservation purposes. Rather, the land was selected

because it was owned by a member of the RICO Enterprise, T.J. Heath, and

his wife.



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       322. The Walnut Creek Land was described by a legitimate appraiser as

having “a very irregular shape” with 8% of the property in a FEMA-designated

flood hazard area.

       323. The land is in a generally undeveloped part of the state. The land

presented very limited development potential; meaning that the land was

cheaper for the RICO Defendants to purchase, thereby allowing for greater

profits.

       324. The Enterprise sought to raise $2,435,400 from the victims. This

price was to pay off T.J. Heath’s personal $1,197,629 debt on the property. The

remaining $1,547,806 was designated to pay the various RICO Defendants for

their roles in furthering and facilitating the Enterprise and SCE Scam.

       325. To participate in the Walnut Creek Scam, victims were instructed to

email the requisite subscription documents to Josh Stanley in his capacity at

Green Earth Reserve.

       326. Victims were then asked to vote whether they wanted to: (1) sit on

the land and hope it appreciates; (2) develop the land using untold amounts of

additional funds that were not raised by the offering; or (3) donate the land,

claim a QCC tax deduction, and reap purportedly legitimate tax benefits.

       327. Victims were actively discouraged from voting for any option other

than the conservation option.

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       328. The ballot provided to the victims had the “conservation proposal” as

the first option and, in parentheticals next to this choice, states that it was

“recommended by the Company and its Manager.”

       329. Unlike the Muskogee Scam, the Walnut Creek Scam appears to have

been decided by a vote of the twenty-five CapCo member-victims, like McHugh,

and not the biased two-landowner members of the PropCo.

       330. Regardless of the vote, however, the Enterprise had zero intention of

doing anything with the Walnut Creek Land but encumbering it with a CE for

the sake of a significant QCC tax deduction.

       331. Zak, as manager for Green Earth Reserve, signed her ballot on

December 13, 2017, voting for the conservation option. Every vote cast was for

the conservation option.

       332. The CE was ostensibly donated on the Walnut Creek Land on

December 27, 2017. The Deed of Conservation Easement was prepared by ACC

and was recorded in Jones County at Book 964, pages 312-475.

       333. The Walnut Creek Land was worth roughly $1.5 million, as described

in detail below. Yet, Dennis Benson fraudulently appraised this swamp land

to have a HBU worth $12,258,000. Benson then opined that a CE would limit

the land’s value to $1.5 million because no one could develop it.



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       334. Here, again, one can see the crux of the fraud. The Enterprise

purchases land with little to zero development potential. It then hand picks

appraisers who opine that the undeveloped land would be worth substantially

more if it was hypothetically developed, illegally fabricating the FMV of the

land. The appraiser then says that the value of the land, once encumbered by

a CE, is the exact price the land was purchased for by the Enterprise (the true

FMV). The appraiser then subtracts the “after” value from the “before” value

to determine the amount of the QCC tax deduction, which the Syndicate will

claim and pass through to its victims.

       335. Congress does not sanction this unmistakable fraud. There is no

limiting principal here. The only limit is how bold any given appraiser is

willing to be with their sham appraisal. For example, Benson could have

equally opined that the swamp land’s HBU would be the construction of a

three-billion-dollar Disney theme park.

       336. Plaintiffs have already discovered documents that prove the

Enterprise was explicitly instructing Benson, likely through Winders, to

grossly inflate the value of his appraisals for QCC deduction purposes.

       337. The PropCo owner and manager, T.J. Heath, hired Forever Forests,

which was owned and controlled by Zak, to manage the transaction per his

signature on a Walnut Creek Consulting Services Agreement (“FF

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Agreement”) dated June 20, 2017. In this agreement, Heath paid Zak and

Forever Forests $150,000 to:

           a.   “Recommend one or more optimal strategies to maximize [Heath’s]

                interests”;

           b.   “Manage team determination of highest & best use”;

           c.   “Provide oversight of appraisal preparation”;

           d.   “Recommend legal counsel for legal and tax review”;

           e.   “Assure completion of comprehensive Baseline Report”;

           f.   “Assist in negotiation of Conservation Easement”; and

           g.   “Manage distribution of required IRS tax forms.”

       338. But there is no such thing as a “team determination of highest & best

use” under the Code, and certainly not from an unqualified fraudster like

Nancy Zak.

       339. In a legitimate CE donation, an independent appraiser properly

appraises the FMV of the CE according to the Code and USPAP’s strict

requirements, neither of which allow an appraiser’s client to directly influence

the FMV amount.

       340. The FF Agreement also required Heath to notify Forever Forests in

the event of an audit. Forever Forests agreed to assist in the case of an audit

for $250 an hour. The Agreement then curiously states: “recognizing that an

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audit or tax court case could have an impact beyond the scope of this project,

[Forever Forests] may elect to have greater involvement in the defense of an

audit of this project at FF’s own expense.”

       341. Here again, one can see the presence of a larger Enterprise with

interests beyond any one syndicated CE transaction.

       342. Again, Nancy Zak controlled both Forever Forests and Green Earth

Reserve. Nancy Zak’s Forever Forests was hired by Heath to manage the

Walnut Creek PropCo for $150,000. Forever Forests/Zak had a contractual

agreement with Heath to “manage team determination” of HBU. Nancy Zak’s

Green Earth Reserve then managed and controlled the Walnut Creek CapCo,

which solicited funds from victims by promising legitimate tax deductions.

Green Earth Reserve was paid a $200,000 management fee for its role in the

SCE Scam. Thus, Zak’s companies were paid a collective $350,000 for the

Walnut Creek Scam.

       343. The Nesmith Rogers Defendants were also minority owners of Green

Earth Reserve and solicited victims to invest only in projects managed by

Green Earth Reserve/Forever Forests.

       344. The Walnut Creek PropCo was audited by the IRS in 2021. IRS

Revenue Agent Chris Young authored a scathing 170-page audit report which

tore the Walnut Creek Scam to shreds.

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       345. IRS Agent Young found, among other things, that the appraisal

grossly overstated the value of the land, and the Enterprise’s accompanying

QCC deduction.

       346. Agent Young disallowed the Walnut Creek QCC deduction in its

entirety for several independent reasons.

       347. Agent Young also determined that the Walnut Creek PropCo’s books

and records were manipulated prior to being provided to the IRS.

       348. Joseph Skalski, T.J. Heath, and others were responsible for providing

this information to the IRS.

       349. Upon information and belief, Joseph Skalski, T.J. Heath, and others

manipulated this data to evade detection of the Enterprise’s affairs.

       350. The Walnut Creek Syndicate’s Form 8886, filed with the IRS, shows

that the Defendants listed below were compensated the following sums over

the table for their role in facilitating the Enterprise’s unlawful goals:

           a.   ACC was paid $52,593.79;

           b.   Benson Appraisals was paid $15,000;

           c.   Green Earth Reserve was paid an undisclosed amount, but other

                records show it was paid at minimum $200,000;

           d.   Walnut Creek CapCo was paid $365,000;



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           e.   Forever Forests was paid $150,000 to manage the fraud

                transaction;

           f.   FisherBroyles was paid $60,000 for legal services;

           g.   Kimberly Skalski was paid an undisclosed amount for accounting

                services;

           h.   Upon information and belief, these Defendants and others, such as

                the CPA Promoters, were paid significant additional sums under

                the table for their role in the fraud.

       351. The Walnut Creek CapCo’s Closing Statement reveals that most of

the monies paid to the Enterprise came from funds solicited by the victims.

The Defendants listed below were paid the following sums from victim funds:

           a.   T.J. Heath was paid $398,565.93;

           b.   Megan Heath was paid $3,621.88;

           c.   T.J. Heath’s Walnut Creek PropCo was paid $402,593.79 for

                “check legal reserve” and “check operating reserve”;

           d.   Walnut Creek CapCo was paid $36,490.00;

           e.   Forever Forests was paid $80,000;

           f.   FisherBroyles was paid $40,000.




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       352. Because the Defendants were running a massive fraud enterprise, it

is not surprising that the Enterprise’s financial records do not reconcile, as

noted by Agent Young.

           E.   Plaintiffs Become Victims of the Walnut Creek Scam.

       353. Below Plaintiffs describe the Walnut Creek Scam and the Enterprise

members’ role in it.

                 i.   The CPA Promoters.

       354. Larry Meek is Kyle McHugh’s longtime business partner. McHugh

was taken in by the Nesmith Rogers Defendants and Sykes Defendants

promises of legitimate investment opportunities and their accompanying

legitimate tax savings strategies. McHugh was encouraged to invite others to

“invest” in the SCE Scams by these individuals, who aggressively promoted the

scams to people in the pharmaceutical services industry.

       355. Meek, believing the SCE Scams to be legitimate, decided to “invest”

in the Walnut Creek Scam alongside McHugh. Nesmith had personally

targeted Meek for SCE Scam participation as early as March 2015.

       356. In his January 4, 2017, email to Scotty and Ollin Sykes (mentioned

above), Kyle McHugh thanked the Sykes duo for introducing him to the

facilitators of the Muskogee Scam, the Nesmith Rogers Defendants: “We are



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also grateful for your putting us in contact with the conservation easement

folks.”

       357. McHugh and Meek reasonably believed that licensed accounting and

financial professionals such as the CPA Promoters wouldn’t recommend an

improper tax savings strategy but were unfortunately wrong.

       358. Sykes & Co. specifically targets pharmacists and pharmaceutical

businesses for tax and accounting advice, as the company boasts on its website

and in the tens of thousands of social media posts. Sykes & Co. holds itself out

as “The Premier Accounting Firm for Pharmacies” and claims:

           If you’re a pharmacy owner, we understand how your business

           operates. We know your industry benchmarks. We can help you

           outperform national averages. We also know that making your

           pharmacies more successful gives you a better quality of life and

           we work to help you achieve that. We believe in putting our clients’

           needs first. We will be there when you need us. We respond quickly

           to your needs, often within minutes, no matter your question or

           concern.

       359. Believing that the Muskogee SCE Scam recommended to him by his

CPAs at Sykes & Co. was legitimate, McHugh emailed Ernest Nesmith on June



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13, 2017, stating: “we would be interested in doing this again for 2017 if its

available again.”

       360. Within minutes, Nesmith replied: “Ok, when the project opens, I’ll

send you the info. It’s good to here [sic] from you.” Nesmith further stated:

“that’s good to hear. It’s a great strategy.”

       361. Nesmith knew that the SCE Scam was not “a great strategy” as it

was currently under unprecedented IRS scrutiny. Nesmith made this false

statement to deceive McHugh and lull him into a false sense of security about

his “investment.”

       362. A former employee of Forever Forests, Brian Sullivan, testified

before the IRS that he worked alongside Ernest Nesmith in his capacity at

Zak’s Forever Forests. Sullivan described Nesmith’s role in the Enterprise,

testifying that Nesmith “recommended people for Conservation Easements”

offered by Zak’s Forever Forests.

       363. Again, this is significant because both Nesmith and Rogers are part

owners of Green Earth Reserve. As such, they had a vested personal financial

interest in each SCE Scam they solicited and advertised. As members of Green

Earth Reserve and as highly credentialed professionals who share numerous

professional degrees between them, the Nesmith Rogers Defendants knew the

exact fraudulent nature of the scheme.

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       364. The Nesmith Rogers Defendants only solicited the Plaintiffs’

involvement in SCE transactions offered by their own company, Green Earth

Reserve, but never once disclosed this to the Plaintiffs. This was fraud by

omission, designed to dupe McHugh into “investing” money that would end up

in the Nesmith Rogers Defendants’ pockets.

       365. Nesmith and Zak are longtime associates. Nesmith worked for

disgraced attorney, Drew Miles, at Pathfinder Business Strategies; a group

infamous for promoting improper tax schemes. Unsurprisingly, Zak was a

longtime client of Pathfinder. Marcus Rogers also worked for Drew Miles at

Pathfinder Business Strategies.

       366. The Enterprise is made up of a network of longtime friends and

business partners, not random independent professionals.

       367. At some point thereafter, the Nesmith Rogers Defendants became

formal business partners of the prolific fraudster, Nancy Zak, when they

became members of Green Earth Reserve.

       368. On November 7, 2017, the Nesmith Rogers Defendants solicited

McHugh to participate in a second SCE Scam. In his email, Nesmith included:

(1) an investor questionnaire; (2) a Subscription and Suitability Agreement;

and (3) a set of wiring instructions. Significantly, Nesmith did not include the

Private Placement Memorandum (“PPM”), which describes in detail the

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structure of the Walnut Creek Scam and contains crucial investor information

required by federal securities law.

       369. The Nesmith Rogers Defendants omitted this crucial PPM to keep

their victim in the dark about the details of the scheme. The Nesmith Rogers

Defendants merely provided McHugh with the minimum legal paperwork the

CPA Promoters and Zak Defendants needed to put McHugh on the hook for his

money.

       370. The Nesmith Rogers Defendants purposely omitted this crucial PPM

to help reduce the chance that the illicit nature of the scheme would be

uncovered by McHugh, or an agent hired by McHugh, such as a legitimate tax

advisor. This too was an act of fraud by omission by the Nesmith Rogers

Defendants.

       371. Once again, Nesmith ended his email by stating “try and get them

back to me as soon as possible,” again trying to create a false sense of urgency

in his unwitting victim. The email was signed “Ernest & Marcus.”

       372. Without the detailed information from the PPM, or other comparable

document, the Plaintiffs cannot fully ascertain the structure of the Walnut

Creek Scam without discovery. Likewise, Plaintiffs cannot ascertain other

crucial details about the players in the Walnut Creek Scam due to the limited

information provided to McHugh. This was a conscious and intentional

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strategy of the CPA Promoters and the Zak Defendants to evade detection of

the Enterprise.

       373. On November 8, 2017, Meek sent Nesmith a signed subscription

agreement to purchase 25 shares in the Walnut Creek CapCo for $61,500 or

$2,4600 a share. This subscription agreement was later signed by the prolific

fraud Nancy Zak acting on behalf of Walnut Creek CapCo and Green Earth

Reserve.

       374. On November 30, 2017, Plaintiff McHugh wired Nesmith $246,000 to

purchase 100 shares in Walnut Creek CapCo. This subscription agreement was

later signed by the prolific fraud Nancy Zak acting on behalf of Green Earth

Reserve, which managed the Walnut Creek CapCo.

       375. Plaintiff Meek also invested in the SCE scam. On November 9, 2017,

Ernest Nesmith emailed Plaintiff McHugh telling him “you are both good to

go.” In reference to Plaintiff McHugh’s and Meek’s “investment.”

       376. On December 11, 2017, Josh Stanley acting as Project Manager for

Green Earth Reserve emailed Meek informing him that the manager of the

Walnut Creek PropCo recommended that Meek vote to “conserve” the Walnut

Creek Land with a CE.

       377. On January 25, 2018, Marcus Rogers emailed McHugh and Meek,

informing them that the majority of the Walnut Creek CapCo member-victims

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voted to place a CE on the land and donate it for a QCC. In fact, 100% of the

votes were for this option as the Enterprise designed, structured, and

marketed its transactions as CE donations and nothing else. The Nesmith

Rogers Defendants thanked Meek for helping to “permanently [preserve] this

important habitat” adding “we hope [this] brings you great satisfaction.” The

email concluded by informing Meek that the Enterprise’s SCE Scams are

“highly sought after, and if you choose to get involved again, it is recommended

that you secure a spot as early as possible.”

       378. IRS Agent Chris Young interviewed Ernest Nesmith during her

investigation.

       379. Nesmith lied to the IRS when he told Agent Young that “he does not

advertise the [SCE] investment and investors find him through word of

mouth.” In truth, Nesmith solicited McHugh’s participation in the SCE Scams

while he was promoting them at a professional conference, and then through

several solicitation emails.

       380. Nesmith again lied to the IRS when he told Agent Young that

“investors were not solicited for this investment opportunity.” In truth,

Nesmith himself solicited victims into these scams in written emails to

Plaintiffs.



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       381. Nesmith again lied to Agent Young when he said the Nesmith Rogers

Defendants “only educate clients about conservation easements and if they are

still interested, they forward the name over to whoever is running that

particular project.”

       382. In reality, the Nesmith Rogers Defendants aggressively solicited

McHugh’s participation in the scam, telling him the SCE Scam is “a great

strategy.” Further, the person who “is running that particular project,” was

inevitably Green Earth Reserve, an entity they owned.

       383. Nesmith again lied to Agent Young when he claimed that the

Nesmith Rogers Defendants “are not paid through green Earth Reserve[], LLC

or Forever Forest.” Nesmith stated these lies to Agent Young in furtherance of

the Enterprise’s RICO conspiracy.

       384. On May 5, 2021, Agent Young interviewed a member-victim of

Walnut Creek CapCo who stated that Nesmith Rogers “discussed the benefit

of conservation easements, specifically the tax deduction and the conservation

of the land. Nesmith told him that they find people that find or own land in

rural areas and try to find land to keep as green space. [The victim] was told

‘it’s a legal IRS thing’ by Nesmith.”




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       385. McHugh was told similar things by Nesmith. In particular, the CPA

Defendants repeatedly told McHugh that these transactions were perfectly

legal and, indeed, desirable due to their purported conservation benefits.

       386. This victim also told Agent Young that the Nesmith Rogers

Defendants told him how they manipulate the appraisal results: “[the victim]

said [Nesmith Rogers] told him they were getting an appraiser for subdivisions

or shopping malls and it would be worth that much per acre if it had those

things on them.”

       387. Here, the Nesmith Rogers Defendants admitted to the crux of the

fraud. The Enterprise goes out with the intent of finding cheap land to

purchase with the express goal of encumbering it with a CE. The Enterprise

then hires hand-picked and feckless appraisers to fabricate an outrageous

HBU, which results in an improper appraisal and a wildly illegal QCC tax

deduction.

       388. Of course, the Nesmith Rogers Defendants, whose website boasts of

their many professional degrees, knew that the IRS does not allow a taxpayer

to claim an eight-figure charitable tax deduction simply because they hire an

appraiser (at 15 times the normal rate) to say the undeveloped land would be

worth $12,000,000 if one infeasibly developed it for an improbable (and likely



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impossible) use. The Enterprises’ fraud scheme is both incredibly complex and

incredibly simple.

                ii.   The Zak Defendants.

       389. The Zak Defendants played the same role in the Walnut Creek Scam

as they did in the Muskogee Scam. Simply put, the Zak Defendants owned,

controlled, or managed nearly every aspect of the scam alongside an army of

captured and corrupt professionals.

       390. The CPA Promoters and the Zak Defendants solicited victims to

purchase shares of Walnut Creek CapCo, to buy an interest in Walnut Creek

PropCo, whose only asset was the Walnut Creek Land, which is 449.125 acres

located near Georgia Highway 18 and McKay Road in the 8th Land District of

Jones County, Georgia.

       391. Green Earth Reserve served as the manager of the Walnut Creek

CapCo, and Nancy Zak served as the manager of Green Earth Reserve.

       392. Upon information and belief, the Walnut Creek Land was subdivided

from a larger chunk of land owned by Blair Cleveland and Arthur Goolsby.

They subdivided a single piece of the land for sole purpose of creating more

land to create more SCE Scams, thereby enriching themselves more than if

this was a single project.



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       393. It is no surprise that the same names keep coming up in different

transactions. The Enterprise needed to work only with those who were already

initiated into the Enterprise and willing to facilitate its illicit business for

fabulous profit.

       394. Cleveland was fully aware of the fraudulent nature of the SCE Scams

and was compensated with shares in the various fraud entities, such as

Muskogee PropCo, fraudulent tax deductions, and cash compensation from the

Enterprise.

       395. The wiring instructions sent by Nesmith instructed victims to send

their funds to First Landmark Bank in Marietta, GA with the customer’s name

noted as “Walnut Creek Land Partners, LLC.”

       396. On or about November 13, 2017, Kyle McHugh wired $246,000 to

purchase 100 shares to unwittingly participate in the Walnut Creek Scam.

       397. On November 30, 2017, Nancy Zak, acting as Manager of both the

Walnut Creek CapCo and Green Earth Reserve, signed a document

acknowledging McHugh’s wire.

       398. On December 11, 2017, Josh Stanley, acting as Project Manager for

Green Earth Reserve, emailed the victims of the Walnut Creek scheme.

Stanley provided the victims a “ballot” and instructed them to “vote” on how

the Walnut Creek entity should handle the land purchased with the victim’s

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funds. Stanley wrote that the “Manager of Walnut Creek Land Holdings, LCC”

has reviewed a proposal to develop the land, conserve the land, and keep the

land as an investment; informing the victims that the “Manager” of the scheme

recommends the victims vote to “conserve” the land via a syndicated CE.

       399. Stanley attached a ballot listing these three options. “Conserving”

the land via a syndicated CE was listed as the very first option with a

parenthetical next to it stating this option was “recommended by the Company

and its Manager.”

       400. On February 19, 2018, Josh Stanley, acting as Director of Investor

Relations at Green Earth Reserve, emailed Meek to confirm his “participation”

in the Walnut Creek Scam. This email contained a copy of Meek’s subscription

agreement signed by the fraud Nancy Zak acting on behalf of Walnut Creek

CapCo and Green Earth Reserve.

       401. On May 29, 2018, Meek received an email from Josh Stanley acting

as Director of Investor Relations for Green Earth Reserve. This email included

a fraudulent K-1 prepared by Kimberly Skalski and a Template Form 8886.

Stanley told Meek “it is of crucial importance that you[r] accountant provides

ALL of these items in your [tax] filing.” Here, Stanley knew that he was

providing Meek with fraudulent documents which he demanded Meek file with

the IRS, but disregarded this because it personally financially benefitted him.

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       402. On June 15, 2018, Meek received an email from Forever Forests

which provided him with the Material Advisor Numbers for the Walnut Creek

Scam.

       403. On July 16, 2019, Meek received another fraudulent K-1 for tax year

2018 from Green Earth Reserve.

       404. On January 5, 2022, Nancy Zak, acting on behalf of Green Earth

Reserve, sent Meek an email with information pertaining to the IRS audit

caused by Zak’s fraud, in violation of her civil injunction.

       405. Every member who “invested” in the Walnut Creek CapCo was

awarded a 4.5-times return on investment. Green Earth Reserve, however,

who only contributed $182.00, enjoyed a $110,917 charitable contribution,

which amounts to a 609-times return on investment.

                iii.   The ACC Defendants.

       406. Robert Keller of ACC drafted a BDR of the Walnut Creek Land and

recorded it on December 27, 2017. The report purports to document the state

of the Walnut Creek Land at the time of the donation.

       407. In the report, Keller claims to have personally visited the property,

as required, but did not provide a date.

       408. Upon information and belief, Keller did not personally visit the

property but fraudulently wrote that he had.

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       409. The report is signed by both T.J. Heath, acting as manager of

Fieldstone South, which served as the management company for the PropCo

until management authority was delegated to Zak’s Forever Forests, and

Robert Keller of ACC. Yet curiously the document does not contain the date it

was signed.

       410. Agent Young found that the BDR was insufficient to establish the

condition of the Walnut Creek Land at the time of the gift, as required by

Treas. Reg. §1.170A-14(g)(5). This regulation requires that a valid QCC must

provide documentation sufficient to establish the condition of the property at

the time of the gift.

       411. Indeed, Agent Young found “it is impossible to determine the

condition of the [Walnut Creek] property at the time of the donation. The

baseline documents do not state when it was prepared, when the photos were

taken or when the doner and donee signed it. . . . Although the donee signed

the Certification of the Baseline Documentation Report absent all dates, it is

impossible to determine if it was signed before the date the baseline study was

prepared.”

       412. Keller holds himself out to be a CE expert. ACC has churned through

countless QCC’s totaling over a billion dollars in tax deductions. Yet, Keller



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failed to meet the basic CE requirement of having an adequate BDR; ostensibly

Keller’s main duty in any given CE project.

       413. Agent Young then determined that the Walnut Creek easement deed

failed to satisfy the perpetuity requirement of the Code, disqualifying it as a

QCC, and disallowed the charitable deduction in its entirety for this reason,

among others.

       414. The BDR was attached to the PropCo’s tax return.

       415. Keller repeatedly stated and wrote that ACC served as a Qualified

Organization under the Code and that ACC effectuated a QCC under the Code.

Keller knew these many representations were false and fraudulent for the

reasons discussed above.

       416. Keller also knew that his BDR was insufficient to establish a bona

fide CE or QCC. The Enterprise relies on ostensibly legitimate professionals to

fabricate just enough paper to give the appearance of a Code-compliant

transaction.

       417. In reality, the ACC Defendants accepted the Walnut Creek Land

because they were compensated by the Enterprise to do so. The ACC

Defendants had no real intention of conserving the land for the elementary and

fatal flaws discussed herein.



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                iv.   Dennis Benson, Benson & Associates, Winders,
                      FisherBroyles, and Heath:

       418. As outlined above, T.J. Heath was a facilitator of the Muskogee

Scam. He was also a 99% owner of the Walnut Creek PropCo prior to the

buyout. The Walnut Creek PropCo was managed on paper by Fieldstone South,

whose only members are TJ Heath and his wife, Megan Heath, who owned a

negligible amount of the company.

       419. The Walnut Creek PropCo and Heath, however, had a contractual

agreement with Forever Forests (the “FF Agreement”), which delegated

management authority from Fieldstone South to Zak’s Forever Forests.

       420. Documents show that Forever Forests, not Fieldstone South,

managed the Walnut Creek PropCo during and after the solicitation of victims

into this SCE Scam, as was customary in the Enterprise’s scams.

       421. Fieldstone South was little more than a shell corporation and

liability shield for Heath. Fieldstone South is and was the alter ego of T.J.

Heath.

       422. Heath, who owned 99% of the Walnut Creek PropCo prior to the

buyout of his shares by the CapCo, purchased 100 shares of the Walnut Creek

CapCo for either $100 or $1 per share. These same shares would be offered to

victims at a rate of $2,460 per share.


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       423. Heath now serves as the Tax Matters Partner for the Walnut Creek

Scam before the IRS, even though he is irreconcilably conflicted due to his

personal role in the fraud and his own personal financial interests in the

Walnut Creek Scam.

       424. Heath and his wife also received nearly $400,000 for their role in the

Walnut Creek Scam alone; all with funds raised from the victims.

       425. These conflicts of interest were never disclosed to the member-

victims of the Walnut Creek Scam.

       426. Dolph Winders is a licensed attorney who has attained partner level

at his firm, FisherBroyles. He holds himself out to be an expert in CEs.

       427. Winders’ online biography boasts “his practice specialties include

significant experience with conservation easements . . . . He has been an active

speaker on conservation easements . . . over the years.”

       428. Sometime in 2017, Attorney Winders solicited the Benson

Defendants to create the sham appraisal to facilitate the Walnut Creek Scam.

       429. A reasonable attorney, let alone a reasonable legal expert on CEs,

would see Benson’s Muskogee appraisal was fatally flawed many times over.

       430. Yet, rather than fire Benson for his obviously fraudulent and

inadequate appraisal, Dolph Winders hired Benson again to appraise the

Walnut Creek Land.

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       431. Indeed, the poor quality and grossly inflated values of Benson’s

Muskogee appraisal (and likely other fraudulent appraisals) was precisely the

reason Winders hired Benson to appraise the Walnut Creek Land.

       432. On December 31, 2017, Benson completed his sham appraisal for the

Walnut Creek Scam.

       433. Benson’s appraisal states that the subject Walnut Creek Land was

purchased by the Walnut Creek PropCo on December 20, 2016, for $1,083,800,

from Plum Creek Land Company, a large timber company.

       434. Benson’s appraisal also states that the Walnut Creek Land was

appraised to be worth $1,057,847 in 2016 by Jones County.

       435. Benson’s Walnut Creek appraisal opines that the HBU of the Walnut

Creek Land is residential development as a subdivision.

       436. Benson proclaimed that the FMV of the land, which appraised

months prior for roughly $1,500,000, is magically $12,258,000 “before” the

encumbrance. Benson then opined that the value of the land “after” being

encumbered by a CE is $721,688.

       437. Finally, Benson calculated the difference of these two amounts,

stating that if one donated a CE on the roughly $1,500,000 piece of land, they

could claim a $11,535,352 non-cash charitable contribution on their federal

taxes.

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       438. For     the   reasons   discussed   above,   the   federal   government

unsurprisingly does not allow a taxpayer to purchase an approximately $1

million parcel of land and then donate it for a 11x tax write off, as Benson, the

Legal Services Defendants, the Zak Defendants, the CPA Promoters, the ACC

Defendants, and the Accounting Services Defendants well knew but

disregarded.

       439. The evidence clearly shows that the Benson Defendants were

instructed to grossly inflate the Walnut Creek Appraisal to support an

improper QCC deduction.

       440. This illegal conduct is exacerbated by the fact that the FF Agreement

between Forever Forests and the Walnut Creek PropCo and T.J. Heath, stated

that Forever Forests would “manage team determination of highest and best

use.” Clearly the evaluation of the HBU was not left to a Qualified Appraiser.

       441. It is not surprising that the IRS found that Benson’s Walnut Creek

Appraisal grossly inflated the value of the Walnut Creek Land. Benson’s

fraudulent appraisals were a feature, not a bug, of the Enterprise’s scams, as

the FF Agreement reveals that the Enterprise was controlling the HBU

determinations behind the scenes.

       442. Upon information and belief, Attorney Winders also instructed and

assisted Benson in grossly inflating his appraisal, as evidenced by the FF

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Agreement and Winders’ otherwise inexplicable hiring and rehiring of Benson,

an obvious fraudster to an experienced attorney.

       443. Heath’s facilitation of the Walnut Creek Scam ran even deeper.

While he was the 99% owner of the Walnut Creek PropCo, Heath borrowed

$1,199,279 from Morris Bank to refinance the Walnut Creek Land.

       444. Following the closing of the Walnut Creek Scam, Heath’s bank was

wired $1,180,618.40, which relieved Heath of his own personal debt for the

property

       445. It is suspicious that Heath refinanced the Walnut Creek Land. This

is because Heath knew that the Enterprise would pay him in cash for the

buyout of his interest in the PropCo. Heath took this loan out to enjoy this

significant seven-figure liquidity knowing that he could immediately pay it

back with victim funds.

       446. Heath used the funds obtained from Morris Bank to fund the

Enterprise before it had obtained enough funds from victims.

       447. To obtain this $1,199,279 loan, Morris Bank obtained an appraisal

from C.A. Yarbrough, III of Yarbrough & Company, appraising the Walnut

Creek Land.

       448. Yarbrough is a legitimate appraiser with over 40 years of appraisal

experience.

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       449. Yarbrough determined that the true value of the Walnut Creek Land

was        agricultural/timberland/residential   and   valued   the   property   at

$1,520,000. Yarbrough states that the intended user of his appraisal was

Morris Bank who paid Yarbrough $1,000 for his appraisal.

       450. Yarbrough completed his appraisal on March 2, 2017. Yet, three

months later, Heath, via Dolph Winders, requested a new appraisal from

Benson. The intended use of this appraisal was “to assist the client in asset

evaluation for a conservation easement” on June 7, 2017. Benson appraised

the very same land for $12,258,000, which only three months earlier had been

appraised for $1,520,000.

       451. The Walnut Creek PropCo paid Benson $15,000 for his appraisal,

fifteen times what Morris Bank paid Yarbrough for his appraisal.

       452. In return, Benson appraised the land at more than ten times its true

value.

       453. Benson, the Zak Defendants, the ACC Defendants, the Landowner

Defendants, the Legal Services Defendants, and the Accounting Services

Defendants knew that Heath obtained a $1,199,279 refinance loan based on a

Morris Bank appraisal which appraised the land’s value at $1,520,000.

       454. The Enterprise knew that the land was worth roughly $1.1 to $1.5

million.

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       455. The Enterprise also knew that Zak and Forever Forests were hired

to “manage team determination of highest and best use.”

       456. The Enterprise knew that using an appropriate appraisal would not

net them the profits they needed to obtain. Thus, the Enterprise hired Benson

because they knew from experience that he was willing to produce ridiculous

and fraudulent appraisals to support the Enterprise’s goal of illegally making

money.

       457. The IRS found that Benson “grossly overstated the pre-easement fair

market value of the Property. In doing so, it disregarded the obvious fact that

the total fair market value of the Property per [a recent bank appraisal] was

$1,520,000. The taxpayer borrowed money against the property and the bank,

a third party, appraised the property less than 10 months before the donation.

Although banks can be conservative with their appraisals, their appraisal was

conducted by a qualified outside contractor with over 40 years of appraisal

experience. It is unrealistic to think the property value would have risen by

more than 8 times to $12,258,000 in less than 10 months. Therefore, the

taxpayer overstated its deduction for the conservation easement by at least

$10,757,917.”




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       458. The IRS then concluded that a gross valuation misstatement penalty

under I.R.C. §6662(h) applies due to Benson’s and Winder’s grossly inflated

appraisal.

       459. The Georgia Real Estate Appraisers Board professionally cited

Dennis Benson in July 2021 for multiple violations and breaches. Benson was

cited and fined a significant sum of money for thirteen different professional

violations. Relevant here, Benson was cited for failing to provide sufficient

documentation to substantiate his conclusions about market research;

wrongfully valued a property by using “comparable sales that were all located

in higher demand, more densely populated areas.”

       460. The IRS found that Benson did this very same thing in his Muskogee

and Walnut Creek appraisals.

       461. The IRS also found that Walnut Creek PropCo failed to make a

reasonable attempt to ascertain the correctness of the charitable contribution

deduction.

       462. The ACC Defendants, Accounting Services Defendants, Landowner

Defendants,        Legal   Services   Defendants,   Appraiser   Defendants,   Zak

Defendants, and CPA Promoters all knew that their Enterprise failed to make

reasonable attempts to ascertain the correctness of the deduction. This is

because the Enterprise was not organized to structure SCEs in compliance

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with the Code. Rather, the Enterprise was structured to maximize profits by

slamming through as many grossly overvalued SCEs as possible.

       463. Benson’s appraisal falsely stated that Benson visited the Walnut

Creek land on December 30, 2017, only one day before the effective date of his

appraisal.

       464. To prove this, Benson attached photographs of the land in the idyllic

throws of summer, even though Benson claims the photos were taken in the

winter.

       465. The IRS attached photos of the same property in winter and

compared them to the photos Benson claimed to have taken during his property

visit. This comparison clearly shows that the photos Benson claimed to have

taken in December were taken at some other time.

       466. Accordingly, Benson falsely and fraudulently claimed to have

personally visited the property, as he is required to do, and included these

photos in his report to give it the appearance of a qualified appraisal by a

qualified appraiser, even though he knew it was not and he is not.

       467. The IRS also found that the Enterprise failed to meet the

requirement to obtain a qualified appraisal within 60 days before the date of

the contribution in accordance with Treas. Reg. §1.170A-13(c)(3)(i), and denied

the charitable contribution outright for this reason as well.

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       468. The IRS determined that Benson’s preliminary appraisal was nearly

identical to his final appraisal. The IRS found that Benson’s appraisal was

therefore not a qualified appraisal because “it was merely an exact copy of the

draft appraisal conducted more than 4 months prior to the contribution.”

Accordingly, the IRS found that the appraisal was prepared more than 60 days

prior to the date of easement granted by the Walnut Creek PropCo.

       469. Agent Young determined that the financial information provided to

the IRS had been modified and deleted prior to being given to the IRS by Heath

and Joseph Skalski. Upon information and belief, Heath and Skalski

manipulated, modified, and deleted the financial data for the Walnut Creek

PropCo as an affirmative act of fraud designed to prevent detection of their

scheme.

       470. Agent Young determined that one of the data entries that was altered

involved Dolph Winders’ role in the scam. On June 22, 2017, Winders was paid

$20,000, which was originally coded as “Easement Expense”, but was changed

to “Development Cost” before being provided to the IRS.

       471. Agent Young likewise determined that another piece of data was

altered to hide the role of Dennis Benson, who was repeatedly hired by

Winders, in the scam.



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                v.    The Accounting Services Defendants.

       472. On May 29, 2018, McHugh received an email from Josh Stanley, then

acting as Director of Investor Relations for Green Earth Reserve. Included in

this email is a 2017 K-1 for the Walnut Creek Land scheme drafted by

Kimberly A. Skalski.

       473. On June 24, 2019, Kimberly Skalski emailed McHugh a K-1 for the

2018 tax year.

       474. On March 24, 2020, Dorte H. Bieber, acting on behalf of Kimberly A.

Skalski. emailed McHugh a 2019 K-1 for the Walnut Creek scheme for the 2019

tax year.

       475. Like with the Muskogee Scam, the Accounting Defendants knew that

the tax documents they were preparing contained false and fraudulent

information about the nature and amount of the Syndicate’s claimed tax

deductions.

       476. Lamb & Braswell knew and that the SCE transactions they were

repeatedly hired to facilitate were not in compliance with the Code.

       477. Agent Young interviewed T.J. Heath about his involvement in the

Walnut Creek Scam. Heath was represented by Joseph Skalski, who also

represented several other Enterprise members, including himself. Such roles

are another way Joseph Skalski profits from his own fraud.

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       478. Agent Young noted, “Skalski appears to be very familiar with the

transaction as he was responsible for several roles.” Skalski served as the

representative for the Walnut Creek PropCo. He also served on the Board of

Directors and was the Treasurer of ACC, who accepted the CE donation. He

also prepared Walnut Creek PropCo’s Form 8283.

       479. Joseph Skalski’s wife, Kimberly Skalski, CPA, prepared the Walnut

Creek CapCo’s tax return.

       480. Kimberly Skalski also prepared the fraudulent K-1s that were issued

to the victims.

       481. Kimberly Skalski knew that her husband sat on the board of ACC

and was also being paid several times over for his various roles in facilitating

these scams.

       482. Kimberly Skalski is not an innocent accountant hired to provide

independent tax services. She and her husband were intricately involved in the

Enterprise’s fraud.

       483. Skalski also knew that she and her husband were being paid

hundreds of thousands of dollars for their roles in facilitating the scams.

       484. Respecting Kimberly Skalski and Joseph Skalski, there are more

conflicts of interest than one can easily count. The victims were not informed

that the CPA preparing their tax returns and K-1s was married to a CPA and

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lawyer who represented the PropCo, but also sat on the Board of Directors and

served as the Treasurer of the organization that received the donated CEs.

       485. Joseph Skalski has known and done business with Nancy Zak for

years. Yet, Joseph Skalski lied to the IRS when he stated that he did not know

who owned Forever Forests and lied about his relationship with Zak, according

to Agent Young.

       486. Joseph Skalski’s lies to the IRS are an affirmative act of fraud,

designed to evade detection of his scheme to defraud victims, such as McHugh,

for his and his wife’s personal financial gain.

       487. Kimberly Skalski is likewise a longtime associate of Zak.

           F.   The Little Ocmulgee/Ancient Oaks Scams.

       488. On August 27, 2018, Ernest Nesmith solicited McHugh to participate

in a third SCE Scam, the Little Ocmulgee Scam. Nesmith wrote that “this is a

$1.2 million project that once voted into conservation is expected to have a 4.6

to 1 deduction. As with the 1st project of the year, we are expecting this one to

close relatively soon. . . This is a good project to get some of your deductions for

the year out of the way.”

       489. Attached to Nesmith’s email was a Subscription and Suitability

Agreement and Confidential Investor Questionnaire. Once again, Nesmith

purposely excluded the PPM which provides in depth details about the scam.

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Nesmith intentionally omitted this document because the Enterprise had no

interest in educating their victim investors about the scheme.

       490. Rather, the Enterprise hoped that the reliance induced by their many

professional degrees and licenses would be enough to convince investors to turn

over their money while minimizing the risk of detection.

       491. Indeed, the fact that Nesmith repeatedly solicited investors’

participation in his scams, without providing the legally required details,

shows that the Nesmith Rogers Defendants knew that their victims were

relying on them.

       492. Without this detailed PPM, or comparable document, it is difficult to

ascertain the full structure of the Little Ocmulgee Scam. It is also impossible

to identify the various players in the Little Ocmulgee Scam, for this same

reason, as they were never disclosed to victim McHugh. This is by design of the

Enterprise to shield themselves from discovery, liability, and justice.

       493. Adding to the confusion, sometime during December of 2018, the

Enterprise suddenly switched from the Little Ocmulgee Scam in Georgia to the

Ancient Oaks Scam in Louisiana.

       494. No one involved in the Enterprise asked McHugh’s permission to

suddenly switch the project and McHugh did not authorize it.



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       495. On December 3, 2018, McHugh was sent a ballot which purports to

ask the member-victims of the Little Ocmulgee Scam whether they wanted to:

(1) develop the land with money the Syndicate did not have and did not have a

plan to raise; (2) encumber the land with a CE; or (3) sit on the undeveloped

land indefinitely and hope it appreciates in value.

       496. The ballot stated that the “conservation option” is “recommended by

the PropCo and its Manager,” which statement was next to the box victims

were instructed to check.

       497. Like the previous scams, the PropCo and its Manager were both

controlled by the Enterprise through Nancy Zak.

       498. McHugh voted for the conservation option as he was recommended

to by the PropCo, its Manager, and the CPA Promoters.

       499. Suddenly and without notice to the member-victims, the Enterprise

switched to the Ancient Oaks Scam after the member-victims had already

ostensibly invested and cast their votes in the Little Ocmulgee Scam.

       500. The member-victims were not asked to sign paperwork authorizing

participation in the Ancient Oaks Scam, nor were they given ballots to vote on

switching to the Ancient Oaks Scam.

       501. Presumably this new Scam would have been similar in scope to the

previous scams where the Enterprise purchased an ~$1 million parcel of land

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and a fraudulent appraiser opined that its HBU was worth ~$12 million. This

was not the case.

       502. The Enterprise claimed a QCC tax deduction of $112,305,000 for the

Ancient Oaks Scam, over one-hundred million dollars.

       503. The Ancient Oaks Syndicate’s Form 8886 states that the Ancient

Oaks CapCo sought to raise $21,747,013.

       504. Nearly all of the funds raised from victims were used to pay the

Enterprise’s members.

       505. Indeed, the Ancient Oaks Syndicate’s Form 8886 neglected to

disclose the monies paid to nearly all of the Enterprise’s members, including

Green Earth Reserve, the Kenny Defendants, the Accounting Services

Defendants, the Legal Services Defendants, the ACC Defendants, T.J. Heath,

and the CPA Promoters. This omission was fraudulent and designed to evade

detection of the Enterprise’s players and affairs.

       506. The Form 8886 does note, however, that Forever Forests was paid

$200,000 over the table to manage the scam.

       507. On December 28, 2018, the Ancient Oaks PropCo donated a CE on

the Ancient Oaks Land to ACC. The Deed of Conservation Easement was

signed by Nancy Zak, as Manager of Green Earth Reserve, and Robert Keller,

on behalf of ACC. This Deed falsely and fraudulently represented that it

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created a valid CE that perpetually protected the Ancient Oaks Land, even

though the signers knew this was false.

       508. Also on December 28, 2018, Robert Keller, acting on behalf of ACC,

wrote a contemporaneous written acknowledgment of the so-called donation.

In it, he falsely and fraudulently represents that ACC is a Qualified

Organization that can accept a valid Code-compliant QCC.

           G.   Plaintiffs Become Victims of the Little Ocmulgee/Ancient
                Oaks Scams.

       509. Unwittingly trusting the legitimacy of the SCE Scams recommended

to him by his CPAs at Sykes & Co., and in reliance on Nesmith Rogers’ advice,

McHugh purchased 17 shares in the Little Ocmulgee CapCo for $209,913 on

August 30, 2018.

       510. The Enterprise also solicited Meek for participation in the then Little

Ocmulgee Scam. On December 16, 2018, Meek purchased 4.3497 units in the

Little Ocmulgee CapCo for a total price of $96,712.

       511. Fast     forward   to   February   17,   2021,   Nancy   Zak,   acting

simultaneously as: (1) Member Manager of Green Earth Reserve; (2) Manager

of Ancient Oaks CapCo; and (3) Partner Representative of Ancient Oaks

PropCo, wrote to McHugh, informing him that the Ancient Oaks Syndicate was

under audit.


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       512. Once again, Nancy Zak is revealed to be controlling and directing

almost every aspect of the SCE Scams.

       513. Zak informed the victims that her co-conspirator, Joseph Skalski,

was engaged to represent the partnership before the IRS audit.

       514. The Enterprise did not disclose the fact that Skalski was intimately

involved in the fraud that caused the IRS to audit the partnership.

       515. Many of the Defendants played special roles in the SCE Scam that

brought on this IRS audit.

                i.    The Kenny Defendants.

       516. The Zak Defendants hired Kenny & Associates and Appraisers

Douglas R. Kenny and Rick A. Kenny (the “Kenny Defendants”) to appraise

405.647 acres of land located along the south side of Highway 46 and the north

side of Highway 300/Bayou Road, just east of Highway 39 in St. Bernard

Parish, Louisiana (the “Ancient Oaks Land”).

       517. The Kenny Defendants’ appraisal shockingly claimed that this

undeveloped rural swampland’s HBU was a mining operation worth a

staggering $112,550,000.

       518. The Appraisal states “the typical purchasers of properties with a

similar highest and best use as the subject property (mining) are often mining



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companies that seek opportunities for expanding operations on a regional or

national basis.”

       519. Yet, the Kenny Appraisal fails to substantiate this ridiculous claim

with any comparable mines.

       520. In a nutshell, the Kenny Defendants claim that if a gigantic mining

conglomerate purchased the Enterprise’s undeveloped land and then built a

nine-figure mining operation on it, the Ancient Oaks Land would be worth nine

figures. That is under the “extraordinary assumption” that such a hypothetical

mining conglomerate were able to obtain all the necessary permits and

government approvals for such a mine in an area surrounded by residential

homes.

       521. But there were no mining activities and no mining development on

or near the Ancient Oaks Land.

       522. The Kenny Defendants’ appraisal devotes a single paragraph to the

financial feasibility of such an entirety-hypothetical, nine-figure mining

operation.

       523. The Kenny Defendants failed to consider the financial feasibility and

untold costs associated with developing this land into a nine-figure mining

operation.



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       524. The Kenny Defendants could have equally opined that the Ancient

Oaks Land’s HBU could be worth 100 trillion dollars because NASA and the

Walt Disney Corporation could hypothetically buy the land and develop it into

an intergalactic theme park. This would be no less absurd, frivolous, or

fraudulent from the IRS’s perspective.

       525. The IRS is currently auditing the Ancient Oaks Scam. Given that the

IRS found Benson’s $12,000,000 appraisals were grossly inflated, it is

inevitable they will find the Kenny Defendants’ $112,550,000 appraisal is

grossly inflated as well.

       526. The Kenny Defendants used the same flawed methodologies, and

ridiculous and unreasonable Code interpretations, to arrive at this facially

absurd valuation.

       527. The Kenny Defendants ridiculously opined that the undeveloped

Ancient Oaks Land’s HBU was worth $112,550,000 “before” being encumbered

with an CE. They also opined that the value of this same land would be

$245,000 “after” being encumbered with a CE. They then subtract the “after”

value from the “before” value to opine that the Syndicate could claim a

$112,305,000 QCC tax deduction.

       528. Upon information and belief, the Ancient Oaks Land’s true fair

market value was $245,000 or less.

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       529. The Enterprise then claimed and passed through a 459-times return

on investment as a QCC on the federal tax return based on the Kenny

Defendants’ fraudulent appraisal.

       530. Upon information and belief, Nancy Zak also had a written

agreement with the PropCo and/or CapCo to “manage team determination of

highest and best use” of the Ancient Oaks Land.

       531. Here, ACC was the client requesting the appraisal from the Kenny

Defendants.

       532. The Kenny Defendants signed the Syndicate’s fraudulent Form 8283

alongside Robert Keller of ACC. This document falsely states:

           a.   That a Qualified Conservation Contribution was donated to ACC;

           b.   That the Kenny Defendants were Qualified Appraisers who

                created a Qualified Appraisal;

           c.   That ACC was a Qualified Organization under the Code;

           d.   That the so-called donation was compliant with §170(h) of the

                Code;

           e.   That the Deed and Baseline Documentation Report prohibits the

                construction and or development of the land consistent with the

                Code’s perpetuity requirements;



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           f.   That the easement will exclusively serve the Code’s mandatory

                Conservation Purposes; and

           g.   That the conservation easement will yield a “significant public

                benefit” under Treasury Regulation §1.70A-14(d)(4)(iv).

                ii.    The Accounting Services Defendants.

       533. Kimberly Skalski was once again hired to prepare the victims’ K-1s.

       534. On June 14, 2019, McHugh received a K-1 and Form 8886 for the

Ancient Oaks Partners scheme from Kimberly Skalski for tax year 2018.

       535. Kimberly Skalski knew that the K-1s she prepared caused victims to

claim improper tax deductions to the IRS. Yet, Kimberly Skalski did not care

about the fathomless harm she was causing the victims because doing so made

her and her husband so much illegal money.

       536. Skalski instructed victims to attach (1) the Form 8283; (2) the Kenny

Defendant’s Appraisal; (3) the Baseline Documentation Report; (4) the Deed of

Conservation          Easement;   and   (5)   Keller’s   Contemporaneous   Written

Acknowledgement.

       537. Skalski knew and that the documents she instructed the victims to

send to the IRS were fraudulent, as they were prepared by her co-conspirators:




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           a.   Skalski knew that the Form 8283’s prepared by her husband

                contained the false and fraudulent representations described

                herein;

           b.   Skalski knew that the Kenny Defendants’ Appraisal was facially

                absurd and fraudulently inflated at the request of her and her

                husband’s long time business associate Nancy Zak;

           c.   Skalski knew that the BDR, Deed, and Contemporaneous

                Acknowledgment prepared by ACC were false and fraudulent, as

                was ACC’s custom, as her husband sat on ACC’s board;

           d.   Skalski also knew that her husband was representing the

                Enterprise’s past SCE Scams during the IRS audits, which

                revealed all of the similar aforementioned documents were false

                and fraudulent.

       538. On April 6, 2020, Kimberly Skalski acting on behalf of Kimberly A

Skalski CPA, PLLC emailed Plaintiff Larry Meek with a fraudulent K-1 for the

Ancient Oaks Scam.

       539. On February 17. 2022 Kimberly Skalski acting on behalf of Kimberly

A Skalski, CPA, and Skalski CPAs, LLC emailed Plaintiff Larry Meek a

fraudulent K-1 for the Ancient Oaks Scam.



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       540. Upon information and belief, Lamb & Braswell provided similar tax

and accounting services, knowingly and intentionally facilitating this scam as

they did in the previous two scams.

                iii.   The Zak Defendants.

       541. On December 3, 2018, Josh Stanley emailed Meek telling him that

the Little Ocmulgee manager recommended that the investor-victims vote for

the conservation option. Meek voted for the conservation option, as he was

recommended to by the Enterprise, but this did not matter. The Little

Ocmulgee Scam was switched to the Ancient Oaks Scam without Plaintiffs’

knowledge or consent and was voted into conservation without Plaintiffs’ vote.

       542. On March 15, 2019, McHugh received an email from Amy Diar of

Green Earth Reserve and Nancy Zak acting as the Ancient Oaks Partners LLC

Manager. The email provided that they were working on the tax information

for the project, stating “we advise that each member be prepared to file an

extension for their 2018 personal tax return” due to the supposed complexity

of the transaction.

       543. Here, Green Earth Reserve served several different roles. It served

as both the manager for the CapCo, Ancient Oaks Partners, LLC, and as the

manager for the PropCo, Ancient Oaks Holdings, LLC.



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       544. On February 17, 2021, McHugh received a letter from Nancy Zak

acting as Manager of Green Earth Reserve, Manager of the Ancient Oaks

CapCo, and Partnership Representative of the Ancient Oaks PropCo. This

email informed McHugh and the other victims that the IRS started an audit of

the Ancient Oaks schemes. The letter informed investors they may be

personally liable. The letter informed investors that they (Zak) have engaged

the Skalski Law Firm to represent the Partnership during the audit.

       545. Nancy Zak controlled, managed, or had material input on nearly all

aspects of the Ancient Oaks SCE Scam. The Zak Defendants played similar

roles in facilitating the Ancient Oaks Scam as they did in facilitating their

previous two scams.

           H.   Other Solicited Syndicated Conservation Easement
                Scams.

       546. On December 19, 2019, Nesmith solicited Kyle McHugh’s and Larry

Meek’s participation in the Tayes Hollow Project.

       547. On October 28, 2020, Nesmith solicited McHugh and Meek’s

participation in the Harris County solar scheme. His solicitation email stated:

“please jump on this ASAP as the project will fill up quickly due to demand

and scarcity.”




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       548. On December 4, 2020, Nesmith solicited McHugh and Meek’s

participation in the Potato Creek scheme. The email stated that the amount of

money the project hopes to raise is $8.2 million, adding: “therefore, the highest

and best use value is 4.681 time(s) higher than the raise.” It stated that this

project will likely be their last offering.

           I.   The Sykes Defendant’s Additional Fraudulent Acts.

       549. In or about October 2016, McHugh attended a National Community

Pharmacists Association (NCPA) conference, where the CPA Promoters

presented about ostensible tax savings plans for pharmacists through SCEs.

These men, three of whom are CPAs, collectively held twelve professional

licenses and pitched participation in the SCE Scam to unwitting victims,

specifically targeting successful pharmacists like McHugh.

       550. On November 4, 2016, Scotty Sykes sent Pamela McHugh an email

titled “Conservation Easements” which provided the name and contact

information of Ernest Nesmith of Nesmith Rogers Financial Consulting.

       551. On November 18, 2016, Scotty Sykes advised Kyle McHugh to

personally invest in the Muskogee Project, the first SCE Scam, offered through

Nesmith Rogers.

       552. On November 18, 2016, McHugh sent Ernest Nesmith the necessary

executed legal documents to participate in the Muskogee Scam.

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       553. In or about November 2016, the Sykes Defendants solicited Kyle

McHugh to hire Sykes & Co. for a so-called audit of McHugh Pharmacy Group’s

financials and his personal financials. The Sykes Defendants sought ostensibly

to further assist McHugh with his businesses’ tax and financial needs. This

was just another part of the sprawling tentacular of the SCE Scam. Little did

McHugh know this so-called financial audit was part of the Sykes Defendants’

scheme to further enrich themselves through deceptive and fraudulent

business practices.

       554. The Sykes Defendants sought to audit the Plaintiffs’ financial records

for several illicit reasons. First, they hoped to identify McHugh as an

individual of a sufficiently high net worth to refer to the SCE Scam and the

other Defendants. Second, they hoped to use their position as McHugh’s CPA

to encourage him to invest in the SCE Scam, knowing that this would result in

the illicit enrichment of the Sykes Defendants. Third, the Sykes Defendants

hoped to gain McHugh’s private financial data to use in their own databases

for the purposes of advancing their own business interests and identifying

other possible SCE Scam victims. Fourth, the Sykes Defendants hoped to steal

McHugh and his sizeable business from other reputable CPAs by falsely

claiming that his prior CPAs had committed accounting malpractice, thereby

requiring substantial CPA work from Sykes & Co.

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       555. On November 21, 2016, McHugh received a tax plan from Sykes &

Co. via email. The tax plan states, “all columns include a conservation

easement investment of $210,000 which will correlate to an approximate

charitable contribution deduction of $840,000.”

       556. Of course, there is no possible way Sykes & Co. could have known

that any $210,000 “investment” would result in an $840,000 return, let alone

for the purposes of assuming a near million-dollar tax write off, for the

purposes of a CPA-prepared tax plan designed to be relied upon by the client.

Yet, this email from the Sykes Defendants clearly states that a $210,000

investment “will correlate” to a charitable contribution deduction of four times

the investment, because the Sykes Defendants were aware of a RICO

Enterprise comprised of captured professionals, like themselves, who were

generously rewarded for structuring SCE Scams that produce consistent 4:1

returns. The Sykes Defendants used the word “will” in this context as they

knew with certainty that the captured appraisers, captured consultants,

captured legal counsel, and captured accountants would inevitably facilitate a

SCE project, with a 4:1 or higher return on investment, by fraudulently

manipulating the relevant appraisal, financial, and legal standards for their

own gain.



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       557. On November 30, 2016, McHugh received an email from the Sykes

Defendants, stating: “upon closer review, it is clear there are some concerns

with the prior CPA basis schedules.” They claimed that several of McHugh’s

businesses “do not have matching AAA (Accumulated Adjustments Account) &

Retained Earnings.” The Sykes Defendants added that several of McHugh’s

businesses “have had distributions in excess of AAA but there are no

corresponding taxable gains on your personal tax returns nor reduces in debt

basis.” The email concluded: “we feel it is important that we get these

corrected.” The Sykes duo then requested seventeen different tax returns for

four different businesses for Sykes & Co. to “correct” at a tremendous expense.

       558. On December 1, 2016, McHugh replied to the Sykes Defendants, after

receiving their staggering accounting bill. McHugh stated that, while “we

never really discussed an hourly rate for your services or how many hours it

would take to transition,” he would pay the requested sum. However, McHugh

informed the Sykes Defendants that he would not continue using Sykes & Co.

as their hourly rate was higher than his attorneys’ rate.

       559. On December 2, 2016, the Sykes Defendants replied, stating that the

issues raised in their previous email were very serious and that Sykes & Co.

could not assist McHugh further unless he engaged them to correct the

purported errors of his prior CPA.

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       560. The December 2, 2016 email further stated, “please keep in mind that

we suggested conservation easement options that we believe will provide you

six figures of federal and state tax relief [and] in addition suggested you

consider investment into SC Conservation easement credits [which] could

bring thousands more of SC tax relief.”

       561. On January 4, 2017, McHugh replied, declining Sykes & Co.’s offer

for more high-priced accounting services and adding, “we are also grateful for

you putting us in contact with the conservation easement folks [the Nesmith

Rogers Defendants and the Zak Defendants].”

                               CAUSES OF ACTION

                                   COUNT ONE

                   VIOLATIONS OF THE GEORGIA RICO ACT
                    (By all Plaintiffs Against all Defendants)

       562. Plaintiffs repeat, reallege and incorporate every prior allegation in

the preceding paragraphs as if fully set forth herein.

       563. The Georgia RICO law provides that “[i]t shall be unlawful for any

person, through a pattern of racketeering activity or proceeds derived

therefrom, to acquire or maintain, directly or indirectly, any interest in or

control of any enterprise, real property, or personal property of any nature,

including money,” and “it shall be unlawful for any person employed by or


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associated with any enterprise to conduct or participate in, directly or

indirectly, such enterprise through a pattern of racketeering activity.”

O.C.G.A. §§16-14-4(a) and (b). The Georgia RICO Act provides a civil cause of

action for “[a]ny person injured by any violation of Code Section 16-14-4”

including a trial by jury. Id., §16-14-6(c).

       564. Plaintiffs incorporate, as though fully set forth herein, their

allegations regarding the Enterprise, the Defendants’ pattern of racketeering

activity, and the Defendants’ respective roles in and control of the RICO

Enterprise.

       565. The Defendants, who are employed by and/or associated with and a

part of the Enterprise, conduct the Enterprise’s affairs through racketeering,

as set forth in this Complaint. Through the fraudulent and wrongful conduct

described in this Complaint, Defendants sought to obtain financial gain by

depriving the Plaintiffs of their money and property rights in Georgia.

       566. To successfully execute their scheme, Defendants needed a system

that allowed them to access their victims in a manner to effectuate the

fraudulent transactions. The Enterprise allowed the Defendants this access.

       567. With respect to the activities alleged herein, the Defendants have

acted at all times with malice toward the Plaintiffs in their efforts to acquire

and maintain an interest in an Enterprise that affects interstate commerce.

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       568. In carrying out the overt acts and fraudulent scheme described

above, the Defendants have engaged in conduct in violation of Georgia state

law, and applicable federal law, as set forth more fully above and below.

       569. The Defendants have each engaged in “racketeering activity” as set

out in §16-14-3(5)(C) of the Georgia RICO Act.

       570. As a proximate result of Defendants’ unlawful pattern of illegal and

fraudulent conduct, as described above, the Plaintiffs have been injured in

their business or property in Georgia, to the tune of millions of dollars.

           A.   The Enterprise.

       571. Plaintiffs repeat, reallege and incorporate every prior allegation in

the preceding paragraphs as if fully set forth herein.

       572. An enterprise need not be a specific legal entity but rather may be

“any union or group of individuals associated in fact although not a legal

entity.”

       573. In this case, the Enterprise for Georgia RICO purposes consists of:

(1) the Defendants; (2) all other persons and entities that associated for the

shared goal of soliciting persons to participate in the fraudulent SCE Scams

for the purpose of generating and sharing fees and commissions derived from

the SCE Scams and alleged tax liability reduction they purported to provide.



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       574. The RICO Enterprise consists of various professionals across the

Southeast whose services were necessary and indispensable to facilitating the

Enterprise’s many highly complex and technical SCE Scams.

       575. The individuals and entities, individually and through their agents,

represented to their victims that the charitable contribution deduction

purportedly generated by the SCE Scams arose from a bona fide, Code-

compliant, CE entitling Plaintiffs to a noncash charitable contribution

deduction under Section 170(h) and relevant regulations.

       576. In    reality,   the   noncash   charitable   contribution   deductions

purportedly generated by the SCE Scams did not qualify as legitimate tax

deductions under the Code, and the SCE Scams, as structured, could not

possibly support the promised tax benefits; something the Enterprise’s many

licensed professionals well knew.

       577. The SCE Scams, and the Enterprise that designed, promoted, sold,

and implemented them, were devised solely to facilitate the generation of

significant fees, commissions, kickbacks, and ‘under the table’ payments

without any regard to the very real damage these schemes were causing the

victims. None of the Defendants would have generated such fabulous profits

but for the SCE Scams’ improper and illegal implementation.



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       578. These professionals were organized by prolific SCE fraud promoters

Nancy Zak, Joseph Skalski, and Robert Keller.

       579. Zak is still promoting SCE Scams and operating her SCE Scam

Empire, in spite of her civil injunction.

       580. As recently as January 31, 2022, Nancy Zak has continued to contact

victims like Plaintiffs, complaining of the IRS “compliance campaign” and

instructing victims about how she plans to defend her fraudulent syndicates

before the IRS on behalf of the very syndicates she is enjoined from managing.

       581. Zak is, therefore, presently violating the terms of her civil injunction

as an act in furtherance of the Enterprise’s continued operation.

       582. Zak’s motivations here are obvious; she personally profited to the

tune of hundreds of thousands of dollars for every one of her hundreds of SCE

Scams, all from funds fraudulently raised from her own victims.

       583. The fraudster Nancy Zak influenced nearly every part of the RICO

Enterprise, but she was not the only leader. Robert Keller and Joseph Skalski

were also leaders in the Enterprise and have personally reaped millions of

dollars from the illegal funds.

       584. Zak, Skalski, and Keller did not organize the many professionals in

the Enterprise for the mere noble goal of conserving land. Instead, these

Defendants organized the other Defendants to facilitate highly technical and

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specifically structured tax transactions with the express purpose of illegally

obtaining a minimum four to one return on shareholder investment.

       585. Accordingly, due to the complex nature of the SCE Scams, the

Enterprise required the assistance of several professionals who were all

inducted into the Enterprise. Each of the Defendants were vital to the

implementation of the SCE Scams, played an important role in the success of

the Enterprise, and either controlled the Enterprise or knowingly implemented

the decisions of others in the Enterprise; thus, each had some part in directing

the Enterprise’s affairs, not just their own.

       586. The Enterprise knew that its schemes were entirely dependent on

the proper participation of each professional, as the Enterprise would

completely fall apart if only one of these professionals refused or failed to carry

out the SCE Scams in the exact way the Enterprise required.

       587. For example, the Enterprise repeatedly hired the Benson Defendants

and Kenny Defendants because the Enterprise knew that they were willing to

forgo their legal, professional, and ethical duties in exchange for fifteen times

the market rate.

       588. The Enterprise depended on captured appraisers like the Benson

Defendants and Kenny Defendants. The Enterprise could not risk hiring a



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reputable and independent appraiser because such an appraiser would refuse

to fraudulently appraise the land in the way the Enterprise required.

       589. Likewise, the Enterprise could not hire reputable, ethical, and

independent CPAs and tax return preparers, as such professionals would

refuse to prepare fraudulent K-1s, Form 8283s, Form 8886s in the way the

Enterprise required.

       590. This is why the Enterprise hired Kimberly Skalski, Joseph Skalski’s

wife, to provide many of these services, as Kimberly could be trusted to further

her and her husband’s own fraud.

       591. The Enterprise ran numerous identical SCE scams in a relatively

short period of time. Accordingly, it needed professionals that the Enterprise

could rely on to consistently play their part, even when doing so violated their

professional duties and federal law.

       592. The Enterprise’s need for trust and consistency is why the Enterprise

continued to hire and utilize the same pool of professionals over and over again.

       593. To unwitting victims like Plaintiffs, the Enterprise’s professionals

appeared to be nothing more than independent businesspeople performing

legitimate professional services for their own legitimate financial gain at arm’s

length.



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       594. But a painstaking investigation into the Enterprise reveals that this

is merely an illusion created by the Enterprise to hide its illicit affairs.

       595. As shown herein, the Enterprise consisted of an incestuous pool of

relatives, longtime friends, and longtime business partners who colluded

together to defraud victims for the kind of financial gain that they would not

have been able to obtain in a legitimate transaction.

       596. To find these various professionals, the Enterprise did not pull out a

phone book and call businesses at random. Rather, the Enterprise utilized its

network of longtime friends, business partners, and even family members to

fill the Enterprise’s many professional needs.

       597. For example, Joseph Skalski is a longtime associate and partner of

Nancy Zak and a leader in the RICO Enterprise.

       598. The IRS determined that Attorney Skalski lied during an interview

about the nature and length of his relationship with Zak.

       599. Several other witnesses interviewed by the IRS testified about

Joseph Skalski’s longtime relationship with Zak.

       600. Were Skalski and Zak independently pursuing their own economic

interests in a legitimate transaction, there would be no reason for Skalski to

risk such liability by lying to the IRS about such a basic fact.



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       601. Yet, Joseph Skalski chose to commit a felony rather than to tell the

obvious truth, in an attempt to evade detection of the Enterprise and his role

therein.

       602. No reasonable attorney would make such a material factual

misrepresentation to the IRS unless they perceived that lying was less risky

than telling the truth.

       603. As described herein, the Enterprise owned and controlled: (1) the

donated land; (2) the PropCo that owned the land; (3) the CapCo that owned

the PropCo; and (4) the land trust that accepted the donated land.

       604. The Enterprise could not simply select any land trust to serve as the

Qualified Organization.

       605. Legitimate land trusts across the country refuse to accept land

donations that are used to generate improper tax deductions.

       606. It is no coincidence that the Enterprise used ACC and the ACC

Defendants to serve as the Qualified Organization for the so-called donations.

       607. The Enterprise hand selected ACC to serve as the Qualified

Organization because Joseph Skalski sat on its board of directors and served

as its Treasurer, and because CEO Robert Keller was a longtime trusted

associate and friend of Zak and Skalski.



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       608. ACC and its CEO Robert Keller are notorious for accepting land

donations that legitimate organizations would not touch. Legitimate land

trusts take great pains to ensure that the donations and donors comply with

all of the Code’s strict requirements.

       609. One prominent publication labeled Keller as the “[m]ost prominent

among the renegade land-trust leaders” as well as someone known to accept

easements that other groups had refused due to excessive valuations. 7

       610. As previously mentioned, ACC applied to become an accredited

member of the Land Trust Alliance but withdrew ACC’s application. In the

words of Keller himself, he withdrew the application because “it was clear ‘they

were not going to let us through,’” due to disagreements about ACC’s repeated

failure to question appraisers about excessive valuations being done in a short

period of time for CEs that ACC had accepted. See The Billion-Dollar Loophole.

       611. The ACC Defendants hold themselves out to be experts in CE

donations. Yet, the ACC accepted land donations from the Enterprise that

would be facially fraudulent to such a veteran organization.




7See “The Billion-Dollar Loophole” (December 20, 2017) at
https://www.propublica.org/article/conservation-easements-the-billion-
dollarloophole/ amp (written in collaboration with Fortune) (“Billion Dollar
Loophole”).
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       612. The ACC Defendants served as the “qualified organization” in each

of the three SCE scams that Plaintiffs were victimized by.

       613. ACC also served as the “qualified organization” for several different

SCE Scams that are the subject of similar lawsuits. See Lechter v. Aprio Case

1:20-cv-01325-AT (N.D. Ga.); see also Hoover v. Strategic Capital Partners,

Case 1:21-cv-01299-SDG (N.D. Ga.).

       614. Indeed, the ACC Defendants purport to oversee 80,000 acres of

“conserved” land in 11 states, and it has been suggested that they are

responsible for as much as a billion dollars in improper tax write offs in 2017

alone.

       615. The ACC Defendants generated millions of dollars for laundering the

Enterprise’s land donations. The ACC Defendants would not have generated

these fabulous profits if they would have refused to accept these facially-

fraudulent donations.

       616. Furthermore, the ACC Defendants prepared facially flawed BDRs

that the IRS found cannot possibly support a qualified donation and qualified

conservation easement or serve as the basis for a Code-compliant charitable

tax deduction.

       617. For example, the Benson Defendants’ Muskogee appraisal repeatedly

contradicts itself about basic facts, such as the city where the land is located.

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       618. The Muskogee appraisal         also dramatically understated the

percentage of the land that is within a hazardous flood zone, and grossly

inflated the value of the land by a factor of ten.

       619. Benson’s Walnut Creek appraisal was also fatally flawed and grossly

overvalued.

       620. A reasonable land trust organization serving as a Qualified

Organization under the strictures of the Code would have known that Benson’s

appraisals were a farce, and that they would not satisfy the IRS in the likely

case of an audit.

       621. Accordingly, a reasonable land trust would have refused to serve as

a Qualified Organization for the Muskogee Scam and the Walnut Creek Scam.

       622. Section 17(H)(1)(C) of the Code states that a charitable contribution

of qualified property must be made exclusively for conservation purposes. The

relevant laws provide that a CE subject to a prior mortgage, that is not

subordinated to the land trust, can be extinguished at any time by a bank.

Therefore, a property encumbered by a mortgage, that is not subrogated by the

lenders to the land trust, cannot possibly be a Qualified Donation for a Code-

compliant CE or QCC deduction.

       623. This knowledge is elementary to an experienced land trust such as

ACC.

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       624. The Muskogee Land was subject to three mortgages, none of which

were subrogated by the lenders.

       625. Accordingly, the CE on the Muskogee Land failed to satisfy even the

Codes’ most basic perpetuality requirements.

       626. Yet, ACC happily accepted a CE on the Muskogee Land despite these

many facial flaws and was paid handsomely for it.

       627. The ACC Defendants knew that these donations were being used to

generate improper tax deductions, as ACC Board Member, Joseph Skalski, and

his wife were preparing the very tax documents that claimed these improper

tax deductions.

       628. One of the key responsibilities of such a land trust is to prepare a

BDR. This report is required to document the condition of the land at the time

of the donation, per Treas. Reg. §1.170A-14(g)(5).

       629. Without a proper BDR, a land trust, and the relevant regulatory

authorities, cannot know the true condition of the land that is meant to be

preserved. In other words, one cannot preserve land in a certain condition if

one does not know it’s true condition.

       630. The IRS found that the BDR prepared and signed by ACC and Keller

were patently inadequate and failed to meet the Code’s requirements in both

the Muskogee Scam and Walnut Creek Scam.

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       631. The IRS found that “it is impossible to determine the condition of the

[Walnut Creek Land] at the time of the donation,” for several reasons.

       632. First, the baseline document did not include a date when it was

prepared. Indeed, the Enterprise often elects to not include dates on

documents, a sure indication of fraud. Next, it was impossible to determine if

the document was signed before the date of the baseline study, another sign of

fraud. Finally, Keller stated that he personally visited the property, but does

not include a date.

       633. Upon information and belief, the BDR was prepared before the actual

date of the so-called baseline study.

       634. A reasonable land trust would not make such elementary and fatal

mistakes when drafting their BDR – the chief responsibility of the land trust

before donation.

       635. The Defendants will inevitably argue that, at best, these issues are

mere mistakes, not signs of a fraudulent RICO enterprise.

       636. Yet, all of these “mistakes” facilitate a fraudulent CE donation and

its accompanying charitable tax deduction.

       637. Of course, none of these highly credentialed professionals were

ignorant of these fatal flaws. As people who hold themselves out to be experts

respecting CEs, they all knew the transactions were fatally flawed. Yet, the

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Defendants ignored this in order to slam through as many CEs as possible, as

this was in their financial interests.

       638. Dolph Winders and FisherBroyles hired the Benson Defendants to

prepare the Muskogee and Walnut Creek appraisals.

       639. ACC hired the Kenny Defendants to prepare the Ancient Oaks

appraisal; for the very land it would then purport to accept as a “donation.”

       640. The Benson Defendants’ and Kenny Defendants’ appraisals were

facially flawed and grossly overstated the value of the lands.

       641. Indeed, the Kenny Defendants overstated the value of the Ancient

Oaks land by over one hundred million dollars.

       642. Dolph Winders is a partner-level attorney who boasts of his legal

expertise respecting CEs. Indeed, Winders regularly speaks on CEs at various

events.

       643. Of course, Dolph Winders knew that the IRS does not allow one to

claim a $11,000,000 tax deduction by donating a $1,000,000 parcel of land

simply because an appraiser fabricates the HBU of the land to be worth

$12,000,000.

       644. Attorney Winders knew that the tax deduction cannot exceed the

true value of the CE, which must be calculated from the true FMV of the land.



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Winders also knew that the IRS has warned against tax deductions such as

the ones he facilitated for years.

       645. Putting the issue of Benson’s fraudulent valuations to one side, the

IRS found that the Muskogee appraisal appeared to be hurriedly cut and paste

from other unrelated appraisals.

       646. The Qualified appraisal is perhaps the single most important

document in a CE donation.

       647. An experienced attorney like Winders would know that Benson’s

appraisals were fatally flawed many times over.

       648. A reasonable attorney would immediately fire Benson and hire a

different appraiser given the supreme importance of the Qualified Appraisal.

       649. Yet, Winders allowed Benson’s appraisal to be the basis for the QCC

donation in the Muskogee Scam and Walnut Creek Scam. Winders allowed the

Enterprise and its victims to claim improper tax deductions based on Benson’s

obviously fraudulent appraisal. Winders further allowed the Syndicates and

the Enterprise to attach Benson’s fraudulent appraisals to their federal tax

returns.

       650. Not only this, Winders continued to hire Benson to provide Qualified

Appraisals for other SCE Scams.



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       651. Were Winders an innocent, independent attorney solely pursuing his

own economic interests he would never have hired, let alone rehired, the

Benson Defendants. This is because the civil, tax, and liability of using a

facially fraudulent appraisal would far outweigh the benefits of hiring Benson.

       652. Benson’s fraud was not a bug, but a feature. Winders hired, and then

rehired, Benson precisely because he knew Benson would fraudulently inflate

the value of the land for the illicit gain of the Enterprise.

       653. Benson was paid, at minimum, $15,000 for his appraisals; fifteen

times more than a reputable appraiser with over forty years’ experience was

paid to appraise the same property Benson appraised.

       654. Were Benson a regular independent appraiser, he would not have

made fifteen times the going rate for a cut and paste appraisal, nor would

Winders have allowed Benson to be paid this fabulous rate for such shoddy

work.

       655. For these same reasons, ACC would not have hired the Kenny

Defendants to appraise an ~$1,000,000 piece of land to be worth ~$112,000,000

for the purposes of a charitable tax deduction.

       656. The Muskogee PropCo, and therefore the Muskogee Land, was

previously owned by Arthur Goolsby (95%) and Blair Cleveland (5%). Goolsby



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and Cleveland retained a collective 1% interest in the PropCo when their

shares were sold to the CapCo.

       657. The IRS audit found that Benson’s Muskogee appraisal failed to

deduct the increase in value brought to Goolsby’s personally-owned land,

which sat only 1,200 feet to the south of the Muskogee Land.

       658. This is significant because the Code provides there is an

“enhancement rule” that applies to any contiguous or noncontiguous property

owned by a relative party to the donation, such as Goolsby.

       659. Benson’s report noted that there are “homes located within 1,500

feet” of the Muskogee Land, yet Benson curiously neglects to mention one of

these homes is owned by Goolsby, who held a minority interest in the PropCo.

       660. Benson’s letter to Attorney Winders stated that he searched nearby

properties and found no contiguously owned properties by the subject owners

or family members.

       661. There is no reason why Benson, a licensed and experienced

appraiser, would have omitted this crucial information were this a regular

arm’s length transaction.

       662. Were this a regular, legitimate, arm’s length transaction, Benson and

Winders would have no reason to risk their professional licenses, and risk an

IRS disallowance of the QCC deduction, for the benefit of Arthur Goolsby.

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       663. Yet, Benson and Winders did just this because it was not a legitimate

arm’s length transaction and the “enhancement rule” would only serve to

reduce the value of the appraisal and, therefore, the value of the QCC.

       664. Indeed, all of Benson’s many errors served only to increase the value

of the QCC and enable a quick and profitable QCC deduction for the Syndicate

and RICO Enterprise.

       665. Arthur Goolsby now unconscionably serves as the tax matters

partner before the IRS in the Muskogee Scam. Goolsby now represents his own

victims before the IRS audit caused by his own intentional fraud.

       666. T.J. Heath is also a longtime friend and collaborator of the prolific

fraudster Nancy Zak.

       667. Heath played many different roles during multiple SCE Scams.

Heath managed the Muskogee PropCo and recommended that victims vote to

donate a CE on the Muskogee Land to ACC. Heath also previously owned the

Walnut Creek Land and the Walnut Creek PropCo.

       668. On paper, Fieldstone South managed the Walnut Creek PropCo, but

this is a shell corporation and alter ego of Heath.

       669. Behind the scenes and unbeknownst to the victims, Heath hired

Nancy Zak’s Forever Forests to manage the Walnut Creek PropCo for

$150,000.

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       670. But Forever Forests did more than simply manage the PropCo. The

FF Agreement is direct proof that the Enterprise members met and conspired

to defraud victims and the IRS by abusing the appraisal process.

       671. The FF Agreement between Forever Forests and Heath states that

Nancy Zak’s Forever Forests was hired to “manage team determination of

highest & best use.” (Emphasis added).

       672. This is shocking as there is no such thing as a “team determination

of highest & best use” allowed under the Code.

       673. In a non-fraudulent CE transaction, an independent Qualified

Appraiser is hired to draft a Qualified Appraisal under the strict standards of

the Code and the USPAP.

       674. Indeed, it is a violation of both the Code and the USPAP for an

appraiser to delegate his professional judgment to self-interested parties like

Zak and Heath.

       675. Attorney Dolph Winders hired Benson to create these appraisals.

       676. Upon information and belief, Zak, Winders, and Benson had similar

agreements that purport to authorize Zak to direct and influence the land’s

appraisal values.

       677. There was a meeting of the minds between Zak, Heath, Forever

Forests, the Benson Defendants, Dolph Winders, and FisherBroyles to

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influence Benson’s appraisals for the sole purposes of inflating the value of a

QCC tax deduction.

       678. Winders and FisherBroyles knew that Zak was managing and

influencing Benson’s appraisals in violation of the Code and the USPAP.

       679. Agent Young determined that one of the altered data entries involved

Dolph Winders’ role in the scam. On June 22, 2017, Winders was paid $20,000,

which was originally coded as “Easement Expense” but was changed to

“Development Cost” before being provided to the IRS.

       680. The data was likely altered to hide Benson’s role in the Enterprise.

       681. It is no accident that this data was altered, as it was likely done to

intentionally hide Benson’s and Winder’s role in the “easement.”

       682. Upon information and belief, Joseph Skalski, T.J. Heath, Nancy Zak,

Dennis Benson, and Dolph Winders conspired to delete this data to evade

detection of the Enterprise.

       683. Upon information and belief, these same Defendants altered the

Syndicate’s data prior to providing it to the IRS.

       684. Heath contributed $100 to purchase 100 shares of Walnut Creek.

These same shares would be offered to victims at a rate of $2,460 a share.




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       685. Heath now serves as the Tax Matters Partner for the Walnut Creek

Scam before the IRS. Here, he unconscionably seeks to represent the victims

before the IRS audit that his own fraud caused.

       686. Heath and his wife also received nearly $400,000 for their role in the

Walnut Creek Scam alone; all with funds raised from the victims.

       687. Following the closing of the Walnut Creek Scam, Heath’s bank was

wired $1,180,618.40, which relieved Heath of his personal re-financing debt for

the Walnut Creek Land that he had purchased.

       688. The Walnut Creek PropCo, through Heath, borrowed $1,199,279

from Morris Bank to refinance the Walnut Creek Land.

       689. To obtain this $1,199,279 loan, Heath and Morris Bank obtained an

appraisal from C.A. Yarbrough, III of Yarbrough & Company.

       690. Yarbrough determined that the highest and best use of the property

was        agricultural/timberland/residential   and   valued   the   property   at

$1,520,000. Yarbrough states that the intended user of his appraisal was

Morris Bank, which paid Yarbrough $1,000 for his appraisal.

       691. Yarbrough completed his appraisal on March 2, 2017.

       692. Three months later, on June 7, 2017, Heath, through Dolph Winders,

requested a new appraisal from Benson. The intended use of Benson’s



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appraisal was “to assist the client in asset evaluation for a conservation

easement.”

       693. Benson appraised the very same land for $11,535,000. The Walnut

Creek PropCo paid Benson $15,000 for his appraisal, fifteen times what Morris

Bank paid Yarbrough for his appraisal.

       694. Benson was hired to draft both a preliminary appraisal, which was

shown to investors to justify the ridiculous valuation fabricated by the

Enterprise, and a final appraisal. Yet the two appraisals were all but identical,

as determined by Agent Young.

       695. Winders, Heath, the Zak Defendants, and Joseph Skalski knew that

the Walnut Creek Land had been appraised at $1,520,000 by Morris Bank only

three months before the Enterprise hired Benson for his appraisal. This

$1,520,000 valuation was used to obtain the $1,199,279 loan. Accordingly,

these Defendants knew that the value of the Walnut Creek Land was around

this figure.

       696. These Defendants also knew that Benson would provide a

fraudulently exaggerated appraisal. These Defendants knowingly committed

fraud when they represented to the victims that this land was worth $11

million, for the purposes of a QCC tax deduction, when they knew it was truly

worth only a fraction of this value.

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       697. Likewise, the Defendants knew the Ancient Oaks Land was not

worth $112,000,000, as the Kenny Defendants ridiculously and fraudulently

opined.

       698. The Enterprise controlled the appraisers, the lawyers who oversaw

the appraisers, the land on which the CE was donated, and the land trust to

which the CE was donated.

       699. The Enterprise also controlled both the CapCos and the PropCos. In

other words, the Enterprise controlled both the buy and sell sides of these

ostensibly arm’s length transactions.

       700. Nancy Zak’s Green Earth Reserve managed and controlled the

Enterprise’s CapCos and Nancy Zak’s Forever Forests managed and controlled

the Enterprise’s PropCos.

       701. In other words, the Enterprise solicited unwitting victims to buy

shares in a CapCo (that was controlled and managed by Zak), which was set

up to buy shares in a PropCo (that was also controlled and managed by Zak),

which owned the land that was previously owned by Zak’s longtime friends,

employees, associates, and partners; and which then donated a CE on such

land to a land trust controlled by Zak’s longtime friends and associates.




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       702. Both Green Earth Reserve and Forever Forests were paid hundreds

of thousands of dollars from victim funds to “manage” both the buy and sell

sides of the transactions.

       703. The Zak-controlled PropCo would then “donate” a CE on the land to

ACC, which was controlled and owned by Joseph Skalski and Robert Keller,

both of whom are longtime friends and partners of Zak.

       704. The Enterprise then hired Joseph Skalski to provide accounting and

legal services for the PropCo side, and hired Kimberly Skalski to provide

accounting services for the CapCo and victim side.

       705. The Enterprise’s own Form 8886 states that Forever Forests

“provided project oversight, facilitated communications between professionals

and team members, [and] reviewed project documentation.”

       706. This document shows a meeting of the minds that occurred between

the Zak Defendants and the various professional Defendants, such as the

Appraiser Defendants, Legal Services Defendants, and Accounting Services

Defendants. The Defendants agreed to design and implement SCE Scams in

accordance with the Enterprise’s financial incentives, not the Code.

       707. Zak maintained a close circle of employees whose job was to fulfill the

Enterprise’s many administrative needs, such as regularly communicating



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with victims and coordinating the various captured professionals and other

Enterprise members.

       708. Josh Stanley and Lisa Cantrell are two of Zak’s primary confidants.

Stanley and Cantrell worked interchangeably with both Green Earth Reserve,

which managed the CapCos, and Forever Forests, which managed the

PropCos.

       709. For example, in the Muskogee Scam, Josh Stanley served as Project

Manager for both Green Earth Reserve and Forever Forests. Likewise, Lisa

Cantrell served both as Assistant Project Manager for Forever Forests and as

Manager of Investor Relations for Green Earth Reserve.

       710. Mandy W. Cantrell served as an office administrator for ACC. Zak is

already connected to ACC via longtime friend and partner Joseph Skalski.

       711. Upon information and belief, Mandy Cantrell is related to Lisa

Cantrell.

       712. Josh Stanley, Lisa Cantrell, and Nancy Zak were in regular contact

with the Nesmith Rogers Defendants regarding the Enterprise’s SCE Scams.

       713. In the Walnut Creek Scam, victims were instructed to email the

requisite subscription documents to Josh Stanley in his capacity at Green

Earth Reserve, among other victim communications, as discussed in detail

herein.

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       714. On June 15, 2017, Lisa Cantrell emailed victims, acting on behalf of

Forever Forests. She informed victims that the Enterprise had drafted the

necessary Form 8886s that victims would have to attach to their tax returns

per the IRS rules and the Accounting Services Defendants’ express

instructions.

       715. The IRS requires taxpayers who claim CE-related deductions to file

Form 8886s with their tax returns as CE deductions are now listed

transactions. Many legitimate accountants refer to IRS Form 8886 as a “please

audit me” form, as the IRS requires taxpayers participating in highly

scrutinized listed transactions, like SCE donations, to submit this

informational form with their tax returns.

       716. Cantrell told victims that the forthcoming 8886s “contain carefully

chosen suggested language answering the complex questions contained in

Form 8886. You may use this language as it stands or amend it to your

satisfaction. Hopefully this will greatly diminish the time and research your

tax professional will have to utilize to complete this newly required disclosure.”

       717. Cantrell knew these 8886s were insufficient and fraudulent. Yet, she

encouraged victims to submit them to the IRS as is.

       718. On June 30, 2017, Josh Stanley, acting as Project Manager for

Forever Forests, sent victims the Enterprise’s 8886s. Stanley took great pains

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to downplay the importance of these ‘Please Audit Me Forms,’ stating “if

[P4C’s] lobbying efforts are successful, it may be unnecessary to file these

informational forms. Consequently, we are recommending that you delay your

filing until closer to the deadline.”

       719. Victims were not given any more information about the Form 8886s

until Stanley suddenly emailed them again on September 28, 2017. Stanley

informed the victims that the Form 8886s he previously sent were patently

inadequate, as he well knew, and he attached amended 8886s on September

28, 2017.

       720. Yet, even the amended Form 8886s contained several material

misrepresentations of fact and material omissions, as discussed herein. In

particular, the amended Form 8886s failed to include all of the material

advisors and falsely stated that Dennis Benson was a Qualified Appraiser

performing Qualified Appraisals.

       721. Stanley told the Victims that the amended forms “must be modified

for your use. Do not use them as-is.” Stanley also told the victims that “most

legal and tax professions are strongly recommending that your Form 8886 be

submitted no later than the original deadline of October 2. This next Monday.”

       722. Of course, Stanley knew that the Enterprise did not want victims

consulting with their own tax professionals.

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       723. This is why Stanley gave victims months to file the Enterprise’s

admittedly insufficient Form 8886 in June, recommended victims delay their

filings until the deadline, and then gave victims only a single business day to

consult with their own tax professionals, change the Form 8886 accordingly,

and file them with the IRS.

       724. Stanley knew this was impossible as the Enterprise wanted the

victims to file this document as-is while simultaneously enjoying the imagined

legal protections that would accompany such a disclaimer.

       725. Stanley and Cantrell were also tasked with sending victims Kimberly

Skalski’s fraudulent K-1s and Lamb & Braswell’s fraudulent Form 8886s.

       726. Josh Stanley and Lisa Cantrell were Zak’s right hands. They were

hand selected by Zak to run her numerous fraudulent businesses as Zak knew

they could be trusted to perform the SCE transactions in accordance with her

and the Enterprise’s fraudulent intentions, not the Code’s strict procedures.

       727. The Enterprise hired Lamb & Braswell to draft the language for the

fraudulent Form 8886s.

       728. Lamb & Braswell holds itself out to be a legitimate accounting firm.

As such, it well knew that the IRS does not allow taxpayers to claim QCC

deductions for well above the true FMV of the donated CE.



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       729. Lamb’s      fraudulent   Form      8886s   contain   several   material

misstatements of fact, which were designed to trick the victims and the IRS

into believing the QCC deductions claimed by the Syndicates were legitimate,

when Lamb knew they were not. This includes the false and fraudulent

statement that Benson was a Qualified Appraiser issuing Qualified

Appraisals.

       730. Lamb’s 8886s also fail to mention several key material advisors, to

hide the true scope of the Enterprise and grossly understate the monies

obtained by the various disclosed material advisors, like Nancy Zak and the

Nesmith Rogers Defendants.

       731. Lamb’s 8886s also claimed tax deductions that would appear

patently improper to such an accounting firm.

       732. Upon information and belief, Lamb was aware that Nancy Zak was

directing and managing the so-called “team determination” of HBU instead of

a legitimate and independent Qualified Appraiser.

       733. A reasonable accounting firm, such as Lamb purports itself to be,

would not draft the Enterprise’s Form 8886s. These forms describe in detail

the improper and flawed methodologies that the Enterprise used to fabricate

improper and grossly inflated QCC deductions.



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       734. A reasonable accounting firm outside the Enterprise’s control would

have refused to prepare the Form 8886s in this way, as Lamb knew they would

be attached to each victim’s tax return and sent to the IRS.

       735. Upon information and belief, Lamb has deep and long-running ties

with Nancy Zak, Joseph Skalski, Robert Keller, Kimberly Skalski, and other

Defendants.

       736. The Enterprise used funds fraudulently raised from its victims to fuel

its nine-figure fraud empire. The Enterprise thus relied on its many promoters,

to leverage their positions as ostensibly legitimate CPAs and tax professionals,

to lure victims into “investing” into the Enterprise’s CapCos.

       737. The CPA Promoters were some of such promoters. They traveled

across the country attending various professional conferences, in niche

economic industries, with the intention of targeting successful and high net

worth individuals like Plaintiffs.

       738. Here, the CPA Promoters targeted the pharmaceutical services

industries and infiltrated conferences for those in such industries. The CPA

Promoters purchased sponsorship packages with these conferences, which

allowed them to pitch their illicit tax scams to unsuspecting victims.

       739. The CPA Promoters were not innocent third parties. The Nesmith

Rogers Defendants partially owned Green Earth Reserve, which generally

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represented, managed, and controlled the very CapCos the CPA Promoters

solicited Victims to “invest” in.

       740. Likewise, the Sykes Defendants were longtime friends and associates

of the Nesmith Rogers Defendants.

       741. The Sykes Defendants are longtime friends and associates of Nancy

Zak.

       742. The Sykes Defendants are longtime friends and associates of the Zak

Defendants, the ACC Defendants, and the Skalskis.

       743. Plaintiffs were lured into the Enterprise’s SCE Scams when Plaintiff

Kyle McHugh saw the CPA Promoters presenting on the purported tax savings

a SCE “investment” could offer.

       744. The Nesmith Rogers Defendants and the Sykes Defendants

presented on the purported benefits of SCE transactions to victims at multiple

conferences.

       745. There was a meeting of the minds between the CPA Promoters and

the other Enterprise members to pitch the SCE Scams to unwitting victims

such as McHugh.

       746. The Sykes Defendants referred Plaintiffs to the Nesmith Rogers

Defendants. The Nesmith Rogers Defendants then referred Plaintiffs to their



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longtime collaborators, Green Earth Reserve, owned and operated by

themselves and the prolific fraudster Nancy Zak.

       747. After the completion of one SCE Scam, the Nesmith Rogers

Defendants would notify Plaintiffs and other victims about upcoming SCE

Scams, each of which was managed by Green Earth Reserve.

       748. The Nesmith Rogers Defendants directly solicited McHugh’s

participation in six scams, including the three SCE Scams described herein, all

of which Nesmith and Rogers were personally interested in financially.

       749. Green Earth Reserve regularly contacted the Plaintiffs and provided

them with false and fraudulent information through the mail and wires, as

described herein.

       750. The Nesmith Rogers Defendants never disclosed their own financial

stake in the scams they were promoting to victims.

       751. Plaintiffs first learned about the SCE Scams when McHugh attended

a conference for pharmacists in or about October 2016.

       752. There, the Nesmith Rogers Defendants, who comprise a financial

consulting company in Florida, and the Sykes Defendants, who comprise an

accounting firm in North Carolina, jointly presented about the SCE Scam to

the attendees.



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       753. After hearing the Sykes Defendants’ pitch, McHugh engaged the

Sykes Defendants for accounting services. On reliance of their then-CPA

Sykes’ advice, Plaintiffs agreed to participate in an SCE Scam offered by the

Sykes Defendants’ Enterprise.

       754. The Sykes Defendants, acting as McHugh’s CPAs, prepared a

preliminary tax plan for McHugh, which included a $210,000 conservation

easement “investment” that CPA Scotty Sykes told McHugh “will correlate to

an approximate charitable contribution deduction of $840,000.”

       755. Scotty Sykes is a fraudster who knew that his Enterprise could yield

a minimum 4:1 return on investment by abusing the IRS rules that Sykes, as

a CPA, is charged with knowing and upholding.

           B.   Operation and Control of the RICO Enterprise.

       756. Plaintiffs repeat, reallege and incorporate every prior allegation in

the preceding paragraphs as if fully set forth herein.

       757. Syndicated CEs caught the attention of unscrupulous professionals

for four reasons: (1) these deals purported to generate tax deductions that, due

to provisions in the Code, could substantially reduce an individual’s tax

liability 8; (2) the rules involved were highly technical and thus unlikely to be


8 The deduction for a qualified conservation easement under Code Section
170(h) is a noncash charitable contribution deduction. A noncash charitable
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understood by laypersons, like the Plaintiffs, who were thus also unlikely to

question the advice being offered by reputable professionals who were alleged

experts in the area; (3) due to a rampant oversupply of unproductive real estate

that was devalued in the 2008-2009 recession, a vast supply of deals were

available to participants in a buffet-like fashion; 9 and (4) a group of eager

under-employed real estate appraisers, short on engagements in the wake of

the 2008-2009 recession, that were willing to engage in fictitious valuations

under the guise of a subject property’s HBU that was wildly fabricated.

       758. Tax deductible CEs are allowed for taxpayers who meet the

requirements of Code Section 170(h). However, Section 170(h) has a rigorous

set of qualification criteria that Defendants did not meet with respect to the

SCE Scams and did not intend to meet. Nevertheless, CEs are spelled out in

the Tax Code itself, specifically Code §170(h), giving professional advisors a

hook upon which to lure potential victims who would otherwise steer clear of




contribution deduction is unique because, unlike most itemized deductions, it
is not subject to the alternative minimum tax (“AMT”). Since there is no risk
of AMT, the tax benefits flowing from a 170(h) deduction are especially
valuable. A taxpayer with $500,000.00 of adjusted gross income could use these
deductions to reduce his or her tax to $25,000, thereby enabling the taxpayer
in this example to have an effective tax rate of 5%.
9 Some states like Georgia also had the presence of a state tax credit for

conservation easements. Credits, unlike deductions, offer participants a dollar-
for-dollar reduction of tax.
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these transactions. Conservation easement promoters had no difficulty

convincing potential participants of the validity of the deduction because they

pointed to Code §170(h). This “illusion of validity” is what the Defendants

fraudulently used to persuade and mislead the Plaintiffs to agree to participate

in the SCE Scams.

       759. Unbeknownst to the Plaintiffs and other victims, Section 170(h) of

the Code did not contemplate the use of partnerships to realize these tax

benefits and did not allow the fraudulent appraisal tactics used by the

Enterprise.

       760. Each of the Defendants were vital to the implementation of the SCE

Scams and played a necessary role in the success of the Enterprise. Each of the

Defendants either controlled the Enterprise or knowingly facilitated and

implemented the decisions of others in the Enterprise.

           a.   The Sykes Defendants: Without victims, there is no scam and,

                accordingly, no fabulous profits for the scammers. The Sykes

                Defendants own and operate a successful and ostensibly reputable

                accounting firm. Regular CPAs and accountants pride themselves

                on providing Code-compliant tax advice in exchange for a duly

                earned fee. The Sykes Defendants, however, traveled across the

                country with the Nesmith Rogers Defendants and solicited

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                countless victims to participate in the SCE Scams, knowing them

                to be illegitimate. The Sykes Defendants abused their ostensible

                credibility, professional degrees, and professional licenses to lure

                unwitting lay people into participating in what the Sykes

                Defendants knew to be improper charitable deductions. The Sykes

                Defendants also used the ostensibly amazing tax benefits of

                participating in the SCE scams to lure victims away from

                legitimate accountants to the frauds at Sykes & Co. The Sykes

                Defendants frivolously and falsely savaged the work of reputable

                accountants and put victims under the impression that Sykes &

                Co. could deliver spectacular tax benefits that were beyond the

                capabilities of other accounting firms. The Sykes Defendants

                referred Plaintiffs to the Enterprise, and told the Plaintiffs that an

                SCE investment “will” yield a 4:1 return on investment, while

                acting as Plaintiffs’ retained CPAs. The Sykes Defendants were

                handsomely compensated for each victim they lured into the

                Enterprise, thereby providing the Enterprise a never-ending

                supply of unwitting victims who all believed they were investing

                in legitimate Code-compliant transactions.



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           b.   The Nesmith Rogers Defendants: played a similar role to the Sykes

                Defendants. The Nesmith Rogers Defendants traveled across the

                country to promote SCE Scams and lure unwitting victims into

                them. The Nesmith Rogers Defendants were co-owners of Nancy

                Zak’s Green Earth Reserve, which represented the CapCos that

                Plaintiffs and other unwitting victims were solicited to “invest” in

                by the Sykes Defendants and the Nesmith Rogers Defendants.

                Naturally, victims would not be willing to “invest” hundreds of

                thousands of dollars in the SCE transactions if they knew that the

                Nesmith Rogers Defendants or the Sykes Defendants directly

                profited from such transactions. So, the Nesmith Rogers

                Defendants kept this information secret from the Plaintiffs and

                solicited their involvement in the SCE Scams as though they were

                legitimate at-arm’s length transactions. The Nesmith Rogers

                Defendants served several roles in the Enterprise. First, they

                helped Nancy Zak develop and implement the SCE Scams in their

                capacities as licensed financial consultants, attorneys, and

                accountants. They also managed and owned Green Earth Reserve,

                which owned the CapCos. The Nesmith Rogers Defendants then

                solicited unwitting victims’ involvement in the SCE Scams run by

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                their own company. The Nesmith Rogers Defendants would

                encourage victims to invest, promising significant tax benefits

                structured and blessed by licensed accountants and attorneys. The

                Nesmith Rogers Defendants then liaised and corresponded with

                the victims, as they had garnered trust from the victims they

                solicited.

           c.   The Zak Defendants: Zak designed and promoted over a hundred

                fraudulent SCE Scams that generated billions in improper tax

                deductions and caused untold harm to her countless victims. Zak

                recently signed a civil injunction with the United States

                Government to never promote another SCE Scam for the rest of

                her life. Zak, however, could not run her billion-dollar fraud empire

                alone and relied on the assistance of a select, hand-picked, and

                highly-trusted team to organize, design, and implement her scams.

                The Zak Defendants were selected by Zak to do everything,

                including running the day-to-day operations of Zak’s many

                entities,    coordinating   the   various   corrupt   and   captured

                professionals, making a fraudulent “team determination” of

                highest and best use, representing the victims before the IRS, and

                more. The Zak Defendants controlled both the buy and sell sides of

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                the SCE Scams through Green Earth Reserve and Forever Forests.

                These entities were set up to make it appear as though the

                transactions were legitimate and arm’s length, when in reality

                they were owned and controlled by the Zak Defendants.

           d.   Joseph Skalski: was also a leader in the Enterprise. Joseph Skalski

                had as much, or nearly as much, power in directing the Enterprise

                as Nancy Zak. Skalski also profited as much, or nearly as much,

                from his role in the Enterprise as Zak, who made millions off the

                backs of her victims. Skalski played more roles in the Enterprise

                than one can count. Skalski operated and controlled the PropCos

                and provided legal and accounting services for them. Skalski also

                partly controlled and operated ACC, which accepted the very CE

                donations he structured and solicited. Skalski also unconscionably

                represented his own victims before the IRS audits, which were

                caused by his fraudulent activities.

           e.   The ACC Defendants: were tasked with the crucial role of

                providing the ostensibly Qualified Organization for the Enterprise.

                One cannot donate a CE without a Qualified Organization to

                donate it to under the Code. The ACC Defendants are generally

                known to be an illegitimate land trust that accepts “donations”

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                that reputable organizations would not touch. The ACC

                Defendants are directly linked to the Enterprise through Joseph

                Skalski, who simultaneously (1) sat on the Board of and served as

                Treasurer for ACC; (2) played several crucial roles in the

                Enterprise; and (3) unconscionably represented his own victims

                before the IRS for the audits caused by his own fraud. The ACC

                Defendants prepared the woefully deficient and fraudulent BDRs

                that purport to memorialize the state of the land at the time of the

                CE donation. The ACC Defendants prepared and signed the

                Enterprise’s fraudulent Form 8283s      and    accepted   the   CE

                donations for the primary purpose of generating substantial and

                improper QCC tax deductions, which the Zak Defendants and CPA

                Promoters then sold to unwitting victims.

           f.   The Appraiser Defendants: Without a Qualified Appraisal by a

                Qualified Appraiser, as defined by the Code and relevant Treasury

                Regulations, there cannot be a CE and a QCC tax deduction. The

                Appraiser Defendants, accordingly, were the lynchpin of the entire

                Scam. Of course, the Enterprise could not afford to trust this

                crucially important role to a legitimate appraiser, as a legitimate

                appraiser would refuse to appraise the land in the way the

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                Enterprise needed. It is no surprise, then, that all of the Appraiser

                Defendants just so happened to use the same flawed methodologies

                to arrive at the same grossly inflated valuations which the

                Enterprise would use to claim significant and improper tax

                deductions that well exceeded the donated CE’s fair market value.

                Nancy Zak and Forever Forests believed they could “manage team

                determination” of HBU. The Appraiser Defendants knew their role

                in the Enterprise was not to provide a legitimate appraisal but

                rather to provide the minimally necessary documentation to give

                the appearance of a Qualified Appraisal. This is why the IRS

                determined that the Benson Defendants’ Muskogee appraisal

                appeared to be a sloppily cut-and-paste template. In reality, their

                methods and valuations were directly dictated by the Enterprise.

                The Appraiser Defendants were sometimes rewarded with fifteen

                times the regular rate for their fraudulent appraisals.

           g.   The Legal Services Defendants: The Enterprise’s many SCE

                Scams were complex and governed by an extremely complex set of

                IRS and Treasury Regulations. Just as the Enterprise required

                accountants and appraisers, it also required legal counsel. These

                Legal Services Defendants, however, were not ordinary attorneys

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                hired to provide arms-length legal services to their clients. The

                Legal Services Defendants were key members of the Enterprise.

                Joseph Skalski was a leader the Enterprise and sat on the board

                of the organization that accepted the very same donations he

                promoted and structured. Dolph Winders is an experienced

                partner-level attorney who holds himself out to be a CE legal

                expert. Yet, Winders allowed Benson’s facially inadequate and

                fraudulent appraisal to support a massively improper QCC

                deduction. Rather than fire Benson, Winders repeatedly hired him

                to provide similar fraudulent appraisals for the Enterprise’s other

                SCE Scams, and paid Benson fifteen times the going rate to do so.

           h.   The Accounting Services Defendants: The Enterprise’s many SCE

                Scams are complex and are governed by an extremely complex set

                of IRS and Treasury Regulations. The Enterprise’s Scams

                ultimately involved complex tax and accounting issues that

                required significant accounting help. Of course, the Enterprise

                could not afford to hire legitimate accounting firms that provided

                legitimate accounting services. Rather, the Enterprise hired

                accountants it knew would conduct the Enterprises’ affairs

                according to the Enterprise’s desires, not the Code. The Accounting

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                Services Defendants were charged with drafting the Enterprise’s

                fraudulent K-1’s, Form 8283s, Form 8886’s, and the tax returns

                which claimed the improper tax deductions.

           i.   The Landowner Defendants: Months before victims were solicited

                to purchase shares in the CapCos, the Landowner Defendants

                were purchasing the land that made the SCE Scams possible and

                profitable. They purchased the necessary land with full knowledge

                that such land would be used for a fraudulent SCE Scam. The

                Landowner Defendants profited handsomely for their ownership

                role in the Enterprise. They also served other roles in the

                Enterprise and were longtime friends and associates of fraudsters

                Nancy Zak, Robert Keller, and Joseph Skalski.

           C.   Pattern of Racketeering and Predicate Acts.

       761. Plaintiffs repeat, reallege and incorporate every prior allegation in

the preceding paragraphs as if fully set forth herein.

       762. With respect to the overt acts and activities alleged herein, each

Defendant conspired with each other, the other participants, and with others

not named as defendants herein, to violate O.C.G.A. §16-4-4(b). Each

Defendant agreed and conspired with the other Defendants and their co-

conspirators to participate, directly or indirectly, in interfering with,

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obstructing, delaying or affecting commerce by attempting to obtain and/or

obtaining property interests to which the Defendants and their co-conspirators

were not entitled.

       763. The Enterprise operated continuously for several years and, indeed,

is still operating today.

       764. Nancy Zak effectuated hundreds of different SCE Scams. All the

Defendants played repeat roles to further the Enterprise and its financial

opportunities.

       765. For instance, the Muskogee Scam was operational in 2016, the

Walnut Creek Scam was operational in 2017, and the Ancient Oaks Scam was

operational in 2018. McHugh was then solicited to participate in multiple

additional SCE Scams after 2018. The Sykes Defendants and the Nesmith

Rogers Defendants are still, to this day, soliciting victim participation in SCE

Scams, even after their past-referred SCE projects have been challenged and

or disallowed by the IRS.

       766. Each Defendant engaged in at least two acts of racketeering activity

in furtherance of the incidents, schemes, and transactions that have the same

or similar intents, results, accomplices, victims, and methods of commission.

These acts of racketeering activity are not isolated events but, rather, are

identical actions take in furtherance of identical SCE Scams.

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       767. Georgia law defines racketeering activity as committing, or

attempting to commit, or to solicit, coerce, or intimidate another person to

commit any crime which is chargeable by indictment under Georgia law. Case

law makes clear that federal mail and wire fraud can serve as the predicate

racketeering activity for RICO purposes.

       768. The Defendants intended to commit wire and/or mail fraud in

connection with the design, promotion, sale, and implementation of the SCE

Scams because the IRS has made it clear to professional advisors, including

the Defendants, that it intended to disallow any deductions for CE donations

implemented in the manner the SCE Scams were implemented, as further set

out in detail herein. Defendants’ conduct was not consistent with ordinary

lawful business practices because Defendants’ conduct violated IRS guidance,

federal law, and professional standards such as USPAP appraisal standards.

Defendants’ racketeering activity in designing, promoting, selling, and

implementing the SCE Scams involved numerous false and misleading

misrepresentations and omissions that amount to a scheme or artifice to

defraud using the mail and wires.

       769. The IRS has disallowed the charitable deductions at the partnership

level and made clear its intent to also disallow the charitable contribution

deductions at the individual level, assessing the Plaintiffs with back taxes,

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interest, and penalties. Moreover, Plaintiffs have incurred and will continue to

incur substantial amounts of accounting and legal fees in connection with the

audits and tax court proceedings regarding their individual tax returns and

their related partnership returns.

       770. With respect to the activities alleged herein, the Defendants acted at

all times with malice toward the Plaintiffs, intending to engage in the conduct

complained of for the benefit of Defendants and their co-conspirators, and with

knowledge that such conduct was unlawful. Such conduct was done with

actionable wantonness and reckless disregard for the rights of the Plaintiffs,

as well as the laws to which the Defendants and their co-conspirators are

subject, the same amounting to actionable wantonness.

       771. With respect to the activities alleged herein, each Defendant agreed

to the operation of the transaction or artifice to deprive the Plaintiffs of

property interests. In furtherance of these agreements, each of them also

agreed to interfere with, obstruct, delay, or affect interstate commerce by

attempting to obtain and/or actually obtaining property interests to which the

Defendants were not entitled.

       772. The numerous predicate acts of wire and/or mail fraud, in addition to

other fraudulent acts, are part of separate fraudulent transactions by the

Defendants and their co-conspirators, which are designed to defraud the

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Plaintiffs of their money and property interests under false pretenses. As

victims of these unlawful patterns of illegal activity, Plaintiffs have and

continue to suffer losses in Georgia, as a result of these activities. The acts that

caused injuries to the Plaintiffs were performed for financial gain.

       773. In carrying out the overt acts and fraudulent transactions described

above, the Defendants and their co-conspirators engaged in, inter alia, conduct

in violation of federal laws, including 18 U.S.C. §1343-1346, and 18 U.S.C.

§1961 et seq. See also O.C.G.A. §16-4-3(5)(C).

       774. Section 1961(1) of the federal RICO law provides that “racketeering

activity” means any act indictable under any of the following provisions of Title

18, United States Code: 1341 (relating to mail fraud), 1343 (relating to wire

fraud), and 1346 (relating to scheme or artifice to defraud).

       775. Section 16-4-3(5)(C) of Georgia law provides that “racketeering

activity” means, inter alia, “any conduct defined as ‘racketeering activity’

under 18 U.S.C. Section 1961(1).

                i.    Violations of 18 U.S.C. §1341 and 1343.

       776. Plaintiffs repeat and reallege each and every prior allegation in this

Complaint as if fully set forth herein.

       777. For the purpose of executing and/or attempting to execute their

transaction to defraud and to obtain money by means of false pretenses,

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representations or promises, the Defendants and their co-conspirators, in

violation of 18 U.S.C. §§1341 and 1343, transmitted and received by wire

and/or mail matter and things therefrom, including but not limited to,

contracts, instructions, correspondence, and other transmittals.

       778. The Defendants’ and their co-conspirators’ violations of 18 U.S.C.

§§1341 and 1343 are too numerous to list exhaustively. By way of illustration

but not limitation, however, the Plaintiffs provide the following representative

examples of predicate acts related to these 18 U.S.C. §§1341 and 1343

violations:

           a.   November 18, 2016 emails between the Sykes Defendants,

                Nesmith Rogers Defendants, and Plaintiffs, soliciting and

                acquiring Plaintiffs’ participation in the Muskogee Scam. These

                emails purport to engage Plaintiffs’ participation in a valid, Code-

                compliant easement transaction, even though the senders knew

                this to be false. In particular, one such email contains a

                confidential   investor   questionnaire   and   private   placement

                memorandum, which contain multiple false statements about the

                legitimacy of the transactions and the Enterprise’s strategy;

           b.   November 21, 2016 emails from the Sykes Defendants to Plaintiffs

                which provides Plaintiffs with a “tax plan” from his then-CPAs at

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                Sykes & Co. This email states, “All columns include a conservation

                easement investment of $210,000 which will correlate to an

                approximate charitable contribution deduction of $840,000;”

           c.   November 23, 2016 emails by the Nesmith Rogers Defendants

                which confirm their receipt of the cash contribution raised from

                McHugh by fraudulent representations and material factual

                omissions;

           d.   November 30, 2016 and December 3, 2016 emails from the Sykes

                Defendants to McHugh, wherein they falsely and fraudulently

                disparage the work of their legitimate and sterling competitors at

                Wegner CPAs, for the purposes of obtaining McHugh’s future

                business;

           e.   January 20, 2017 emails from Josh Stanley and Brian Sullivan,

                which attempted to downplay the seriousness and high risk posed

                to victims by IRS Notice 2017-10. This email, among other things,

                falsely stated: “we remain confident our project valuations are not

                over-exaggerated and will withstand IRS scrutiny”;

           f.   January 27, 2017 emails from Lisa Cantrell, Nancy Zak, and

                Green Earth Reserve, which falsely stated that the majority of the

                votes cast by the victims was to encumber the land with a

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                conservation easement. This email falsely states that Dennis

                Benson’s fraudulent Muskogee appraisal served as a Qualified

                Appraisal by a Qualified Appraiser which must be attached to

                Plaintiffs’ taxes;

           g.   March 28, 2017 emails from Nancy Zak, Lisa Cantrell, and Green

                Earth Reserve, which also sought to downplay the seriousness of

                IRS Notice 2017-10. This email stated in part that “Counsel,

                [presumably the fraud Joseph Skalski] has advised that the filing

                of [the Form 8886] should not significantly change the risk profile

                of your investment;”

           h.   April 12, 2017 emails from Josh Stanley and Green Earth Reserve,

                which informed victims of a delay in the K-1s. Stanley stated, “we

                should have the draft K-1s ready for you next week. For purposes

                of estimating 2017 tax payments, our suggestion is to estimate

                your deduction at 4.5 times the amount of your investment.” This

                email also falsely stated: “we are working with tax counsel and our

                CPA’s to determine the language to assure compliance with the

                regulations of Notice 2017-10;”

           i.   April 13, 2017 emails from Kimberly Skalski and Kimberly A

                Skalski CPA PLLC, which contained fraudulent K-1s;

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           j.   June 15, 2017 emails from Lisa Cantrell, Nancy Zak, and Forever

                Forests, suggesting victims wait until the deadline to file their

                Form 8886s with the Enterprise’s drafted language;

           k.   June 30, 2017 emails from Josh Stanley and Forever Forests,

                which stated that the Enterprise’s lobbying efforts would likely

                result in the elimination of IRS Notice 2017-10 and, again,

                recommended that victims delay filing of the Form 8886 until the

                deadline, and suggested that victims use the Enterprise’s drafted

                language;

           l.   August 5, 2017 emails from Kimberly Skalski and Kimberly

                Skalski CPA, PLLC, which provided McHugh with a fraudulent

                K-1;

           m.   August 14, 107 emails from Lisa Cantrell, which provided McHugh

                with incomplete and fraudulent Form 8918s that failed to disclose

                all of the material advisors to the transaction who were required

                to be disclosed;

           n.   September 28, 2017 emails from Josh Stanley and Forever Forests,

                which reversed the Enterprise’s prior advice about using the

                Enterprise’s language on the Form 8886. This email demanded, in

                bold, that victims must consult with their own financial advisors

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                to modify the Form 8886 and gave them only one business day to

                do so. This email contained the Enterprise’s incomplete and

                fraudulent Form 8886 draft, which reflected improper tax

                deductions and falsely stated that Dennis Benson was a Qualified

                Appraiser issuing a Qualified Appraisal;

           o.   November 7, 2017 emails from the Nesmith Rogers Defendants,

                which solicited McHugh’s participation in the Walnut Creek Scam.

                Specifically, this email contained a subscription agreement and

                wiring instructions for the victim’s funds. This email crucially

                failed to include a PPM which would have described the details of

                the Scam. The Nesmith Rogers Defendants fraudulently omitted

                this document to conceal the true nature of the Scam;

           p.   November 30, 2017 subscription acceptance document from Nancy

                Zak;

           q.   December 11, 2017 emails from Josh Stanley and Green Earth

                Reserve, which included a ballot for a sham vote and instructed

                victims that Manager T.J. Heath recommended that victims vote

                for the so-called “conservation option.” Victims were not informed

                that Heath owned the very land he was recommending they

                “donate” a CE on, nor were they informed about the Nesmith

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                Rogers Defendants’ personal financial interests in Green Earth

                Reserve;

           r.   January 25, 2018 emails from the Nesmith Rogers Defendants,

                which thanks investors for investing in the Walnut Creek Scam.

                The Nesmith Rogers Defendants falsely stated that the Walnut

                Creek Land “has been placed under conservation easement.” The

                email goes on to inform victims that the fraudulent documents

                prepared by the Enterprise’s CPAs and attorneys must be attached

                to the victims’ tax returns. Again, the Nesmith Rogers Defendants

                failed to inform the victims of their own personal financial

                interests in Green Earth Reserve;

           s.   May 18 and 29, 2017 emails from Kimberly Skalski, which

                included her fraudulent K-1s and instructed the victims to file her

                fraudulent K-1 alongside their tax returns;

           t.   August 27, 2018 emails from the Nesmith Rogers Defendants,

                announcing the Little Ocmulgee Scam. This document states in

                pertinent part: “This is a $1.2 million project that once voted into

                conservation is expected to have a 4.6 to 1 deduction.” This email

                was designed to lure victims into “investing” into the SCE Scams

                offered by Green Earth Reserve, owned by the Nesmith Rogers

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                Defendants and their longtime friend, the prolific fraudster Nancy

                Zak;

           u.   December 2018 ballots purporting to entitle victims to vote for

                whether to develop or conserve the Little Ocmulgee land. Of

                course, the vote was a total façade as proven by the Nesmith

                Rogers’ August 27, 2018 email, which stated, “once [the Little

                Ocmulgee Scam is] voted into conservation is expected to have a

                4.6 to 1 deduction.” This communication was designed to provide a

                veneer of legitimacy to the scheme, dupe Victims into believing

                they were participating in a legitimate transaction, and evade

                detection of the scheme;

           v.   June 14, 2019 emails from Kimberly Skalski, containing her

                fraudulent K-1 and instructing victims to attach it to their tax

                returns. This communication also contained a fraudulent Form

                8886 drafted by the Accounting Services Defendants and others;

           w.   November 13, 2019 emails from Marcus Rogers, attempting to

                downplay concerns raised by McHugh about the propriety of the

                Enterprise’s transactions;




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           x.    All K-1s prepared by the Accounting Services Defendants for

                 members of any SCE Scam, sponsored or managed by the

                 Enterprise or any of its affiliates;

           y.    All Appraisals prepared by any of the Appraiser Defendants on

                 property owned by any SCE Scam Syndicate, sponsored or

                 managed by the Enterprise or any of its affiliates and sent by

                 emails or mail to any potential or actual member of the Syndicates;

           z.    All Legal Opinions prepared by the Legal Services Defendants to

                 any potential or actual members in any SCE Scam Syndicate,

                 sponsored or managed by the Enterprise or any of its affiliates;

           aa.   All Form 8283s prepared by the Zak Defendants, Accounting

                 Services Defendants, Legal Services Defendants, and Appraiser

                 Defendants;

           bb.   All template Form 8886s and Form 8886s sent by email from the

                 Zak Defendants to any member of any SCE Scam Syndicate,

                 sponsored or managed by the Enterprise or any of its affiliates;

           cc.   All ballots which purport to entitle the Scam Syndicate victims the

                 ability to “vote” for their desired outcome for the subject land;

           dd.   All Baseline Documentation Reports prepared by the Appraiser

                 Defendants and ACC Defendants;

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           ee.   All Contemporaneous Written Acknowledgments prepared by the

                 ACC Defendants;

           ff.   All Deeds of Conservation Easement prepared by the Legal

                 Services Defendants, Zak Defendants, and ACC Defendants;

           gg.   All Private Placement Memorandums either to or withheld from

                 the victims of the Scams by the Legal Services Defendants and the

                 Nesmith Rogers Defendants;

           hh.   All K-1s prepared by Kimberly Skalski and sent to unwitting

                 victims through the mail and wires;

           ii.   All other mailed or emailed communications between any of the

                 Defendants and any potential or actual member of any SCE Scam,

                 sponsored or managed by the Enterprise or any of its affiliates

                 regarding the promotion or implementation of the SCE Scams; and

           jj.   All other mailed or emailed communications between any of the

                 Defendants and any potential or actual member of any SCE Scam,

                 sponsored or managed by the Enterprise or any of its affiliates

                 regarding the audit of any such SCE Scams.

                 ii.   Other Predicate RICO Acts.

       779. Plaintiffs repeat, reallege and incorporate every prior allegation in

the preceding paragraphs as if fully set forth herein.

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       780. The Defendants and their co-conspirators committed several other

acts in furtherance of the RICO Enterprise’s successful operation and to

conceal the existence of the RICO Enterprise. These violations are too

numerous to count. By way of illustration but not limitation, however, the

Plaintiffs provide the following as additional predicate acts:

           a.   The Nesmith Rogers Defendants, the Sykes Defendants, the Zak

                Defendants, Joseph Skalski, Dolph Winders, FisherBroyles, and

                others violated Chapter 5 of Article 10 of the Georgia Uniform

                Securities Act of 2008.

           b.   These above-listed Defendants are persons that advise others for

                compensation, either directly or indirectly, or through publications

                or writings, as to the value of securities or the advisability of

                investing in, purchasing, or selling securities or that, for

                compensation and as part of a regular business, issues or

                promulgates analyses or reports relating to securities. In doing so,

                these Defendants employed a device, scheme, or artifice to defraud

                another person, and engaged in an act, practice, and course or

                business that operates or would operate as a fraud or deceit upon

                another person, like the Plaintiffs.



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           c.   All Defendants also violated Georgia Code §16-8-3 by committing

                theft by deception. To wit, all Defendants obtained Plaintiffs’

                property by deceitful means or artful practices with the intention

                of depriving the Plaintiffs of the property. Defendants acted

                intentionally because they created or confirmed Plaintiffs’

                impression of an existing fact or past event which is false and

                which the accused knows or believes to be false; failed to correct a

                false impression of an existing fact or past event which they have

                previously created or confirmed; prevented another from acquiring

                information pertinent to the disposition of the property involved;

                and promised performance of services which Defendants did not

                intend to perform or knew would not be performed.

           d.   Joseph Skalski and Ernest Nesmith made false material

                statements of fact to IRS Revenue Agent Chris Young in violation

                of countless federal and state laws.

           e.   Nancy Zak is currently committing a cornucopia of federal offenses

                by organizing, promoting, selling, and facilitating SCE Scams that

                involve a deduction for a qualified conservation contribution under

                26 U.S.C. §170(h); making or furnishing statements      about   the

                allowance of federal tax benefits as a result of participating in a

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                CE syndicate or any other plan or arrangement that involves a

                deduction for a qualified conservation contribution under 26

                U.S.C. §170(h), which she knows to be false; and more in violation

                of her permanent civil injunction. See United States v. Nancy

                Zak, 1:18-cv-05774-AT, Doc. 226.

           D.   Defendants’ RICO Violations Caused Injury to Plaintiffs.

       781. Plaintiffs repeat, reallege and incorporate every prior allegation in

the preceding paragraphs as if fully set forth herein.

       782. The Defendants, who are employed by and/or associated with and a

part of the Enterprise, conduct the Enterprise’s affairs through racketeering,

as set forth in this Complaint. Through the fraudulent and wrongful conduct

described in this Complaint, Defendants sought to obtain financial gain by

depriving the Plaintiffs of money and property rights. In order to successfully

execute their scheme, in the manner set forth in this Complaint, Defendants

needed a system that allowed Defendants to access their victims in a manner

to effectuate the fraudulent transactions. The Enterprise allowed the

Defendants this access.

       783. With respect to the activities alleged herein, the Defendants have

acted at all times with malice toward the Plaintiffs in their efforts to acquire

and maintain an interest in an Enterprise that affects interstate commerce.

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       784. In carrying out the overt acts and fraudulent scheme described

above, the Defendants have engaged in conduct in violation of Georgia law and

federal law as set forth more fully herein.

       785. Therefore, Defendants have each engaged in “racketeering activity”

as set out in Section 16-14-3(5)(C) of the Georgia RICO Act.

       786. As a proximate result of Defendants’ unlawful pattern of illegal

fraudulent conduct as described above, Plaintiffs have been injured in their

business or property in Georgia, as described herein.

       787. The collective fraud of these various professionals was designed to

induce reliance and cause victims like McHugh to unknowingly claim inflated

and improper tax deductions arising from their participation in the SCE

Scams.

       788. Defendants’ overt and/or predicate acts, in furtherance of the

conspiracy and/or aiding and abetting, based on the unlawful acts alleged

herein and incorporated by reference, resulted in, or proximately caused and

continues to directly cause, injury to the Plaintiffs’ business or property in

Georgia, or irreparably harmed and continues to harm the Plaintiffs in

Georgia.

       789. The acts that caused injuries to the Plaintiffs were performed by the

Defendants for their own financial gain.

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       790. Plaintiffs did not discover the wrongful acts of the Defendants, or the

injuries caused by the wrongful acts of the Defendants alleged herein, until

shortly before the filing of this lawsuit.

                                   COUNT TWO

  CONSPIRACY TO VIOLATE GEORGIA RICO (O.C.G.A. §16-14-4(c))
           (By all Plaintiffs Against all Defendants)

       791. Plaintiffs repeat, reallege and incorporate every prior allegation in

the preceding paragraphs as if fully set forth herein.

       792. This claim for relief arises under and seeks relief from the

Defendants’ activities described herein as part of their conspiracy to violate

O.C.G.A. §§16-14- 4(a) and (b).

       793. Plaintiffs incorporate, as if fully set forth herein, their allegations

regarding the Enterprise.

       794. Plaintiffs incorporate, as if fully set forth herein, their allegations

that Defendants have engaged in a pattern of racketeering activity.

       795. Absent Defendants’ conspiracy and joint efforts, the Defendants’

scheme would not be successful. Acting jointly with their co-conspirators,

Defendants possessed greater power, were able to exert greater influence, were

able to successfully engage in the activities set forth herein, and had greater

ability to conceal their activities.


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       796. The object of this conspiracy has been and is to conduct or participate

in, directly or indirectly, the conduct of the affairs of the Enterprise through

racketeering activity.

       797. Defendants, and their employees and multiple agents, have been

joined in the conspiracies to violate O.C.G.A. §§16-14-4(a) and (b) by various

third parties not named as Defendants herein, such as the Other Participants.

       798. As demonstrated in detail above, the Defendants and their co-

conspirators have engaged in numerous overt and predicate fraudulent

racketeering acts in furtherance of the conspiracy, including systemic

fraudulent practices designed to defraud the Plaintiffs of money and other

property interests.

       799. The nature of the above-described acts, material misrepresentations,

and omissions, in furtherance of the conspiracy, give rise to an inference that

Defendants not only agreed to the objective of conspiring to violate the Georgia

racketeering statute, but they were aware that their ongoing fraudulent acts

have been and are part of an overall pattern of racketeering activity.

       800. The Defendants have sought to and have engaged in the commission

of and continue to commit overt acts and unlawful racketeering predicate acts

that have generated and continue to generate income or proceeds received by



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Defendants from such pattern of racketeering activity, including acts that

involve a scheme or artifice to defraud, as set forth more fully above.

       801. As a proximate result of Defendants’ conduct, as described above, the

Plaintiffs have been injured in their business or property in Georgia.

                                  COUNT THREE

                                      FRAUD
                    (By all Plaintiffs Against all Defendants)

       802. Plaintiffs repeat, reallege, and incorporate every prior allegation in

the preceding paragraphs as if fully set forth herein.

       803. To induce Plaintiffs to participate in the SCE Scam and pay

substantial fees and other monies to the Defendants, the Defendants directly

and indirectly made numerous knowingly false affirmative misrepresentations

and intentional omissions of material fact to Plaintiffs, as set forth above, and

including the following:

           a.   Misstating, in light of published authorities, the tax treatment

                Plaintiffs would receive from the purported charitable contribution

                made for tax purposes by each Syndicate in the SCE Scam;

           b.   Advising the Plaintiffs that the donation of the CE is fully tax

                deductible as a qualified charitable contribution deduction;




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           c.   Advising the Plaintiffs that the syndicates contributed a qualified

                real property interest, as required to be a valid “qualified

                   conservation contribution”;

           d.   Failing to advise the Plaintiffs that the alleged value of the CE,

                and associated tax benefits in the SCE Scam, constituted a gross

                valuation overstatement, thus subjecting Plaintiffs to penalties;

           e.   Advising the Plaintiffs that the appraisal commissioned by the

                Defendants relied on appropriate assumptions, data, and

                methodology;

           f.   Failing to advise the Plaintiffs that the appraisal commissioned by

                the Defendants relied on inappropriate assumptions, data, and

                methodology;

           g.   Advising the Plaintiffs that the appraisal commissioned by the

                Defendants complied with §170 of the Code, applicable regulations

                thereunder, the USPAP, and with general and substantive real

                property appraisal standards and practices;

           h.   Failing to advise the Plaintiffs that the appraisal commissioned by

                the Defendants did not comply with §170 of the Code and

                regulations thereunder, the USPAP, and with general and

                substantive real property appraisal standards and practices;

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           i.   Advising the Plaintiffs that the appraisal commissioned by the

                Defendants provided accurate valuation statements, including the

                FMV of the CE;

           j.   Providing false valuation statements to the Plaintiffs, including

                the FMV of the land and, accordingly, the FMV of the CE;

           k.   Failing to advise the Plaintiffs that the Syndicate did not donate a

                “qualified real property interest” because the property that was the

                subject of the CE could be modified;

           l.   Failing to advise the Plaintiffs that the Syndicates retained or

                reserved rights to the property that were inconsistent with the

                conservation purposes of the CE;

           m.   Failing to advise the Plaintiffs that Benson and Kenny were not

                “qualified appraisers” and did not prepare “qualified appraisals”

                as required by the Code and Regulations thereunder;

           n.   Advising the Plaintiffs that the Syndicates donated a “qualified

                real property interest”;

           o.   Advising the Plaintiffs that the SCE Appraisers were “qualified

                appraisers” and prepared “qualified appraisals” as required by the

                Code and Regulations thereunder;



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           p.   Failing to advise the Plaintiffs that the SCE Appraisers relied

                upon    inappropriate    assumptions,     utilized   inappropriate

                methodology, and used various techniques to improperly inflate

                the value of the CEs;

           q.   Failing to advise the Plaintiffs that the SCE Appraisers incorrectly

                reached unsupportable and/or predetermined HBU conclusions;

           r.   Failing to advise the Plaintiffs that the SCE Appraisers arrived at

                the fabricated and unsupportable HBUs by ignoring local zoning

                rules and other legal restrictions on purported developments,

                physical and financial feasibility, market conditions, and market

                data;

           s.   Failing to advise the Plaintiffs that the SCE Appraisers failed to

                employ recent, local, or similar sales that competed with the

                subject property or would have been considered “substitutes” for

                the subject property by potential buyers when employing the

                “comparable sales method”;

           t.   Advising the Plaintiffs that the Appraisals conformed with

                USPAP;




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           u.    Advising the Plaintiffs that the Appraisals complied with the Code

                 and Regulations thereunder for valuing CEs and preparing

                 qualified appraisals;

           v.    Failing to advise the Plaintiffs that the Appraisals failed to comply

                 with the Code and Regulations thereunder for valuing CEs and

                 preparing qualified appraisals;

           w.    Advising the Plaintiffs that the charitable deduction was based on

                 the FMV of the conservation easement;

           x.    Failing to advise the Plaintiffs that the charitable deduction was

                 not based on the FMV of the conservation easement;

           y.    Advising the Plaintiffs that the property has specific conservation

                 values that satisfy the Code;

           z.    Failing to advise the Plaintiffs that the property did not have

                 specific conservation values that satisfy the Code;

           aa.   Advising the Plaintiffs that the CE restrictions complied with the

                 Code requirement that they must be perpetual;

           bb.   Failing to advise the Plaintiffs that the CE restrictions did not

                 comply with the Code requirement that they must be perpetual;




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           cc.   Advising the Plaintiffs that the CE met the requirement that it

                 was exclusively for conservation purposes in perpetuity and met at

                 least one of the conservation purposes set out in §170 of the Code;

           dd.   Failing to advise the Plaintiffs that the CE did not accomplish any

                 of the permissible conservation purposes set out in §170 of the

                 Code and permitted destruction of other significant conservation

                 easements and, as a result, did not meet the requirement that the

                 CE be exclusively for conservation purposes in perpetuity and

                 meet at least one of the conservation purposes set out in §170 of

                 the Code;

           ee.   Advising the Plaintiffs that the “after easement” analysis met

                 Treasury Regulations establishing the standards for the valuation

                 of CEs, when in fact it did not because it (a) used an incorrect and

                 unsupportable HBU conclusion; (b) failed to employ recent, local

                 and similar sales; (c) lacked objectivity and appropriate analysis of

                 after easement sales; (d) lacked consideration of easement sales;

                 and (e) advocated a loss in value due to lost development rights

                 when the market data indicates there is no market for the

                 residential development;



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           ff.   Failing to advise the Plaintiffs that the “before” value is

                 hypothetical and unreasonable, and is not a true estimate of the

                 FMV of the land;

           gg.   Advising the Plaintiffs that the value of the CE and, thus, the

                 charitable contribution deduction, was proper;

           hh.   Failing to advise the Plaintiffs that the fabricated HBU was not

                 financially feasible and, therefore, improper;

           ii.   Advising the Plaintiffs that the CE substantiated a valid

                 conservation purpose;

           jj.   Advising the Plaintiffs that the BDR supported a valid

                 conservation purpose on the property;

           kk.   Failing to advise the Plaintiffs that the BDR did not support a

                 valid conservation purpose on the property;

           ll.   Advising the Plaintiffs that the Deed of Conservation protected the

                 land in perpetuity and, therefore, qualified for a federal charitable

                 deduction;

           mm. Failing to advise the Plaintiffs that the Deed of Conservation did

                 not protect the land in perpetuity and, therefore, did not qualify

                 for a federal charitable deduction;



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           nn.   Advising the Plaintiffs that the Deed of Conservation permits

                 activity that is consistent with a valid conservation purpose,

                 including preserving habitat and open space;

           oo.   Advising the Plaintiffs to report the charitable contribution

                 deduction on their individual tax returns;

           pp.   Advising the Plaintiffs that the K-1, reporting the charitable

                 contribution deduction allocated to each Plaintiff, was proper and

                 accurate and should be used to report the deduction on their

                 individual return;

           qq.   Failing to advise the Plaintiffs that the K-1, reporting the

                 charitable contribution deduction allocated to each Plaintiff, was

                 not accurate and should not be relied upon in reporting the

                 charitable contribution deduction on their individual tax return;

           rr.   Preparing and signing the Syndicate’s tax return and individual

                 investors’ K-1s, reporting the charitable contribution deduction

                 based on the fraudulent FMV of the CE, as determined in the

                 appraisal;

           ss.   Making and endorsing the statements and representations

                 contained in the Defendants’ and the Other Participants’ written

                 advice, instructions, and recommendations; and

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           tt.   Failing to advise the Plaintiffs that each of the Defendants and the

                 Other Participants were not “independent” of one another and, in

                 fact, were involved in a conspiracy to design, market, sell, and

                 implement the SCE Scams.

       804. The     above   affirmative   misrepresentations    and/or   intentional

omissions of material fact were false when made, and the Defendants knew

them to be false when made, with the intention that the Plaintiffs rely upon

them to engage the SCE Scams, pay substantial funds to participate in the

SCE Scams, and pay substantial fees to the Defendants. In addition, the above

affirmative misrepresentations and/or intentional omissions of material fact

were committed knowingly by the Defendants with the intent to induce the

Plaintiffs to engage in the SCE Scams, pay substantial funds to participate in

the SCE Scams, and pay substantial fees to the Defendants.

       805. In reasonable reliance on the Defendants’ false affirmative

misrepresentations and intentional omissions of material facts regarding the

SCE Scams, the Plaintiffs engaged in the SCE Scams, paid substantial sums

to participate in the SCE Scams, paid substantial fees to the Defendants, lost

the tax savings that could have been provided had the SCE been properly

structured and implemented in compliance with Section 170(h) of the Code,



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and filed federal and state tax returns that reflected charitable contribution

deductions in connection with the SCE Scams.

       806. But for Defendants’ intentional misrepresentations and material

omissions described above, the Plaintiffs would not have hired Defendants for

advice and services, engaged in the SCE Scams, paid substantial sums to

participate in the SCE Scams, paid substantial fees to the Defendants in

connection with the SCE Scams, signed and filed federal and state tax returns

that reported charitable contribution deductions in connection with the SCE

Scams, failed to file a qualified amended return, and incurred professional fees

and expenses in connection with the IRS and Tax Court disputes.

       807. As a direct and proximate result of Defendants’ conduct, set forth

herein, the Plaintiffs have suffered injury in that they (1) paid substantial

funds to participate in the SCE Scams, (2) paid significant fees to the

Defendants, (3) have been exposed to liability to the IRS for substantial back-

taxes, interest, and/or penalties, (4) lost the tax savings that could have been

provided had the SCE been properly structured and implemented in

compliance with Section 170(h) of the Code; and (5) incurred professional fees

and expenses in connection with the IRS and Tax Court disputes.

       808. As a proximate cause of the foregoing injuries, the Plaintiffs have

been injured in an actual amount to be proven at trial, but in the millions of

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dollars, and should be awarded actual and punitive damages in accordance

with the evidence, plus attorneys’ fees, interest, and costs.

                                   COUNT FOUR

                               CIVIL CONSPIRACY
                    (By all Plaintiffs Against all Defendants)

       809. Plaintiffs repeat, reallege and incorporate every prior allegation in

the preceding paragraphs as if fully set forth herein.

       810. As described more fully above, the Defendants knowingly acted in

concert to design, market, sell, and implement the SCE Scams. In furtherance

of their conspiracy, the Defendants conspired to perpetrate fraud on the

Plaintiffs and to breach fiduciary duties owed to the Plaintiffs. In doing so, the

Defendants acted with full knowledge and awareness that the transactions

were designed to give the false impression that a complex series of financial

transactions were legitimate business transactions, when the transactions in

fact lacked those features that were necessary for a legitimate CE charitable

contribution deduction.

       811. The Defendants acted in the respective roles, as described above,

according to a predetermined and commonly understood and accepted plan of

action to perpetrate fraud on the Plaintiffs and to breach fiduciary duties owed

to the Plaintiffs, all for the purpose of convincing the Plaintiffs to participate


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in the SCE Scams and pay substantial fees. The Defendants authorized,

ratified, and/or affirmed the fraudulent misrepresentations and omissions of

material fact that each Defendant made to the Plaintiffs.

       812. The acts of the Defendants and the Other Participants were contrary

to numerous provisions of law, as stated above, and constitute a conspiracy to

perpetrate fraud on Plaintiffs and a conspiracy to breach fiduciary duties owed

to Plaintiffs.

       813. There was a meeting of the minds between and among the

Defendants to commit the unlawful acts alleged herein, including a conspiracy

to perpetrate fraud on and to breach fiduciary duties owed to the Plaintiffs.

The conspiracy to commit these unlawful and fraudulent acts proximately

caused and continues to cause damages to the Plaintiffs, as previously set forth

herein. This is demonstrated by the deep and long running ties between the

various Defendants, as described throughout this Complaint.

       814. As a direct and proximate result of Defendants’ conduct set forth

herein, the Plaintiffs have suffered injury in that they (1) paid substantial

sums to participate in the SCE Scams, (2) paid significant fees to the

Defendants, (3) have been exposed to liability to the IRS for substantial back-

taxes, interest, and/or penalties, (4) lost the tax savings that could have been

provided had the SCE been properly structured and implemented in

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compliance with Section 170(h) of the Code; and (5) have and will continue to

incur substantial additional costs to rectify the situation.

       815. The Plaintiffs have been injured in an actual amount to be proven at

trial, but in the millions of dollars, and should be awarded actual and punitive

damages in accordance with the evidence, plus attorneys’ fees, interest, and

costs.

                                   COUNT FIVE

                   NEGLIGENCE AND NEGLIGENCE PER SE
                    (By all Plaintiffs Against all Defendants)

       816. Plaintiffs repeat, reallege and incorporate every prior allegation in

the preceding paragraphs as if fully set forth herein.

       817. Every one of the Defendants held themselves out as independent

legitimate professionals. Many of them solicited victim participation in the

SCE Scams by telling victims that they intended to create a valid CE to protect

land in perpetuity and generate a Code-compliant tax deduction.

       818. Each one of the Defendants owed the Plaintiffs a duty of care to act

as a similar person would under similar circumstances.

       819. Defendants breached their duties of care by participating in a

fraudulent RICO Enterprise that is designed to promote what Defendants




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knew to be illicit and unlawful scams, rather than legitimate conservation and

professional work.

       820. In any event, regardless of privity, the Plaintiffs are foreseeable

persons for whom the Defendants’ services and information was intended,

either directly or indirectly, and thus a duty was owed by each of the

Defendants to each of the Plaintiffs.

       821. The Defendants failed to meet their applicable standards of care.

       822. The Defendants’ failures to meet the applicable standards of care

constitute negligence.

       823. The Defendants’ actions rise to the level of gross negligence.

       824. The Plaintiffs seek punitive/exemplary damages against the

Defendants, jointly and severally.

       825. The Defendants’ negligence/gross negligence was a proximate cause

of the Plaintiffs’ damages. In reasonable reliance of the Defendants’ advice,

verbal statements, and written statements, Plaintiffs (1) paid substantial

funds to participate in the SCE Scam; (2) paid significant fees to the

Defendants; (3) have been exposed to liability to the IRS for substantial back-

taxes, interest, and penalties; (4) lost the tax savings that could have been

provided had a SCE been properly structured and implemented in compliance



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with Section 170(h) of the Code; and (5) have incurred and will continue to

incur substantial additional costs to rectify the situation.

       826. But for the Defendants’ negligence/gross negligence, the Plaintiffs

would not have engaged in the SCE Scams, paid substantial sums of money to

participate in the SCE Scams, paid substantial fees in connection with the SCE

Scams, filed and signed federal and state tax returns that reported charitable

contribution deductions in connection with the SCE Scams, failed to avail

themselves of other legitimate tax savings opportunities, failed to file qualified

amended returns earlier, and spent substantial funds in connection with the

IRS audits and Tax Court proceedings.

       827. As a result of the Defendants’ negligence/gross negligence, the

Plaintiffs have incurred substantial additional costs in hiring new tax and

legal advisors to rectify the hazardous situation caused by Defendants.

       828. Due to the foregoing, the Plaintiffs should be awarded actual and

punitive damages in accordance with the evidence, plus attorneys’ fees,

interest, and costs.




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                                    COUNT SIX

                     NEGLIGENT MISREPRESENTATION
                    (By all Plaintiffs Against all Defendants)

       829. Plaintiffs repeat, reallege and incorporate each and every prior

allegation in the preceding paragraphs as if fully set forth herein.

       830. During the course of their representation of and services to the

Plaintiffs, the Defendants each negligently made affirmative representations,

including those misrepresentations and omissions detailed in the Fraud Claim

(above), that were incorrect, improper, or false; negligently made misleading

omissions of material fact; and negligently gave improper, inaccurate, and

wrong recommendations, advice, instructions, and opinions to the Plaintiffs.

In addition, each Defendant is liable for each negligent misrepresentation and

omission made by each of their co-conspirators.

       831. The Defendants knew that their representations, recommendations,

advice, and instructions were improper, inaccurate, or wrong. The Defendants

knew that their failures to disclose material information to the Plaintiffs were

improper and wrong and would mislead the Plaintiffs.

       832. As advisors who provided services and advice to the Plaintiffs in

connection with SCEs, the Defendants owed the Plaintiffs a duty to correctly

state all facts regarding the SCE transactions. Regardless of privity, the


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Plaintiffs are foreseeable persons for whom the services and information were

intended, either directly or indirectly, and thus a duty was owed by each of the

Defendants to each of the Plaintiffs.

       833. The      Plaintiffs   reasonably   relied   upon   the   Defendants’

misrepresentations and advice to their detriment.

       834. The Defendants’ (and their co-conspirators’) negligent and grossly

negligent misrepresentations were a proximate cause of the damages of the

Plaintiffs. In reasonable reliance on Defendants’ advice regarding the SCE

Scams, the Plaintiffs: (1) paid substantial sums to participate in the SCE

Scams; (2) paid substantial fees to the Defendants for professional advice and

services; (3) lost the tax savings that could have been provided had the SCE

been properly structured and implemented in compliance with Section 170(h)

of the Code; (4) filed federal and state tax returns that reflected charitable

contribution deductions in connection with the SCE Scams; (5) did not file a

qualified amended return; and (6) spent substantial funds in connection with

IRS audits and Tax Court proceedings.

       835. The Defendants’ conduct set forth herein proximately caused the

Plaintiffs to suffer injury in that the Plaintiffs (1) paid substantial sums to

participate in the SCE Scams, (2) paid significant fees to the Defendants for

advice and services, (3) have been exposed to liability to the IRS for substantial

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back-taxes, interest, and/or penalties, (4) lost the tax savings that could have

been provided had the SCE been properly structured and implemented in

compliance with Section 170(h) of the Code; and (5) have and will continue to

incur substantial additional costs to rectify the situation.

       836. Due to the foregoing, the Plaintiffs have been injured in an actual

amount to be proven at trial, but in the millions of dollars, and should be

awarded actual and punitive damages in accordance with the evidence, plus

attorneys’ fees, interest, and costs.

                                  COUNT SEVEN

            BREACH OF FIDUCIARY DUTY AND DISGORGEMENT
                 (By All Plaintiffs Against All Defendants).

       837. Plaintiffs repeat, reallege and incorporate each and every prior

allegation in the preceding paragraphs as if fully set forth herein.

       838. As professional advisors who provided services and advice to the

Plaintiffs, the Professional Defendants (as defined in Count Five above)

became fiduciaries of the Plaintiffs. The Plaintiffs placed their trust and

confidence in these Defendants and these Defendants had influence and

superiority over the Plaintiffs. Thus, these Defendants owed the Plaintiffs the

duties of honesty, loyalty, care, and compliance with the applicable codes of

professional responsibility. These Defendants breached these duties and


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caused the Plaintiffs harm and injury, including but not limited to their

failures to disclose their conflicts of interest.

       839. The Professional Defendants’ breaches were a proximate cause of

damages to Plaintiffs. In reasonable reliance on these Defendants’ advice

regarding the SCE Scams, Plaintiffs: (1) paid substantial sums of money to

participate in the SCE Scams; (2) paid fees to the Defendants for professional

advice and services; (3) lost the tax savings that could have been provided had

the SCE been properly structured and implemented in compliance with Section

170(h) of the Code; (4) filed federal and state tax returns that reflected

charitable contribution deductions in connection with the SCE Scams; (5)

failed to file a qualified amended return; and (6) spent substantial funds in

connection with IRS audits and Tax Court proceedings.

       840. The Professional Defendants’ conduct set forth herein proximately

and directly caused the Plaintiffs to suffer injury in that the Plaintiffs (1) paid

substantial sums to participate in the SCE Scams, (2) paid significant fees to

the Defendants for advice and services, (3) have been exposed to liability to the

IRS for substantial back-taxes, interest, and/or penalties, (4) lost the tax

savings that could have been provided had the SCE been properly structured

and implemented in compliance with Section 170(h) of the Code; and (5) have

and will continue to incur substantial additional costs to rectify the situation.

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       841. Due to the foregoing, the Plaintiffs have been injured in an actual

amount to be proven at trial, but in the millions of dollars, and should be

awarded actual and punitive damages in accordance with the evidence, plus

attorneys’ fees, interest, and costs.

       842. Further, as a result of the Professional Defendants’ breach of their

fiduciary duties, including but not limited to their failures to disclose their

conflicts of interest, they should be required to disgorge all payments received

by them from any party, including Plaintiffs, any other Defendants, and/or any

other co-conspirator for work performed in connection with the SCE Scams.

       843. Accordingly, the Professional Defendants must disgorge all such

payments in favor of the Plaintiffs in an amount to be proven at trial. In

addition, Plaintiffs seek an award of attorneys’ fees, interest, and costs.

                                  COUNT EIGHT

    VIOLATIONS OF SECTION 10(b) OF THE EXCHANGE ACT
 AND RULES 10b-5(1), (2), AND (3) PROMULGATED THEREUNDER
           (By All Plaintiffs Against All Defendants)

       844. Plaintiffs repeat, reallege and incorporate every prior allegation in

the preceding paragraphs as if fully set forth herein.




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           A.   Defendants’ Materially False and Misleading Statements
                and Omissions and Other Acts in Furtherance of a Scheme
                to Defraud.

       845. As detailed herein, Defendants misrepresented and omitted material

facts about the purported tax benefits of investing in the SCEs, the ability to

realize those benefits, the historical investment performance, the true FMV of

the properties that were to be encumbered, the kickbacks paid to promoters

and purportedly neutral tax consultants, and a host of other things. In

addition, each Defendant committed acts in furtherance of a scheme to defraud

that encompassed conduct beyond the misrepresentations and omissions at

issue here.

                i.    The CPA Promoters.

       846. Defendants Olin Sykes, Scotty Sykes, Ernest Nesmith, Marcus

Rogers, and their respective businesses, were Plaintiffs’ primary contacts prior

to consummating their initial investment in the Muskogee SCE on November

21, 2017.

       847. In 2016, Kyle McHugh attended a conference hosted by National

Community Pharmacists Association where each of the CPA Promoters were

featured speakers. As discussed in detail above, each of these promoter

Defendants disseminated false material information regarding the purported

tax benefits and the claimed 4:1 return on investment by either making the

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false statement themselves or failing to correct when they had an obligation to

do so. Moreover, each of these Defendants failed to disclose the actual

compensation each would receive from the investment.

       848. In particular, Nesmith and Rogers failed to disclose the kickback

payments these self-dealing promoters would receive from payments funneled

to them through Green Earth Reserve, which each of these Defendants owned

together with the prolific fraud Nancy Zak. Further, none of these Defendants

explained the risks the investors would be taking if the IRS disqualified the

charitable contribution. These risks included the imposition of stiff penalties

and interest, including the gross valuation misstatement penalty under I.R.C.

§6662(h) and the penalty for a reportable transaction understatement under

I.R.C. §6662A.

       849. The purported tax benefits were non-existent and the claimed 4:1

investment return was a mathematical impossibility. The investment scheme

expressly contemplated the sale of shares of a security at prices greatly in

excess of the pro rata FMB of the non-income producing property that was to

be encumbered by the CE. This additional premium above the current FMV of

the property was used to pay professional fees and make donations to LLCs

that were supposedly necessary to ensure the investor could make a qualified

charitable contribution.

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       850. In reality, these payments were a deadweight loss to the investors

which simply diminished the values of the shares by the exact amount of these

payments. Because the amount of any qualified deduction was limited to the

FMV of the property encumbered, the investors could never achieve the

promised 4:1 investment return. Indeed, the investors were actually destined

to lose money on the investment, and once the property became encumbered,

they would lose all their money and would be potentially subject to stiff

penalties and interest to boot. The claimed 4:1 investment return was,

therefore, mathematically impossible and a smoke-and-mirrors illusion.

       851. At all relevant times, each of these four CPA Promoters represented

the 4:1 investment return as a statement of present fact based on the current

Internal Revenue Code and implementing regulations, rather than a projection

of future economic performance. Moreover, the claimed 4:1 investment return

was accompanied by misrepresentations of present fact regarding the

historical investment performance and the alleged safety of the investments.

At no relevant time were the risks the investor would be taking or the penalties

that could be imposed carefully and accurately explained to the investors.

Moreover, the promised 4:1 investment return was based an inadequate

consideration of the available data and an unsound and fatally flawed



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methodology and was not accompanied by any substantive and tailored

cautionary statements.

       852. At all relevant times, including the aforementioned October 2016

conference, each of these CPA Promoters held themselves out as competent

and licensed tax professionals with the required background, training, and

experience to render competent advice regarding the tax treatment and

benefits of the conservation easements they were promoting.

       853. After the presentation, these promoter Defendants solicited private

questions and comments from the audience. Curious about the purported tax

benefits provided by syndicated conservation easements, as falsely described

by the promoter Defendants, Kyle McHugh approached Ernest Nesmith with

questions about the propriety and practicality of participating in a SCE

syndication.

       854. Nesmith assured McHugh that SCEs were a remarkable tax savings

strategy that were both legal and safe investments. Nesmith told McHugh that

the SCE’s offered by these Defendants consistently yielded a 4:1 return on

investment. Each of these statements was false.

       855. The SCEs these Defendants offered could never have legally yielded

a 4:1 investment return for any investor, much less consistently done so for all

the reason cited above. Indeed, because the shares were sold at prices greater

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than the FMV of the property to be encumbered, the investor, losing money on

the investment was a mathematical certainty. Accordingly, Nesmith must

have misrepresented the historical performance of the investments.

       856. Further, the investments could hardly be described as safe in any

non-fanciful sense of that term. The IRS has consistently disallowed CE

deductions in excess of the FMV of the property encumbered. Nesmith not only

failed to mention this fact but failed to explain the stiff penalties and interest

the investor would be facing if the IRS disallowed the charitable contribution

deduction. Indeed, the investments were far from safe as Nesmith represented.

Accordingly, Nesmith omitted key information regarding the IRS’s prior tax

treatment of the CE deductions as well as the potential penalties the investor

would be facing in the event of disallowance of the deductions. Any reasonable

investor would have included the true information into the mix of information

to consider prior to making the decision to invest.

       857. In addition, Nesmith failed to disclose the kickbacks this self-dealing

promoter would receive by virtue of payments or “donations” funneled to him

through Green Earth Reserve, which Nesmith owned together with

confederates and co-conspirators Rogers and Zak. The Muskogee CapCo would

later pay Green Earth Reserve, LLC a $365,000 “donation” out of

approximately $2.45M the CapCo would raise from investors. As explained

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above, the sole asset of the CapCo was property valued at less than $800,000

based on its most recent sale price. Nesmith also never disclosed that the

Muskogee CapCo itself was 100 percent owned by Green Earth Reserves at the

time the shares of this CapCo were sold to the investors.

       858. On November 21, 2016, and immediately prior to consummating the

sale of shares in the Muskogee SCE, Scotty Sykes emailed McHugh on behalf

of Sykes & Co., sending him a preliminary tax plan. Of note here, the Sykes &

Co.’s plan included a $210,000 conservation easement “investment” which CPA

Sykes told McHugh “will correlate to an approximate charitable contribution

deduction of $840,000.”

       859. The claimed 4:1 investment return was a false material statement

and mathematically impossible as explained above. The claimed investment

return was not based on a projection of future economic performance, or indeed,

any projection. Further, the statement was based on an inadequate

consideration of the available data and on an unsound and fatally flawed

methodology. In addition, the statement was not accompanied by a substantive

and        tailored   cautionary   statement   and   was   accompanied    by   a

misrepresentation of past historical performance. Finally, the statement had

no reasonable basis and could not have been believed by anyone with the



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background and experience of Sykes, who at all events held himself out to be

an expert tax consultant.

       860. At all relevant times, Olin Sykes and Scotty Sykes were acting in

their official capacities as partners of Sykes & Company, P.A. At all relevant

times, Ernest Nesmith and Marcus Rogers were acting in their official capacity

as partners of Nesmith Rogers Financial Consulting and in undisclosed

capacity as owners of Green Earth Reserves, LLC.

                ii.   Joseph Skalski, Kimberly Skalski, Josh Stanley, Lisa
                      Cantrell, Lamb & Braswell, and FisherBroyles.

       861. Each of these tax Defendants prepared, executed, or disseminated

false or fraudulent Form K-1s, Form 886s, or Form 8283s which were sent to

Plaintiffs as part of package with instructions to execute the Form 8886s and

include information contained therein on their tax return.

       862. The K-1s and 8886s contained the following material affirmative

misrepresentation or omissions:

           a.   Misrepresenting, in light of published authorities, the tax

                treatment Plaintiffs would receive from the purported charitable

                contribution made for tax purposes by each Syndicate in the SCEs;

           b.   Falsely representing that the donation of the CE is fully tax

                deductible as a qualified charitable contribution deduction;


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           c.   Falsely representing that the syndicates contributed a qualified

                real property interest, as required to be a valid “qualified

                conservation contribution”;

           d.   Falsely representing that the appraisal commissioned by the

                Defendants relied on appropriate assumptions, data, and

                methodology;

           e.   Falsely representing that the appraisal commissioned by the

                Defendants complied with §170 of the Code, applicable regulations

                   thereunder, the USPAP, and with general and substantive real

                property appraisal standards and practices;

           f.   Falsely representing that the CE met the requirement that it was

                exclusively for conservation purposes in perpetuity and met at

                least one of the conservation purposes set out in §170 of the Code;

           g.   Falsely representing that the “after easement” analysis met

                Treasury Regulations establishing the standards for the valuation

                of CEs, when in fact it did not because it (a) used an incorrect and

                unsupportable HBU conclusion; (b) failed to employ recent, local

                and similar sales; (c) lacked objectivity and appropriate analysis of

                after easement sales; (d) lacked consideration of   easement sales;

                and (e) advocated a loss in value due to lost development rights

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                when the market data indicates there is no market for the

                residential development;

           h.   Falsely representing that the value of the CE and, thus, the

                charitable contribution deduction, was proper;

           i.   Falsely representing that the K-1, reporting the charitable

                contribution deduction allocated to each Plaintiff, was proper and

                accurate;

           j.   Failure to disclose that the alleged value of the CE, and associated

                tax   benefits   in   the   SCE,   constituted    a   gross   valuation

                overstatement     and    would,    therefore,   subject   Plaintiffs   to

                substantial penalties;

           k.   Failure to disclose that the Syndicate did not donate a “qualified

                real property interest” because the property that was the subject

                of the CE could be modified;

           l.   Failure to disclose that the Syndicates retained or reserved rights

                to the property that were inconsistent with the conservation

                purposes of the CE;

           m.   Failure to disclose that the SCE Appraisers failed to employ

                recent, local, or similar sales that competed with the subject

                property or would have been considered “substitutes” for the

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                subject property by potential buyers when employing the

                “comparable sales method”;

           n.   Failure to disclose that the CE did not accomplish any of the

                permissible conservation purposes set out in §170 of the Code and

                permitted destruction of other significant conservation easements

                and, as a result, did not meet the requirement that the CE be

                exclusively for conservation purposes in perpetuity and meet at

                least one of the conservation purposes set out in §170 of the Code.

       863. Lamb & Braswell prepared the fraudulent 8886s for the Muskogee

SCE, (as well as the Walnut Creek, and Ancient Oaks SCEs). Lisa Cantrell

disseminated these false and fraudulent tax forms by mailing these forms to

Plaintiffs on June 15, 2017.

       864. Kimberly Skalski prepared the fraudulent K-1s for the Muskogee,

Walnut Creek, and Ancient Oaks SCEs and mailed them to Plaintiffs on

August 5, 2017; May 18, 2018; and June 14, 2019, respectively.

       865. On September 28, 2017, Josh Stanley mailed the 8886 Muskogee

Appraisal Report and signed Form 8283 to Plaintiffs. The Appraisal Report

and Form 8283 were referenced in the 8886 that were prepared by Lamb &

Braswell and mailed to Plaintiffs by Lisa Cantrell.



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       866. Joseph Skalski prepared the Walnut Creek PropCo’s Form 8283

which was referenced in the Form 8886 and included in a package that

Plaintiffs received on or about May 18, 2018.

       867. FisherBroyles drafted operating agreements and other legal

documents and reviewed the deed of conservation easement, the baseline

documentation report, and the appraisal and rendered legal consultation

services in connection with the transaction.

       868. Each of these tax professional Defendants Joseph Skalski, Kimberly

Skalski, Josh Stanley, Lisa Cantrell, Lamb & Braswell, and FisherBroyles

prepared documents containing material misrepresentations or omissions or

disseminated these same documents to Plaintiffs knowing that they contained

false or misleading information.

       869. At all relevant times, each of these Defendants held themselves out

as competent and licensed tax professionals with the required background,

training, and experience to offer competence tax advice with respect to the

transactions reviewed or forms prepared or disseminated.

       870. Each of the misrepresentations or omissions identified above were

made in connection with the purchase of a security because the use of each of

these professionals was contemplated at the time of purchase of the Muskogee



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securities, as reflected in both remarks made at the October, 2016 conference

and, in the Muskogee, Private Placement Memorandum.

       871. Additionally, or on the alternative, each of the misrepresentations

and omissions was made in connection with the purchase of a security because

each was intended to induce Plaintiffs to purchase other securities offered by

Defendants or from which they would benefit financially, and the Plaintiffs did

purchase such securities in reliance on the misrepresentation or omission.

       872. At all relevant times, Defendants Lisa Cantrell and Josh Stanley

were acting in their capacities as officers of Green Earth Reserve.

       873. At all relevant times, Joseph Skalski was acting in his capacity as

officer or partner of Atlantic Coast Conservancy, Inc. and the Skalski Law

Firm.

                iii.   Dennis Benson, Dolph Winders, Douglas Ross Kenny,
                       Rick Kenny, and Robert Keller.

       874. Each of the following Dennis Benson, Dolph Winders, Douglas Ross

Kenny, Rick Kenny, and Robert Keller prepared, executed, or disseminated an

appraisal report in connection with the Muskogee, Walnut Creek, or Ancient

Oaks SCEs that contained material misrepresentations or omissions which the

Defendant knew were false or misleading.




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       875. The Benson appraisal report for the Muskogee SCE contained

numerous misrepresentations or omissions. The report:

           a.   Falsely representing that the appraisal commissioned by the

                Defendants complied with §170 of the Code, applicable regulations

                thereunder, the USPAP, and with general and substantive real

                property appraisal standards and practices;

           b.   Falsely representing that Benson visited the Muskogee property

                he was commissioned to appraise;

           c.   Falsely representing the situs of the Muskogee property by

                claiming that the property is both inside and outside the city limits

                of Hawkinsville, Georgia;

           d.   Falsely representing that the Muskogee appraisal was developed

                for the Muskogee property appears when in fact it was developed

                for another property, with names changed where necessary;

           e.   Falsely representing that only half of the Muskogee Land’s acreage

                is in a flood zone when in fact 90 percent of the Muskogee and is

                located in a Zone A flood zone;

           f.   Reached incorrect and unsupportable HBU conclusion which were

                manifestly (a) unreasonable on their face; (b) failed to employ

                recent, local, and similar sales; and (c) failed to consider market

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                data that showed there was no market for residential development

                on the Muskogee property.

       876. In light of these glaring deficiencies, Benson (a) had no basis to

believe; and (b) did not, and indeed could not possibly have believed, that the

FMV of the worthless flood hazard Muskogee Land, before being encumbered

by a CE, was a preposterous $12,000,000 as claimed in the appraisal report.

       877. Defendant Dolph Winders disseminated the report containing the

false information by commissioning Benson to prepare the report and paying

him 15 times what the bank appraiser was paid.

       878. Additionally, or in the alternative, Winders’ commissioning Benson

to prepare the false report was done in furtherance of a scheme or artifice to

manipulate the market for other securities and SCEs offered by Defendants

which encompasses conduct beyond the misrepresentations or omission at

issue here.

       879. The issuance of the Benson appraisal was in connection with the

purchase of a security because the services of a licensed appraiser were

contemplated at the time of purchase. Additionally, or in the alternative,

issuance of the appraisal was in connection with the sale of a security because

the report was intended to induce Plaintiffs to purchase other securities offered



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by Defendants and Plaintiffs did, in fact, consummate such purchases in

reliance on the Benson appraisal.

       880. At all relevant times, Benson held himself out as a qualified

appraiser with the required background, training, and experience to prepare

an appraisal in full compliance with all applicable IRC and USPAP standards.

To the extent that Benson did not possess the appropriate credentials, Benson

misrepresented his credentials. In any events, Benson did not act like a

qualified appraiser.

       881. The Kenny report, which formed the basis for the fraudulent Form

8283 issued in connection with the Ancient Oaks Partners SCE, contained the

following false statements:

           a.   That a Qualified Conservation Contribution was donated to ACC;

           b.   That ACC was a Qualified Organization under the Code;

           c.   That the so-called donation was compliant with §170(h) of the

                Code;

           d.   That the Deed and Baseline Documentation Report prohibits the

                construction and or development of the land consistent with the

                Code’s perpetuity requirements;

           e.   That the easement will exclusively serve the Code’s mandatory

                Conservation Purposes;

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           f.   That the conservation easement will yield a “significant    public

                benefit” under Treasury Regulation §1.70A-14(d)(4)(iv).

       882. On June 14, 2019, the McHughs received a K-1 and Form 8886 for

the Ancient Oaks Partners SCE from Kimberly Skalski for tax year 2018.

       883. Skalski instructed victims to attach (1) the Form 8283; (2) the Kenny

Defendant’s Appraisal; (3) the Baseline Documentation Report; (4) the Deed of

Conservation        Easement;   and   (5)   Keller’s   Contemporaneous     Written

Acknowledgement. The Kenny Defendants signed the Syndicate’s fraudulent

form 8283 alongside Robert Keller of ACC.

       884. The misrepresentations and omissions identified above were in

connection with the purchase of a security because the Kenny appraisal was

expressly contemplated at the time of sale of the Ancient Oaks Partners SCE

and because the statements were intended to induce Plaintiffs to purchase

other securities offered by one of more of the Defendants.

       885. At all relevant times, the Kenny Defendants held themselves out as

qualified appraisers with the required background, training, and experience to

prepare an appraisal in full compliance with all applicable IRC and USPAP

standards. To the extent that the Kenny Defendants did not possess the

appropriate credentials, they misrepresented their credentials.



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       886. At all relevant times, the Kenny Defendants were acting in their

capacities as officers of Kenny & Associates, Inc.

       887. At all relevant times, Defendant Keller was acting in his official

capacity as officer of Atlantic Coast Conservancy, Inc.

                iv.   The Role of Prolific Fraudster Nancy Zak.

       888. Defendant Nancy Zak may aptly be described as a leader in the

operation/Enterprise. According to 2018 complaint seeking injunctive relief

and filed by the United States against Zak and five other defendants,

“Defendants [including Zak] organize, promote, or sell, (or assist in the

organization, promotion, or sale of) a highly structured – and abusive – tax

scheme involving the syndication of conservation easement donations.” Zak’s

conservation easement syndication scheme encourages customers to “invest”

in a conservation easement syndicate under the assumption that the syndicate

will donate a conservation easement, claim a tax deduction for the conservation

easement, and allocate a portion if that deduction to each customer who invests

in the syndicate.

       889. According to that same complaint, this “conservation easement

syndication scheme amounts to nothing more than a thinly-veiled sale of

grossly overvalued federal tax deductions under the guise of investing in a

partnership.” In organizing, promoting, and selling this scheme, “Defendants

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[including Zak] make (or cause others to make) statements about the allowance

and amount of federal tax deductions a customer is entitled to claim” based on

the investment in this syndicate, “that are false.”

       890. Collectively, since 2009 these “Defendants have organized, promoted,

or sold” at least 96 conservation easement syndicates, of which Zak has

organized, promoted, or sold 42 such syndicates. Zak’s website boasts that she

has been involved in “91 CE projects from coast to coast” that have generated

over $780M in federal tax deductions “declared by [her] clients.”

       891. The promotion and orchestration of between 42 and 91 conservation

easement syndication schemes which induce customers to invest in grossly

overvalued securities based on false statements regarding the tax benefits of

these same securities constitutes a scheme or artifice to manipulate the value

of these securities and to defraud investors. A scheme that vast plainly

encompasses conduct far beyond the misrepresentations or omissions at issue

here.

       892. At all relevant times, Nancy Zak was acting in her official capacity

as owner of Forever Forests, LLC and Green Earth Reserve, LLC.

                v.    The Landowner Defendants.

       893. Landowner Defendants Arthur Goolsby, Jr., Blair Cleveland, and

T.J. Heath are essential players in Zak’s scheme to defraud investors. These

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Landowner Defendants made the SCE Scams possible by purchasing the land

to be encumbered. They purchased the necessary lands with full knowledge

that such lands would be used for a fraudulent SCE Scam.

       894. As explained above, the syndicated conservation easement scheme is

structured to include tiered entities. As sponsor of the scheme, Zak forms (or

causes to be formed) two LLCs, one which owns the land (“PropCo”) and one

which owns 90 percent or more of the LLC that owns the land (“CapCo”). The

customers invest in the LLC that owns the land-owning LLC.

       895. At the time the land-owning LLC is formed, the Landowner (Goolsby,

Cleveland, and Heath) is the 100% owner, or near 100% owner, of this LLC.

The Landowner then deeds the subject land into the PropCo in exchange for

LLC membership           interests,   in a transaction that    is considered a

“nonrecognition” transaction for federal income tax purposes. This means that

the parties to the transaction do not have to recognize the gain or loss on the

transaction for federal tax purposes.

       896. The Landowner is central to the scheme because he retains

controlling interest in the land-owning LLC in the Muskogee SCE and can rig

the vote to ensure that the property is encumbered with a CE that is then

donated to a land trust for a substantial QCC tax deduction. In this way, the



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promoter can ensure that the CE option is always a foregone conclusion and

the “vote” of CapCo members is a meaningless gesture.

       897. The acts of these Landowners as described herein were committed in

furtherance of a scheme or artifice to defraud that encompasses conduct

beyond the misrepresentations and omissions at issue in this case.

           B.   Additional Allegations of Scienter.

       898. Plaintiffs repeat, reallege and incorporate every prior allegation in

the preceding paragraphs as if fully set forth herein.

       899. As detailed above, Defendants misrepresented and omitted material

facts about the purported tax benefits of investing in the SCEs, the ability to

realize those benefits, the historical investment performance, the true FMV of

the properties that were to be encumbered, the kickbacks paid to promoters

and purportedly neutral tax consultants, and a host of other things. Numerous

facts support the strong inference that they knew or were recklessly indifferent

to the true state of affairs and that the statements were made with an intent

to deceive, manipulate, or defraud.




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                i.    Defendants Rogers and Nesmith Were Paid
                      Undisclosed Kickbacks While Purportedly Offering
                      Impartial Tax Advice Regarding the Putative
                      Benefits of the SCEs.

       900. As explained above, Defendants Nesmith and Rogers failed to

disclose the kickback payments these self-dealing promoters would receive

from payments funneled to them through Green Earth Reserve, which each of

these Defendants owned together with promoter Nancy Zak. The Muskogee

CapCo alone paid Green Earth Reserves, LLC $365,000 out of approximately

$2.45M the CapCo would raise from investor-victims. The CapCo’s sole asset

was a non-income producing property whose FMV was less than $800,000

based on its most recent sales price. The over the table kickback payment to

Green Earth Reserve represented 40 percent of the total value of the Muskogee

CapCo and 15 percent of the amount raised by the sale of the Muskogee SCE

shares. Moreover, the Muskogee CapCo itself was 100 percent owned by Green

Earth Reserve at the time the shares of this CapCo were sold to the investors.

       901. At all relevant times, Defendants Rogers and Nesmith held

themselves out as objective and unbiased tax professionals offering advice

regarding the purported benefits of investing in the SCEs. Nesmith even

aggressively solicited McHugh’s participation in the Muskogee SCE, telling

him that the SCE is “a great strategy.”


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       902. However, not a single Defendants ever disclosed the true ownership

of the Green Earth Reserves even though it must have been known by at least

two of the Defendants and probably many more given the extent to which

documents were scrutinized by attorneys. And Nesmith simply lied to IRS

Revenue Agent Young, or at least made materially misleading statements,

when he claimed that the Nesmith and Rogers were not paid through Green

Earth Reserve.

                ii.   Each of the Appraisal Defendants’ “Qualified
                      Appraisals” Were a Farce.

       903. The methodology used in the Benson and Kenny appraisals was such

an extreme departure from the requirements set forth in the USPAP and IRC

that to call them “qualified appraisals” would deprive that term of all meaning.

       904. Taking the Muskogee appraisal first, Benson was paid $15,000 or an

amount 15 times what a bank appraiser received for an appraisal of that same

property only weeks earlier. That alone should be sufficient to create a strong

inference of scienter. But Benson did not simply perform work worth $1,000

and pocket the rest. Indeed, he never even visited the property he was

commissioned to appraise, but instead simply cut and pasted the appraisal

from appraisal(s) of other properties.




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       905. In the words of IRS Revenue Agent Athena O’Connor, the appraisal

“appears to have been developed for another property, with names changed

where necessary.” Agent O’Connor further noted that the information Benson

used “to prepare the appraisal was irrelevant (from another county) or

incorrect (city limits).”

       906. The appraisal even contradicted itself as to the situs of the property;

falsely claimed that only half of the Muskogee land was located in a flood zone

when 90 precent of it was; and ignored all the evidence that there was simply

no market for what was essentially a worthless flood hazard.

       907. As bad as the Benson appraisal was, the Kenny appraisal may have

been even worse. While withholding key facts from the investors regarding the

actual condition of the property, hand-picked appraisers Douglas Ross Kenny

and Rick Kenny claimed that a roughly one-to-two-million-dollar parcel of

undeveloped swamp land could be donated for a one hundred-and-twelve-

million-dollar charitable tax deduction. And they even falsely represented on

the Form 8283 that the Deed prohibited the construction or development of

new land in perpetuity, as required by the IRC, when it plainly did not.




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                iii.   Defendants’ Interpretation of the Relevant Sections
                       of the IRC was Patently Unreasonable.

       908. The tax professionals who advised Plaintiffs of the tax benefits of the

SCEs and who prepared, reviewed, and disseminated tax forms and other

documents did not merely commit professional negligence. Instead, they acted

with conscious and reckless disregard for both the facts and their clients’

interests and in a manner so highly unreasonable as to constitute an extreme

departure from the standards of ordinary care.

       909. To be sure, with so many tax professionals boasting of august

credentials telling the McHugh and Meek Plaintiffs that the deductions were

perfectly legal and that none of the investors had ever been harmed, it was

easy for them to be taken in. However, the advice these professionals offered

created a danger so palpable that any professional armed with the knowledge

the Defendants had would have known of it.

       910. Under §170 of the Code, a QCC tax deduction may not exceed the

FMV of the contributed CE on the date of the contribution. See Treas. Reg.

§1.170A-1(c)(1), (h)(1) and (2). The FMV is the price at which the contributed

property would change hands between a willing buyer and a willing seller,

neither being under any compulsion to buy or sell, and each having reasonable




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knowledge of relevant facts, per Treas. Reg. §1.170A-1(c)(2) and Treas. Reg.

§1.170A-14(h)(3) and (4).

       911. The Muskogee land had recently changed hands for total price of less

than $800,000, although even this fact was withheld from investor-victims

Kyle McHugh and Larry Meek. Defendants must have known that the property

could not possibly be sold in the near future for an amount fifteen times that

amount, whatever the hypothetical value of a developed parcel might be many

years down the road.

       912. Defendants not only failed to disclose the FMV based on the most

recent purchase, but they also failed to disclose that the IRS had consistently

disallowed QCC deductions greater than FMV as defined above. Moreover,

they even failed to explain the significant penalties and the interest the

McHughs and Meeks would be forced to pay if the IRS disallowed the

investment.

       913. The Defendants thus acted with conscious and reckless disregard to

both the facts and their clients’ interests, and they created a risk so palpable

that any tax professional would have seen it and taken appropriate steps to

avoid it.




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                iv.   Defendants Had Access to Information that
                      Contradicted their Public Statements but
                      Deliberately Withheld it From Plaintiffs.

       914. Defendants had access to considerable information that showed that

the SCEs were simply scam investments and could not possibly have generated

the promised investment return or purported tax benefits.

       915. Among other things, Defendants failed to disclose that the FMV of

the Muskogee property was less than $800,000 based on the most recent sale,

and that the IRC limited the amount of the QCC deduction to the price at which

the property would have changed hands at the time of the donation. But if the

total QCC deduction was limited to the price at which the property could

presently change hands, there would be no point to paying high priced

professional to prepare complicated easement documents and associated tax

forms. The CapCo (or PropCo) could simply resell the land and collect a

handsome profit.

       916. Indeed, the entire scam depended on misleading the investors

regarding the actual law. Moreover, the tax professional Defendants must also

have known that the IRS has consistently disallowed QCC deductions that

were greater than FMV as defined above and that it had imposed stiff penalties

and interest on taxpayers when these deductions had been disallowed.



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                v.    Because the Enterprise’s Core Business is to Defraud
                      the Public, Knowledge of the True Facts and
                      Misleading Disclosures May Be Imputed to the
                      Defendants.

       917. Each of the Defendants acted individually and in concert to further a

scheme or artifice to manipulate the securities market and defraud investors

by inducing them to purchase securities at greatly inflated and distorted

prices.

       918. In 2018, the United States Government filed a lawsuit against Zak

for promoting dozens of fraudulent SCE scams that reported more than $3

billion in improper tax deductions. Zak agreed to a civil injunction, promising

to never promote or participate in another SCE scam again. Zak could not have

implemented these complex scams and brought them to fruition alone. Instead,

she relied on a hand-picked team of captured professionals whom Zak knew

would disregard their respective professional standards in return for lavish

financial rewards.

       919. Because the Enterprise’s core business is to defraud the public, the

fact a defendant held a position in which s/he would have been aware of the

true facts and misleading disclosures supports a strong inference of scienter.

       920. Each of the named Defendants performed a central role that

materially contributed to the success if the Enterprise. Each individual


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Defendant is either a partner or officer of an entity that Zak hand-picked

because of some special expertise. Scienter may, therefore, be imputed to each

of these Defendants.

           C.   Inapplicability of the Statutory Safe Harbor.

       921. The statutory safe harbor for forward-looking statements under

certain circumstances does not apply to any of the false statements described

in this complaint. The specific statements described in this complaint were not

identified as “forward-looking” when made. For the most part, the statements

are representations of present fact, such as the historical performance of

investments, or representations of law made by persons who held themselves

out as legal experts and who benefited financially from Plaintiffs’ reliance on

the misrepresentations. To the extent that there were any forward-looking

statements, there was no meaningful or substantive cautionary language

identifying factors that could cause actual results to differ materially from

those in the purported forward-looking statements. Alternatively, the

statement was accompanied by a statement of present fact; the statement was

based an inadequate consideration of the available data; or the statement was

based on an unsound and fatally flawed methodology. Additionally, or in the

alternative, to the extent that the statutory safe harbor does apply to any

forward-looking statements, Defendants are liable for those forward-looking

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statements because at the time each was made, the particular speaker knew

that the statement was false or misleading, or the forward-looking statement

was authorized or approved by a Defendant who knew that the statement was

false or misleading when made.

           D.   Loss Causation.

       924. As detailed in this complaint, Defendants made materially false and

misleading statements and omissions and engaged in a scheme to deceive

investors as to the purported tax benefits of investing in syndicated

conservation easements and of the shares offered for sale by the SCEs or the

CapCos. As a result of these deceptions, Plaintiffs purchased essentially

worthless securities at artificially inflated and distorted prices.

       925. Each of these shares is now essentially worthless and were worthless

at the time of purchase. Plaintiffs do not own a particular tract of land. Instead,

Plaintiffs own shares of an LLC whose only asset is a non-income producing

property that is currently encumbered by a conservation easement and over

which they have no power of conveyance. These securities pay no dividends.

Moreover, now that the reported transaction has been challenged by the IRS,

any prospective purchaser could face increased scrutiny. Indeed, any

prospective seller could even face exposure from the new buyer. Accordingly,

the securities are essentially worthless.

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       924. Indeed, the securities were essentially worthless at the time of

purchase because the landowner Defendants rigged the vote to ensure that the

CE option would always be chosen and that the property would be encumbered

and therefore, worthless.

       925. Plaintiffs sustained additional losses as a direct and proximate result

of Defendants’ deceptions when they executed false tax forms and now run the

risk of incurring substantial penalties and interest as a result. These penalties

and interest are a direct and proximate result of frauds committed in

connection with the purchase of a security and, therefore, must be included to

determine Plaintiffs’ total damages.

           E.   Violations of Section 10(b) of the Exchange Act and Rules
                10b-5(1), (2), and (3) Promulgated Thereunder.

       926. Plaintiffs repeat and reallege each and every allegation contained

above as if fully set forth herein.

       927. Defendants carried out a plan, scheme, or course of conduct that was

intended to and did deceive Plaintiffs as alleged in this Complaint, and cause

Plaintiffs to purchase shares at artificially inflated and distorted prices.

       928. Defendants (i) employed devices, schemes, to artifices, to defraud; (ii)

made untrue statements of material fact and omitted to state material facts

necessary to make the statements made not misleading; and (iii) engaged in


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acts. practices, and a course of business that operated as a fraud and deceit on

share purchasers including Plaintiffs in an effort to maintain artificially high

prices in violation of Section 10(b) of the Exchange Act and SEC Rule 10b-5.

       929. Defendants individually and in concert, directly and indirectly, by

the use, means and instrumentalities of interstate commerce and of the mails,

engaged and participated in a continuous course of conduct to conceal adverse

material information.

       930. Defendants made the false statements specified above, which they

knew or recklessly disregarded to be false or misleading in that the statements

contained misrepresentations and failed to disclose material facts necessary to

make the statements made, in light of the circumstances in which they were

made, not misleading.

       931. Defendants had actual knowledge of the misrepresentations and

omissions of material fact alleged in this complaint or recklessly disregarded

the true facts that were available to them. Defendants engaged in this

misconduct to conceal the true facts and to support artificially inflated and

distorted prices of shares of the securities.

       932. Defendants engaged in a scheme or artifice to defraud investors that

encompassed these misrepresentations and omissions;



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       933. As a direct and proximate result of Defendants’ actions and in

reliance on the material misrepresentations described herein, Plaintiffs have

suffered damages in connection with their purchases of shares of the securities.

       934. By virtue of the foregoing, Defendants violated Section 10(b) of the

Exchange Act and SEC Rule 10b-5.

                                   JURY DEMAND

       935. The Plaintiffs hereby demand a trial by jury.

                               PRAYER FOR RELIEF

       936. Based on the forgoing, the Plaintiffs request that Defendants be cited

to appear and answer; and that, on final hearing, the Plaintiffs have judgment

against Defendants, jointly and severally for;

           a.   Actual, consequential, and incidental damages;

           b.   Disgorgement;

           c.   Pre and post judgment interest at the highest legal rate allowed

                by law;

           d.   All attorneys’ fees and costs in pursuing this matter;

           e.   All costs of investigation;

           f.   All expert witness fees and costs in pursuing this matter;

           g.   Punitive and treble damages in an amount to be determined at

                trial; and

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           h.     Such other and further relief, both at law and in equity, to which

                  Plaintiffs show themselves to be justly entitled.

                Respectfully submitted on April 28, 2022.

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                        CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rules 5.1(C) and 7.1(D), I certify that the foregoing
pleading is typewritten using Century Schoolbook, thirteen-point type.


           DATED this 28th day of April 2022.


                                          /s/ Kathleen J. Jennings


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